Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 1 of 358 PAGEID #: 12149




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                    WESTERN DIVISION AT CINCINNATI

United States of America,                     :     Case No. 1:20-cr-077
      Plaintiff-Appellee                      :
                                              :     Judge Black
      vs.                                     :
                                              :
Matthew Borges,                               :
     Defendant-Appellant                      :
                                              :


                NOTICE OF FILING FOR APPEAL PURPOSES


      Now comes the United States of America and hereby gives notice of filing of

exhibits for review and consideration by the Sixth Circuit Court of Appeals in Case

No. 23-3566, United States of America v. Matthew Borges. 1

Exhibit No.                     Date Admitted
6                               1/24/2023
14C                             1/24/2023
14F                             1/24/2023
15                              1/31/2023
16                              2/9/2023
17                              2/16/2023
132                             1/24/2023
133                             2/16/2023
134                             2/16/2023
180                             2/1/2023
271B*                           2/1/2023


1 Entries with an asterisk are transcripts of recordings that were admitted into

evidence. While the transcripts were not themselves admitted, the district court
permitted the jury to use the transcripts while the recordings were played during
trial and to aid them during their deliberations. To the extent the Court would like
the corresponding recordings, the United States will provide them.

                                          1
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 2 of 358 PAGEID #: 12150




286A                           1/24/2023
286B                           1/24/2023
286C                           1/24/2023
290B                           1/24/2023
290C                           1/24/2023
291B                           1/24/2023
352                            2/8/2023
437A                           1/24/2023
441B                           1/24/2023
441D                           1/24/2023
442C                           1/31/2023
442E                           1/31/2023
451A                           1/24/2023
451C                           1/24/2023
460A                           1/24/2023
460C                           1/24/2023
461D                           1/24/2023
517B                           2/5/2023
522B*                          2/15/2023
525B*                          2/15/2023
527B*                          2/15/2023
528B*                          2/15/2023
601C                           1/24/2023
601D                           1/24/2023
601E                           1/24/2023
602G                           1/24/2023
602I                           1/24/2023
605B                           1/24/2023
605C                           1/24/2023
605D                           1/24/2023
605E                           1/24/2023
605F                           1/24/2023
605G                           1/24/2023
605H                           1/24/2023
605J                           1/24/2023




                                       2
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                                       Respectfully submitted,

                                       KENNETH L. PARKER
                                       United States Attorney

                                        s/ Emily N. Glatfelter
                                       EMILY N. GLATFELTER (0075576)
                                       Assistant United States Attorney
                                       221 East Fourth Street, Suite 400
                                       Cincinnati, Ohio 45202
                                       (513) 684-3711


                         CERTIFICATE OF COUNSEL

      I certify that the documents attached to and filed with this Notice are copies

of the documents properly made a part of the record.

                                       s/Emily N. Glatfelter
                                       EMILY N. GLATFELTER (0075576)
                                       Assistant United States Attorney



                         CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing Notice was served upon counsel of record

for all parties via CM/ECF, this 22nd day of May, 2024.


                                       s/ Emily N. Glatfelter
                                       EMILY N. GLATFELTER (0075576)
                                       Assistant United States Attorney




                                         3
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 4 of 358 PAGEID #: 12152
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 5 of 358 PAGEID #: 12153
FTCSTMT028 028 20170228 UDSPDFSTMT 0000000007284503310 DDA                           2 of 84
         Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 6 of 358 PAGEID #: 12154




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                                                                                      TIER2-US0008703
                                                                                                   Page 2 of 2
PSKEY01|DDA0|01|FTCO|20170228|8|0|S|1|12308|12308|7284503310|0|27608||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 7 of 358 PAGEID #: 12155
FTCSTMT028 028 20170331 UDSPDFSTMT 0000000007284503310 DDA                           4 of 84
         Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 8 of 358 PAGEID #: 12156




Daily Balance Summary
Date                            Amount     Date                              Amount Date                        Amount

03/10                          25,082.00   03/29                         275,043.00   03/30                   239,574.45
03/16                         275,082.00




 INTRODUCTORY OFFER FROM OUR NEW CHECK PROVIDER, HARLAND CLARKE: RECEIVE 20 PERCENT OFF ANY BUSINESS CHECK PRODUCT
 ORDERED THROUGH MAY 31, 2017. USE OFFER CODE: JD. CALL 1-800-503-2345 OR VISIT 53.COM/CHECKS. MENTION THE OFFER CODE WHEN
 ORDERING BY PHONE. THIS OFFER IS NOT VALID WITH ANY OTHER OFFER AND NOT REDEEMABLE FOR CASH.




                                                                                               TIER2-US0008705
                                                                                                                Page 2 of 2
PSKEY01|DDA0|01|FTCO|20170331|8|0|S|1|12355|12355|7284503310|0|28576||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 9 of 358 PAGEID #: 12157
FTCSTMT028 028 20170430 UDSPDFSTMT 0000000007284503310 DDA                          6 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 10 of 358 PAGEID #: 12158



 EFFECTIVE MAY 2, 2017, SEVERAL OVERDRAFT COVERAGE FEATURES WILL BE STREAMLINED OR IMPROVED. IF YOUR ACCOUNT IS OVERDRAWN BY
 $5 OR LESS AT THE END OF THE BUSINESS DAY, THERE IS NO PER-ITEM FEE. THE MAXIMUM NUMBER OF OVERDRAFT ITEMS CHARGED IN ONE
 DAY WILL BE REDUCED FROM 10 TO 5. CREDITS TO YOUR ACCOUNT AFTER THE CUTOFF TIME BUT THROUGH 11:59 P.M. WILL BE APPLIED TO
 COVER OVERDRAFT ITEMS. CREDITS ARE SUBJECT TO THE FUNDS AVAILABILITY POLICY. FIND MORE DETAILS AT 53.COM




                                                                                               TIER2-US0008707
                                                                                                                Page 2 of 2
PSKEY01|DDA0|01|FTCO|20170430|8|0|S|1|12362|12362|7284503310|0|28328||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 11 of 358 PAGEID #: 12159
FTCSTMT028 028 20170531 UDSPDFSTMT 0000000007284503310 DDA                          8 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 12 of 358 PAGEID #: 12160



Withdrawals / Debits - continued
Date                    Amount           Description
05/10                    332.00          DEBIT CARD PURCHASE AT LAZ PARKING 690412, 06142215963, OH ON 050817 FROM CARD#:
                                         XXXXXXXXXXXX0068
05/22                      39.78         DEBIT CARD PURCHASE AT CLASSICS SPORTS BA, COLUMBUS, OH ON 051817 FROM CARD#:
                                         XXXXXXXXXXXX0068
05/24                      19.87         DEBIT CARD PURCHASE AT THE HILLS MARKET, COLUMBUS, OH ON 052317 FROM CARD#:
                                         XXXXXXXXXXXX0068
05/25                      40.21         MERCHANT PAYMENT - 159257 STAPLES 0451 COLUMBUS OH ON 052517 FROM CARD#:
                                         XXXXXXXXXXXX006X


Deposits / Credits                                                                                    1 item totaling $250,000.00
Date                    Amount             Description
05/17                 250,000.00           INCOMING WIRE TRANS 051717


Daily Balance Summary
Date                            Amount        Date                            Amount Date                             Amount

05/01                         220,895.32      05/15                       172,923.83   05/22                        419,884.05
05/03                         177,863.53      05/16                       169,923.83   05/24                        419,864.18
05/04                         177,767.83      05/17                       419,923.83   05/25                        419,823.97
05/10                         177,435.83




 EFFECTIVE MAY 2, 2017, OVERDRAFT COVERAGES A FIFTH THIRD BETTER! IF YOUR ACCOUNT IS OVERDRAWN BY $5 OR LESS AT THE END OF THE
 BUSINESS DAY, THERE IS NO PER-ITEM FEE. THE MAXIMUM NUMBER OF OVERDRAFT ITEMS CHARGED IN ONE DAY WILL BE REDUCED FROM 10 TO
 5. CREDITS TO YOUR ACCOUNT AFTER THE CUTOFF TIME BUT THROUGH 11:59 P.M. WILL BE APPLIED TO COVER OVERDRAFT ITEMS. CREDITS ARE
 SUBJECT TO THE FUNDS AVAILABILITY POLICY. FIND MORE DETAILS AT 53.COM




                                                                                                   TIER2-US0008709
                                                                                                                     Page 2 of 2
PSKEY01|DDA0|01|FTCO|20170531|8|0|S|1|12178|12178|7284503310|0|28782||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 13 of 358 PAGEID #: 12161
FTCSTMT028 028 20170630 UDSPDFSTMT 0000000007284503310 DDA                        10 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 14 of 358 PAGEID #: 12162



Withdrawals / Debits - continued
Date                    Amount           Description
06/15                    318.43          DEBIT CARD PURCHASE AT THE TOP STEAK HOUS, COLUMBUS, OH ON 061317 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/16                      42.00         DEBIT CARD PURCHASE AT TORTILLA STREET FO, COLUMBUS, OH ON 061517 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/19                      38.61         MERCHANT PAYMENT GIANT EAGLE #653 - 200 840 W 3rd Ave Columbus OH ON 061917 FROM CARD#:
                                         XXXXXXXXXXXX006X
06/26                      43.30         MERCHANT PAYMENT GIANT EAGLE #653 - 038000 840 W 3rd Ave Columbus OH ON 062617 FROM
                                         CARD#: XXXXXXXXXXXX006X


Daily Balance Summary
Date                            Amount      Date                              Amount Date                            Amount

06/02                         400,538.72    06/12                        387,262.84   06/19                        379,395.47
06/05                         388,038.72    06/15                        386,932.20   06/26                        379,352.17
06/07                         387,318.72    06/16                        386,890.20




 EFFECTIVE MAY 2, 2017, OVERDRAFT COVERAGES A FIFTH THIRD BETTER! IF YOUR ACCOUNT IS OVERDRAWN BY $5 OR LESS AT THE END OF THE
 BUSINESS DAY, THERE IS NO PER-ITEM FEE. THE MAXIMUM NUMBER OF OVERDRAFT ITEMS CHARGED IN ONE DAY WILL BE REDUCED FROM 10 TO
 5. CREDITS TO YOUR ACCOUNT AFTER THE CUTOFF TIME BUT THROUGH 11:59 P.M. WILL BE APPLIED TO COVER OVERDRAFT ITEMS. CREDITS ARE
 SUBJECT TO THE FUNDS AVAILABILITY POLICY. FIND MORE DETAILS AT 53.COM




                                                                                                   TIER2-US0008711
                                                                                                                     Page 2 of 2
PSKEY01|DDA0|01|FTCO|20170630|8|0|S|1|12163|12163|7284503310|0|28764||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 15 of 358 PAGEID #: 12163
FTCSTMT028 028 20170731 UDSPDFSTMT 0000000007284503310 DDA                        12 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 16 of 358 PAGEID #: 12164



Withdrawals / Debits - continued
Date                    Amount           Description
07/14                     49.02          DEBIT CARD PURCHASE AT TH MIDWEST #708, COLUMBUS, OH ON 071317 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/17                     123.37         DEBIT CARD PURCHASE AT THRIFTY CAR RENTAL, COLUMBUS, OH ON 071317 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/24                      43.05         DEBIT CARD PURCHASE AT MARATHON PETRO, NEW LEXINGTON, OH ON 072017 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/24                      23.62         MERCHANT PAYMENT GIANT EAGLE #653 - 039100 840 W 3rd Ave Columbus OH ON 072417 FROM
                                         CARD#: XXXXXXXXXXXX006X
07/26                      25.79         DEBIT CARD PURCHASE AT BUCKEYE CAR WASH, COLUMBUS, OH ON 072417 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/26                      34.84         DEBIT CARD PURCHASE AT MARATHON PETRO, COLUMBUS, OH ON 072417 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/27                      80.58         DEBIT CARD PURCHASE AT HOTEL LEVEQUE, AUT, COLUMBUS, OH ON 072617 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/31                      31.48         DEBIT CARD PURCHASE AT SHELL OIL 57443524, THORNVILLE, OH ON 072717 FROM CARD#:
                                         XXXXXXXXXXXX0068


Daily Balance Summary
Date                            Amount      Date                              Amount Date                            Amount

07/03                         362,352.17    07/10                         360,343.26   07/24                        352,276.20
07/05                         362,314.26    07/14                         360,276.24   07/26                        352,215.57
07/06                         361,181.76    07/17                         355,342.87   07/27                        352,134.99
07/07                         360,384.26    07/18                         352,342.87   07/31                        352,103.51




 INTRODUCTORY OFFER FROM OUR NEW CHECK PROVIDER, HARLAND CLARKE: RECEIVE 20 PERCENT OFF ANY BUSINESS CHECK PRODUCT
 ORDERED THROUGH SEPTEMBER 30, 2017. USE OFFER CODE: JD. CALL 1-800-503-2345 OR VISIT 53.COM/CHECKS. MENTION THE OFFER CODE
 WHEN ORDERING BY PHONE. THIS OFFER IS NOT VALID WITH ANY OTHER OFFER AND NOT REDEEMABLE FOR CASH.




                                                                                                    TIER2-US0008713
                                                                                                                     Page 2 of 2
PSKEY01|DDA0|01|FTCO|20170731|8|0|S|1|12181|12181|7284503310|0|28268||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 17 of 358 PAGEID #: 12165
FTCSTMT028 028 20170831 UDSPDFSTMT 0000000007284503310 DDA                        14 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 18 of 358 PAGEID #: 12166



Withdrawals / Debits - continued
Date                    Amount              Description
08/09                  42,000.00            GenNowInc3310 JPL 8152370890 080917 OFFSET TRANSACTION
08/16                      22.68            DEBIT CARD PURCHASE AT SHEETZ 0000, CAMBRIDGE, OH ON 081517 FROM CARD#:
                                            XXXXXXXXXXXX0068
08/16                      35.46            DEBIT CARD PURCHASE AT BP#88718571617 TUS, REYNOLDSBURG, OH ON 081517 FROM CARD#:
                                            XXXXXXXXXXXX0068
08/22                     423.75            MERCHANT PAYMENT MARKET DISTRICT - 009400 3070 Kinsdale Center Columbus OH ON 082217 FROM
                                            CARD#: XXXXXXXXXXXX006X
08/23                     103.41            DEBIT CARD PURCHASE AT KENNY ROAD MARKET, COLUMBUS, OH ON 082217 FROM CARD#:
                                            XXXXXXXXXXXX0068
08/25                     170.83            DEBIT CARD PURCHASE AT J GILBERTS #824, COLUMBUS, OH ON 082417 FROM CARD#:
                                            XXXXXXXXXXXX0068
08/28                      74.04            DEBIT CARD PURCHASE AT DUNKIN #353077 Q35, COLUMBUS, OH ON 082617 FROM CARD#:
                                            XXXXXXXXXXXX0068
08/28                  47,000.00            GenNowInc3310 JPL 8152370890 082817 OFFSET TRANSACTION
08/31                      43.00            DEBIT CARD PURCHASE AT CLUB 185, COLUMBUS, OH ON 083017 FROM CARD#: XXXXXXXXXXXX0068
08/31                      62.14            DEBIT CARD PURCHASE AT Lindey's, Columbus, OH ON 082917 FROM CARD#: XXXXXXXXXXXX0068


Deposits / Credits                                                                                        3 items totaling $272,000.00
Date                    Amount              Description
08/10                 250,000.00            INCOMING WIRE TRANS 081017
08/16                  12,000.00            5/3 JEANIE DEPOSIT 17081612 - 003059 21 E STATE ST COLUMBUS OH ON 081617 FROM CARD#:
                                            XXXXXXXXXXXX006X
08/22                  10,000.00            DEPOSIT


Daily Balance Summary
Date                               Amount      Date                               Amount Date                              Amount

08/01                         344,179.54       08/10                         551,172.85   08/23                          572,087.55
08/03                         343,972.53       08/16                         563,114.71   08/25                          571,916.72
08/07                         343,252.53       08/17                         562,614.71   08/28                          524,842.68
08/08                         343,172.85       08/22                         572,190.96   08/31                          524,737.54
08/09                         301,172.85




 INTRODUCTORY OFFER FROM OUR NEW CHECK PROVIDER, HARLAND CLARKE: RECEIVE 20 PERCENT OFF ANY BUSINESS CHECK PRODUCT
 ORDERED THROUGH SEPTEMBER 30, 2017. USE OFFER CODE: JD. CALL 1-800-503-2345 OR VISIT 53.COM/CHECKS. MENTION THE OFFER CODE
 WHEN ORDERING BY PHONE. THIS OFFER IS NOT VALID WITH ANY OTHER OFFER AND NOT REDEEMABLE FOR CASH.




                                                                                                        TIER2-US0008716
                                                                                                                          Page 2 of 2
PSKEY01|DDA0|01|FTCO|20170831|8|0|S|1|12260|12260|7284503310|0|28834||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 19 of 358 PAGEID #: 12167
FTCSTMT028 028 20170930 UDSPDFSTMT 0000000007284503310 DDA                        16 of 84
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Withdrawals / Debits - continued
Date                    Amount           Description
09/21                    500.00          DEBIT CARD PURCHASE AT DELAWARE COUNTY FA, DELAWARE, OH ON 092017 FROM CARD#:
                                         XXXXXXXXXXXX0068
09/22                     100.00         DEBIT CARD PURCHASE AT LAZ PARKING 690412, 06142215963, OH ON 092017 FROM CARD#:
                                         XXXXXXXXXXXX0068
09/26                      22.30         DEBIT CARD PURCHASE AT Amazon Prime Now, amazon.com, WA ON 092517 FROM CARD#:
                                         XXXXXXXXXXXX0068
09/27                      75.68         MERCHANT PAYMENT - 101 AMAZON.COM SEATTLE WA ON 092717 FROM CARD#: XXXXXXXXXXXX006X
09/27                  78,360.00         GenNowInc3310 JPL 8152370890 092717 OFFSET TRANSACTION
09/29                     223.98         DEBIT CARD PURCHASE AT EDDIE MERLOT'S (CO, COLUMBUS, OH ON 092817 FROM CARD#:
                                         XXXXXXXXXXXX0068


Deposits / Credits                                                                                   1 item totaling $2,500.00
Date                    Amount             Description
09/12                   2,500.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                           Amount Date                           Amount

09/01                         519,927.54      09/12                      266,243.71   09/26                      265,605.91
09/06                         515,214.99      09/13                      266,228.21   09/27                      187,170.23
09/07                         514,494.99      09/21                      265,728.21   09/29                      186,946.25
09/11                         514,238.99      09/22                      265,628.21




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PSKEY01|DDA0|01|FTCO|20170930|8|0|S|1|12284|12284|7284503310|0|28580||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 21 of 358 PAGEID #: 12169
FTCSTMT028 028 20171031 UDSPDFSTMT 0000000007284503310 DDA                        18 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 22 of 358 PAGEID #: 12170



Withdrawals / Debits - continued
Date                    Amount           Description
10/23                     48.25          DEBIT CARD PURCHASE AT AMAZON.COM, AMAZON.COM, WA ON 102017 FROM CARD#:
                                         XXXXXXXXXXXX0068
10/23                      85.41         MERCHANT PAYMENT - 101 AMAZON.COM SEATTLE WA ON 102317 FROM CARD#: XXXXXXXXXXXX006X
10/25                     181.03         MERCHANT PAYMENT KROGER - 056908 150 W. SYCAMORE COLUMBUS OH ON 102517 FROM CARD#:
                                         XXXXXXXXXXXX006X
10/26                  78,360.00         GenNowInc3310 JPL 8152370890 102617 OFFSET TRANSACTION


Deposits / Credits                                                                                 2 items totaling $57,500.00
Date                    Amount             Description
10/27                  55,000.00           DEPOSIT
10/30                   2,500.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                           Amount Date                           Amount

10/02                         182,136.25      10/11                      180,819.40   10/27                      157,144.71
10/03                         182,088.47      10/23                      180,685.74   10/30                      153,359.71
10/06                         181,188.47      10/25                      180,504.71   10/31                      147,359.71
10/10                         180,841.64      10/26                      102,144.71




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                                                                                                                  Page 2 of 2
PSKEY01|DDA0|01|FTCO|20171031|8|0|S|1|12223|12223|7284503310|0|28614||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 23 of 358 PAGEID #: 12171
FTCSTMT028 028 20171130 UDSPDFSTMT 0000000007284503310 DDA                        20 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 24 of 358 PAGEID #: 12172




Daily Balance Summary
Date                            Amount     Date                              Amount Date                   Amount

11/03                         172,359.71   11/10                         124,459.71   11/24                45,476.92
11/08                         171,459.71   11/17                         123,836.92   11/30                45,463.69




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PSKEY01|DDA0|01|FTCO|20171130|8|0|S|1|12250|12250|7284503310|0|28364||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 25 of 358 PAGEID #: 12173
FTCSTMT028 028 20171231 UDSPDFSTMT 0000000007284503310 DDA                        22 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 26 of 358 PAGEID #: 12174



Withdrawals / Debits - continued
Date                    Amount           Description
12/06                    180.00          DEBIT CARD PURCHASE AT LAZ PARKING 690412, 06142215963, OH ON 120417 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/06                     180.00         DEBIT CARD PURCHASE AT LAZ PARKING 690412, 06142215963, OH ON 120417 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/06                     180.00         DEBIT CARD PURCHASE AT LAZ PARKING 690412, 06142215963, OH ON 120417 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/06                     180.00         DEBIT CARD PURCHASE AT LAZ PARKING 690412, 06142215963, OH ON 120417 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/06                     900.00         DEBIT CARD PURCHASE AT LAZ PARKING 690412, 06142215963, OH ON 120417 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/07                      34.93         DEBIT CARD PURCHASE AT Amazon Prime Now, amazon.com, WA ON 120617 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/08                       3.00         DEBIT CARD PURCHASE AT Amazon Prime Now T, Amazon.com/Bi, WA ON 120717 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/11                      55.87         MERCHANT PAYMENT KROGER - 056901 150 W. SYCAMORE COLUMBUS OH ON 121117 FROM CARD#:
                                         XXXXXXXXXXXX006X
12/12                      84.25         DEBIT CARD PURCHASE AT HARVEST PIZZERIA, COLUMBUS, OH ON 121117 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/13                      55.18         DEBIT CARD PURCHASE AT AMAZON.COM, AMAZON.COM, WA ON 121217 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/14                       3.00         DEBIT CARD PURCHASE AT Amazon Prime Now T, Amazon.com/Bi, WA ON 121317 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/18                      37.25         MERCHANT PAYMENT - 018201 PILOT #0287 BURBANK OH ON 121817 FROM CARD#:
                                         XXXXXXXXXXXX006X
12/20                      66.00         DEBIT CARD PURCHASE AT TST* SCHMIDT'S SAU, COLUMBUS, OH ON 122017 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/20                  94,999.00         GenNowInc3310 JPL 8152370890 122017 OFFSET TRANSACTION
12/22                      46.42         DEBIT CARD PURCHASE AT BP#38507161072 THO, THORNVILLE, OH ON 122117 FROM CARD#:
                                         XXXXXXXXXXXX0068
12/22                      84.25         DEBIT CARD PURCHASE AT THE BROWN BAG DELI, COLUMBUS, OH ON 122017 FROM CARD#:
                                         XXXXXXXXXXXX0068


Deposits / Credits                                                                                3 items totaling $450,000.00
Date                    Amount             Description
12/05                 100,000.00           DEPOSIT
12/08                 250,000.00           INCOMING WIRE TRANS 120817
12/27                 100,000.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                           Amount Date                           Amount

12/01                          45,443.69      12/11                      393,622.71   12/18                      387,158.03
12/05                         145,443.69      12/12                      393,538.46   12/20                      289,093.03
12/06                         143,716.51      12/13                      393,483.28   12/22                      288,962.36
12/07                         143,681.58      12/14                      387,195.28   12/27                      388,962.36
12/08                         393,678.58




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PSKEY01|DDA0|01|FTCO|20171231|8|0|S|1|13686|13686|7284503310|0|31458||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 27 of 358 PAGEID #: 12175
FTCSTMT028 028 20180131 UDSPDFSTMT 0000000007284503310 DDA                        24 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 28 of 358 PAGEID #: 12176




Deposits / Credits                                                                             2 items totaling $34,999.99
Date                    Amount             Description
01/11                  14,999.99           DEPOSIT
01/19                  20,000.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                           Amount Date                       Amount

01/05                         378,962.36      01/17                      386,041.85   01/30                  282,014.15
01/08                         377,342.36      01/19                      406,041.85   01/31                  272,014.15
01/11                         392,326.85      01/29                      296,528.50




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                                                                                                              Page 2 of 2
PSKEY01|DDA0|01|FTCO|20180131|8|0|S|1|12142|12142|7284503310|0|28190||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 29 of 358 PAGEID #: 12177
FTCSTMT028 028 20180228 UDSPDFSTMT 0000000007284503310 DDA                        26 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 30 of 358 PAGEID #: 12178




Withdrawals / Debits                                                                                  6 items totaling $112,097.26
Date                    Amount           Description
02/05                   1,620.00         DEBIT CARD PURCHASE AT LAZ PARKING 690412, 06142215963, OH ON 020218 FROM CARD#:
                                         XXXXXXXXXXXX0068
02/12                      30.00         SERVICE CHARGE
02/14                      19.41         DEBIT CARD PURCHASE AT G & Z STORES, COLUMBUS, OH ON 021318 FROM CARD#:
                                         XXXXXXXXXXXX0068
02/14                      81.00         DEBIT CARD PURCHASE AT TST* THE BROWN BAG, COLUMBUS, OH ON 021318 FROM CARD#:
                                         XXXXXXXXXXXX0068
02/20                     833.50         DEBIT CARD PURCHASE AT PINS MECHANICAL CO, COLUMBUS, OH ON 021518 FROM CARD#:
                                         XXXXXXXXXXXX0068
02/21                 109,513.35         OUTGOING WIRE TRANS 022118


Deposits / Credits                                                                                       1 item totaling $4,999.99
Date                    Amount             Description
02/16                   4,999.99           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                            Amount Date                              Amount

02/05                         270,394.15      02/14                       263,978.74   02/20                         268,145.23
02/12                         264,079.15      02/16                       268,978.73   02/21                         158,631.88




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PSKEY01|DDA0|01|FTCO|20180228|8|0|S|1|12118|12118|7284503310|0|27776||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 31 of 358 PAGEID #: 12179
FTCSTMT028 028 20180331 UDSPDFSTMT 0000000007284503310 DDA                        28 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 32 of 358 PAGEID #: 12180




Deposits / Credits                                                                            2 items totaling $510,000.00
Date                    Amount             Description
03/15                 300,000.00           INCOMING WIRE TRANS 031518
03/30                 210,000.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                           Amount Date                       Amount

03/02                         148,631.88      03/08                      146,869.39   03/15                  308,515.99
03/07                         147,011.88      03/12                        8,515.99   03/30                  518,515.99




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PSKEY01|DDA0|01|FTCO|20180331|8|0|S|1|12274|12274|7284503310|0|28906||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 33 of 358 PAGEID #: 12181
FTCSTMT028 028 20180430 UDSPDFSTMT 0000000007284503310 DDA                        30 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 34 of 358 PAGEID #: 12182




Deposits / Credits                                                                            9 items totaling $965,000.00
Date                    Amount             Description
04/03                  25,000.00           DEPOSIT
04/04                 175,000.00           DEPOSIT
04/05                 250,000.00           INCOMING WIRE TRANS 040518
04/06                 250,000.00           DEPOSIT
04/09                 200,000.00           DEPOSIT
04/19                  25,000.00           DEPOSIT
04/23                  20,000.00           DEPOSIT
04/27                  10,000.00           INCOMING WIRE TRANS 042718
04/27                  10,000.00           INCOMING WIRE TRANS 042718


Daily Balance Summary
Date                            Amount        Date                           Amount Date                       Amount

04/02                         258,515.99      04/06                      747,382.64   04/13                   81,558.79
04/03                         283,515.99      04/09                      947,382.64   04/19                   35,221.79
04/04                         458,515.99      04/11                      947,357.14   04/23                   55,221.79
04/05                         497,382.64      04/12                       87,843.79   04/27                   75,221.79




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PSKEY01|DDA0|01|FTCO|20180430|8|0|S|1|12220|12220|7284503310|0|28502||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 35 of 358 PAGEID #: 12183
FTCSTMT028 028 20180531 UDSPDFSTMT 0000000007284503310 DDA                        32 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 36 of 358 PAGEID #: 12184




Withdrawals / Debits                                                                                  6 items totaling $130,374.93
Date                    Amount           Description
05/07                   1,620.00         DEBIT CARD PURCHASE AT LAZ PARKING 690412, 6142215963, OH ON 050418 FROM CARD#:
                                         XXXXXXXXXXXX0068
05/07                  53,600.00         OUTGOING WIRE TRANS 050718
05/10                      96.50         SERVICE CHARGE
05/15                      53.43         DEBIT CARD PURCHASE AT Amazon Prime Now, amazon.com, WA ON 051418 FROM CARD#:
                                         XXXXXXXXXXXX0068
05/16                       5.00         DEBIT CARD PURCHASE AT Amazon Prime Now T, Amazon.com/Bi, WA ON 051518 FROM CARD#:
                                         XXXXXXXXXXXX0068
05/31                  75,000.00         OUTGOING WIRE TRANS 053118


Deposits / Credits                                                                                    3 items totaling $125,000.00
Date                    Amount             Description
05/01                  15,000.00           DEPOSIT
05/04                 100,000.00           INCOMING WIRE TRANS 050418
05/07                  10,000.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                            Amount Date                              Amount

05/01                          80,221.79      05/14                       128,620.29   05/23                         110,362.86
05/04                         180,221.79      05/15                       128,566.86   05/30                         100,362.86
05/07                         135,001.79      05/16                       128,561.86   05/31                          25,362.86
05/10                         134,905.29




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PSKEY01|DDA0|01|FTCO|20180531|8|0|S|1|11948|11948|7284503310|0|28096||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 37 of 358 PAGEID #: 12185
FTCSTMT028 028 20180630 UDSPDFSTMT 0000000007284503310 DDA                        34 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 38 of 358 PAGEID #: 12186




Withdrawals / Debits                                                                                   7 items totaling $52,070.92
Date                    Amount           Description
06/07                    106.00          DEBIT CARD PURCHASE AT LAZ PARKING 690412, 6142215963, OH ON 060518 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/07                     180.00         DEBIT CARD PURCHASE AT LAZ PARKING 690412, 6142215963, OH ON 060518 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/07                   1,620.00         DEBIT CARD PURCHASE AT LAZ PARKING 690412, 6142215963, OH ON 060518 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/12                      35.50         SERVICE CHARGE
06/13                  50,000.00         OUTGOING WIRE TRANS 061318
06/28                     118.42         DEBIT CARD PURCHASE AT AMAZON.COM, AMAZON.COM, WA ON 062718 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/29                      11.00         DEBIT CARD PURCHASE AT Amazon Prime Now T, Amazon.com/Bi, WA ON 062818 FROM CARD#:
                                         XXXXXXXXXXXX0068


Deposits / Credits                                                                                     2 items totaling $70,000.00
Date                    Amount             Description
06/13                  50,000.00           FUNDS TRANSFER FROM CK: XXXXXX6847 REF # 00866665372
06/22                  20,000.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                             Amount Date                             Amount

06/07                          23,456.86      06/14                         17,136.36   06/28                         37,017.94
06/12                          23,421.36      06/22                         37,136.36   06/29                         37,006.94
06/13                          23,421.36




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PSKEY01|DDA0|01|FTCO|20180630|8|0|S|1|11938|11938|7284503310|0|27970||PSKEY99|                      TIER 2-US0006581
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 39 of 358 PAGEID #: 12187
FTCSTMT028 028 20180731 UDSPDFSTMT 0000000007284503310 DDA                        36 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 40 of 358 PAGEID #: 12188




Withdrawals / Debits                                                                                      6 items totaling $81,899.92
Date                    Amount              Description
07/09                   1,800.00            DEBIT CARD PURCHASE AT LAZ PARKING 690412, 6142215963, OH ON 070518 FROM CARD#:
                                            XXXXXXXXXXXX0068
07/12                      60.00            SERVICE CHARGE
07/13                  50,000.00            OUTGOING WIRE TRANS 071318
07/19                      34.92            DEBIT CARD PURCHASE AT Amazon Prime Now, amazon.com, WA ON 071818 FROM CARD#:
                                            XXXXXXXXXXXX0068
07/20                       5.00            DEBIT CARD PURCHASE AT Amazon Prime Now T, Amazon.com/Bi, WA ON 071918 FROM CARD#:
                                            XXXXXXXXXXXX0068
07/25                  30,000.00            OUTGOING WIRE TRANS 072518


Deposits / Credits                                                                                        2 items totaling $75,000.00
Date                    Amount              Description
07/03                  50,000.00            5/3 JEANIE DEPOSIT 18070314 - 005773 2465 NORTHWEST BLVD COLUMBUS OH ON 070318 FROM
                                            CARD#: XXXXXXXXXXXX006X
07/17                  25,000.00            DEPOSIT


Daily Balance Summary
Date                               Amount      Date                              Amount Date                              Amount

07/03                          87,006.94       07/13                          25,146.94   07/20                          43,822.02
07/05                          77,006.94       07/17                          43,861.94   07/25                          13,822.02
07/09                          75,206.94       07/19                          43,827.02   07/30                           3,822.02
07/12                          75,146.94




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PSKEY01|DDA0|01|FTCO|20180731|8|0|S|1|11740|11740|7284503310|0|27560||PSKEY99|                         TIER 2-US0006584
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 41 of 358 PAGEID #: 12189
FTCSTMT028 028 20180831 UDSPDFSTMT 0000000007284503310 DDA                        38 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 42 of 358 PAGEID #: 12190




Deposits / Credits                                                                                        3 items totaling $574,000.00
Date                    Amount              Description
08/08                  54,000.00            INCOMING WIRE TRANS 080818
08/09                  20,000.00            5/3 JEANIE DEPOSIT 18080914 - 003059 21 E STATE ST COLUMBUS OH ON 080918 FROM CARD#:
                                            XXXXXXXXXXXX006X
08/16                 500,000.00            INCOMING WIRE TRANS 081618


Daily Balance Summary
Date                               Amount      Date                               Amount Date                              Amount

08/06                           2,022.02       08/10                          25,982.02   08/21                          419,697.02
08/08                          56,022.02       08/13                          19,697.02   08/28                          409,504.45
08/09                          26,022.02       08/16                         519,697.02




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PSKEY01|DDA0|01|FTCO|20180831|8|0|S|1|11861|11861|7284503310|0|28194||PSKEY99|                          TIER 2-US0006587
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 43 of 358 PAGEID #: 12191
FTCSTMT028 028 20180930 UDSPDFSTMT 0000000007284503310 DDA                        40 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 44 of 358 PAGEID #: 12192




Deposits / Credits                                                                               1 item totaling $25,000.00
Date                    Amount             Description
09/21                  25,000.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                           Amount Date                        Amount

09/07                         407,704.45      09/17                      251,368.45   09/21                   176,368.45
09/10                         257,704.45      09/20                      151,368.45   09/25                   169,688.55
09/13                         257,653.45




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PSKEY01|DDA0|01|FTCO|20180930|8|0|S|1|11981|11981|7284503310|0|27718||PSKEY99|                TIER 2-US0006589
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 45 of 358 PAGEID #: 12193
FTCSTMT028 028 20181031 UDSPDFSTMT 0000000007284503310 DDA                        42 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 46 of 358 PAGEID #: 12194




Deposits / Credits                                                                             8 items totaling $941,250.00
Date                    Amount             Description
10/09                  66,250.00           DEPOSIT
10/16                 400,000.00           DEPOSIT
10/19                  50,000.00           DEPOSIT
10/23                  20,000.00           DEPOSIT
10/23                 250,000.00           INCOMING WIRE TRANS 102318
10/24                  50,000.00           DEPOSIT
10/29                 100,000.00           DEPOSIT
10/30                   5,000.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                           Amount Date                        Amount

10/02                          20,688.55      10/16                      472,823.55   10/29                   202,823.55
10/09                          79,138.55      10/19                       52,823.55   10/30                   207,823.55
10/11                          79,108.55      10/23                      322,823.55   10/31                   197,823.55
10/15                          72,823.55      10/24                      222,823.55




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PSKEY01|DDA0|01|FTCO|20181031|8|0|S|1|11667|11667|7284503310|0|27552||PSKEY99|                TIER 2-US0006591
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 47 of 358 PAGEID #: 12195
FTCSTMT028 028 20181130 UDSPDFSTMT 0000000007284503310 DDA                        44 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 48 of 358 PAGEID #: 12196




Daily Balance Summary
Date                            Amount     Date                              Amount Date                    Amount

11/01                         152,823.55   11/13                         144,673.05   11/30                90,673.05
11/07                         151,023.55   11/28                         100,673.05




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PSKEY01|DDA0|01|FTCO|20181130|8|0|S|1|11871|11871|7284503310|0|27652||PSKEY99|                TIER 2-US0006593
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 49 of 358 PAGEID #: 12197
FTCSTMT028 028 20181231 UDSPDFSTMT 0000000007284503310 DDA                        46 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 50 of 358 PAGEID #: 12198




Daily Balance Summary
Date                            Amount     Date                              Amount Date                    Amount

12/06                          88,873.05   12/12                          73,853.05   12/31                66,918.05
12/10                          73,873.05   12/18                          67,568.05




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PSKEY01|DDA0|01|FTCO|20181231|8|0|S|1|13030|13030|7284503310|0|29804||PSKEY99|                TIER 2-US0006595
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 51 of 358 PAGEID #: 12199
FTCSTMT028 028 20190131 UDSPDFSTMT 0000000007284503310 DDA                        48 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 52 of 358 PAGEID #: 12200




Daily Balance Summary
Date                            Amount     Date                              Amount Date                    Amount

01/07                          65,118.05   01/14                          58,823.05   01/17                18,823.05
01/11                          65,108.05




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PSKEY01|DDA0|01|FTCO|20190131|8|0|S|1|11620|11620|7284503310|0|26850||PSKEY99|                TIER 2-US0006597
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 53 of 358 PAGEID #: 12201
FTCSTMT028 028 20190228 UDSPDFSTMT 0000000007284503310 DDA                        50 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 54 of 358 PAGEID #: 12202




Deposits / Credits                                                                               1 item totaling $25,000.00
Date                    Amount             Description
02/15                  25,000.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                           Amount Date                        Amount

02/06                          17,959.05      02/15                       42,929.05   02/25                    34,119.05
02/12                          17,929.05      02/19                       36,644.05




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PSKEY01|DDA0|01|FTCO|20190228|8|0|S|1|11719|11719|7284503310|0|26800||PSKEY99|                TIER 2-US0006599
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 55 of 358 PAGEID #: 12203
FTCSTMT028 028 20190331 UDSPDFSTMT 0000000007284503310 DDA                        52 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 56 of 358 PAGEID #: 12204




Deposits / Credits                                                                             4 items totaling $180,000.00
Date                    Amount             Description
03/06                  50,000.00           DEPOSIT
03/08                  20,000.00           DEPOSIT
03/25                  50,000.00           DEPOSIT
03/26                  60,000.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                           Amount Date                        Amount

03/06                          82,495.63      03/12                      102,445.63   03/26                   203,445.63
03/08                         102,495.63      03/25                      152,445.63




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PSKEY01|DDA0|01|FTCO|20190331|8|0|S|1|11896|11896|7284503310|0|27536||PSKEY99|                TIER 2-US0006601
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 57 of 358 PAGEID #: 12205
FTCSTMT028 028 20190430 UDSPDFSTMT 0000000007284503310 DDA                        54 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 58 of 358 PAGEID #: 12206




Deposits / Credits                                                                            2 items totaling $1,750,000.00
Date                    Amount             Description
04/12                 250,000.00           DEPOSIT
04/30               1,500,000.00           INCOMING WIRE TRANS 043019


Daily Balance Summary
Date                            Amount        Date                           Amount Date                         Amount

04/01                         202,960.66      04/09                       12,646.44   04/15                    262,519.85
04/04                          12,872.93      04/12                      262,646.44   04/30                  1,756,519.85




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PSKEY01|DDA0|01|FTCO|20190430|8|0|S|1|11901|11901|7284503310|0|27884||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 59 of 358 PAGEID #: 12207
FTCSTMT028 028 20190531 UDSPDFSTMT 0000000007284503310 DDA                        56 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 60 of 358 PAGEID #: 12208



Withdrawals / Debits - continued
Date                    Amount              Description
05/20                   1,663.00            DEBIT CARD PURCHASE AT THE MEMORIAL TOURN, 6148896700, OH ON 051719 FROM CARD#:
                                            XXXXXXXXXXXX0068
05/23                   71,272.89           OUTGOING WIRE TRANS 052319
05/23                1,829,525.00           OUTGOING WIRE TRANS 052319
05/29                  614,000.00           OUTGOING WIRE TRANS 052919
05/30                  646,000.00           OUTGOING WIRE TRANS 053019


Deposits / Credits                                                                                      6 items totaling $8,025,122.00
Date                    Amount              Description
05/02                  25,000.00            DEPOSIT
05/03                     122.00            DEBIT CARD RETURN AT USPS PO BOXES ONLI, 800-275-8777, DC ON 050319 TO CARD#:
                                            XXXXXXXXXXXX0068
05/07               1,500,000.00            INCOMING WIRE TRANS 050719
05/15               2,500,000.00            INCOMING WIRE TRANS 051519
05/22               2,500,000.00            INCOMING WIRE TRANS 052219
05/29               1,500,000.00            INCOMING WIRE TRANS 052919


Daily Balance Summary
Date                               Amount      Date                               Amount Date                              Amount

05/02                          991,948.11      05/15                        2,545,790.61   05/22                       3,171,777.61
05/03                          971,826.11      05/16                          764,290.61   05/23                       1,270,979.72
05/07                        2,471,826.11      05/17                          673,440.61   05/29                       2,156,979.72
05/09                           45,826.11      05/20                          671,777.61   05/30                       1,510,979.72
05/13                           45,790.61




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PSKEY01|DDA0|01|FTCO|20190531|8|0|S|1|12138|12138|7284503310|0|28628||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 61 of 358 PAGEID #: 12209
FTCSTMT028 028 20190630 UDSPDFSTMT 0000000007284503310 DDA                        58 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 62 of 358 PAGEID #: 12210



Withdrawals / Debits - continued
Date                    Amount           Description
06/07                   1,193.52         DEBIT CARD PURCHASE AT TONYS ITALIAN RIST, COLUMBUS, OH ON 060619 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/07                  427,681.00        OUTGOING WIRE TRANS 060719
06/10                    3,750.00        OUTGOING WIRE TRANS 061019
06/14                   10,000.00        OUTGOING WIRE TRANS 061419
06/14                   68,000.00        OUTGOING WIRE TRANS 061419
06/14                1,400,731.74        OUTGOING WIRE TRANS 061419
06/19                      174.53        DEBIT CARD PURCHASE AT BLACK POINT STEAKH, COLUMBUS, OH ON 061719 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/21                  616,506.00        OUTGOING WIRE TRANS 062119
06/21                1,363,337.00        OUTGOING WIRE TRANS 062119
06/21                      287.00        SERVICE CHARGE
06/26                      135.29        DEBIT CARD PURCHASE AT HOLIDAY INN, WILMINGTON, OH ON 062419 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/26                     135.29         DEBIT CARD PURCHASE AT HOLIDAY INN, WILMINGTON, OH ON 062419 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/26                     135.29         DEBIT CARD PURCHASE AT HOLIDAY INN, WILMINGTON, OH ON 062419 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/26                     135.29         DEBIT CARD PURCHASE AT HOLIDAY INN, WILMINGTON, OH ON 062419 FROM CARD#:
                                         XXXXXXXXXXXX0068
06/28                  46,712.00         OUTGOING WIRE TRANS 062819


Deposits / Credits                                                                                5 items totaling $5,581,798.00
Date                    Amount              Description
06/05               2,000,000.00            INCOMING WIRE TRANS 060519
06/13               1,361,899.00            INCOMING WIRE TRANS 061319
06/17                   5,000.00            DEPOSIT
06/20               2,116,899.00            INCOMING WIRE TRANS 062019
06/24                  98,000.00            DEPOSIT


Daily Balance Summary
Date                            Amount         Date                            Amount Date                           Amount

06/03                        1,510,710.15      06/10                       444,656.71   06/20                    2,432,748.44
06/04                          244,348.74      06/13                     1,796,555.71   06/21                      452,618.44
06/05                        2,244,348.74      06/14                       317,823.97   06/24                      550,618.44
06/06                          877,511.74      06/17                       322,823.97   06/26                      547,077.28
06/07                          448,406.71      06/19                       322,649.44   06/28                      500,365.28




 IF YOU HAVE A FIFTH THIRD BUSINESS OR PROFESSIONAL DEBIT MASTERCARD, YOUR CARD WILL NO LONGER COME WITH CERTAIN INSURANCE
 BENEFITS DUE TO CHANGES IN THE MASTERCARD DEBIT CARD PROGRAM. THE CANCELLATION OF YOUR EXTENDED WARRANTY-POLICY NO.
 84161537-03, PURCHASE ASSURANCE-POLICY NO. 84161537-03, AND MASTERCOVERAGE POLICY NO. 84161543 BENEFITS WILL BE EFFECTIVE ON
 JULY 1, 2019 AT 12:00 AM EDT. FOR MORE INFORMATION ABOUT YOUR COVERAGE, GO TO WWW.53.COM/DEBIT. TO REQUEST A PRINTED COPY,
 CALL 800-972-3030. THE POLICIES ARE ISSUED BY NEW HAMPSHIRE INSURANCE COMPANY, AN AIG COMPANY.




                                                                                                       TIER2-0042272
                                                                                                                  Page 2 of 2
PSKEY01|DDA0|01|FTCO|20190630|8|0|S|1|12125|12125|7284503310|0|28234||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 63 of 358 PAGEID #: 12211
FTCSTMT028 028 20190731 UDSPDFSTMT 0000000007284503310 DDA                        60 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 64 of 358 PAGEID #: 12212



Withdrawals / Debits - continued
Date                    Amount           Description
07/23                    319.00          DEBIT CARD PURCHASE AT WESTIN CHARLOTTE, CHARLOTTE, NC ON 072319 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/23                     319.00         DEBIT CARD PURCHASE AT WESTIN CHARLOTTE, CHARLOTTE, NC ON 072319 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/23                     319.00         DEBIT CARD PURCHASE AT WESTIN CHARLOTTE, CHARLOTTE, NC ON 072319 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/23                   1,825.53         DEBIT CARD PURCHASE AT HOTELSCOM804570945, HOTELS.COM, WA ON 072219 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/23                  75,000.00         OUTGOING WIRE TRANS 072319
07/24                     995.11         DEBIT CARD PURCHASE AT AMERICAN, 8004337300, TX ON 072219 FROM CARD#: XXXXXXXXXXXX0068
07/24                     995.11         DEBIT CARD PURCHASE AT AMERICAN, 8004337300, TX ON 072219 FROM CARD#: XXXXXXXXXXXX0068
07/24                     995.11         DEBIT CARD PURCHASE AT AMERICAN, 8004337300, TX ON 072219 FROM CARD#: XXXXXXXXXXXX0068
07/25                      70.00         DEBIT CARD PURCHASE AT REPUBLICAN NATIONA, 2028638506, DC ON 072419 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/25                      70.00         DEBIT CARD PURCHASE AT REPUBLICAN NATIONA, 2028638506, DC ON 072419 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/25                      70.00         DEBIT CARD PURCHASE AT REPUBLICAN NATIONA, 2028638506, DC ON 072419 FROM CARD#:
                                         XXXXXXXXXXXX0068
07/29                  30,000.00         IN FIELD STRATEG SALE GENERATION NOW 072919
07/29                  25,000.00         OUTGOING WIRE TRANS 072919
07/29                  25,000.00         OUTGOING WIRE TRANS 072919
07/29                  30,000.00         OUTGOING WIRE TRANS 072919


Deposits / Credits                                                                                2 items totaling $2,034,457.00
Date                    Amount             Description
07/01                 155,000.00           DEPOSIT
07/05               1,879,457.00           INCOMING WIRE TRANS 070519


Daily Balance Summary
Date                            Amount        Date                           Amount Date                             Amount

07/01                         575,365.28      07/17                      295,208.02   07/25                        214,230.16
07/02                         570,068.52      07/23                      217,425.49   07/26                        211,230.16
07/05                       2,082,219.52      07/24                      214,440.16   07/29                        101,230.16
07/08                         782,219.52




 FRAUD PROTECTION: BANK MAINTAINED POSITIVE PAY (BMPP) CAN HELP REDUCE CHECK FRAUD ON YOUR ACCOUNTS. THIS SERVICE INCLUDES
 PAYEE NAME VERIFICATION AS PAYEE ALTERATION IS 49% OF CHECK FRAUD. WE ARE LOWERING THE FEE FOR BMPP TO $49 PER MONTH;
 EXCEPTION FEES PER ITEM MAY APPLY. PLEASE CONTACT YOUR RELATIONSHIP TEAM TO IMPLEMENT THIS SERVICE.




                                                                                                                    Page 2 of 2
PSKEY01|DDA0|01|FTCO|20190731|8|0|S|1|11928|11928|7284503310|0|28268||PSKEY99|                    TIER 2-US0008088
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 65 of 358 PAGEID #: 12213
FTCSTMT028 028 20190831 UDSPDFSTMT 0000000007284503310 DDA                        62 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 66 of 358 PAGEID #: 12214



Withdrawals / Debits - continued
Date                     Amount          Description
08/12                   75,000.00        OUTGOING WIRE TRANS 081219
08/12                3,000,000.00        OUTGOING WIRE TRANS 081219
08/12                1,000,000.00        FUNDS TRANSFER TO CK: XXXXXX6847 REF # 00966067635
08/14                      190.50        SERVICE CHARGE
08/21                  377,925.48        OUTGOING WIRE TRANS 082119
08/23                   25,000.00        OUTGOING WIRE TRANS 082319
08/23                  200,000.00        OUTGOING WIRE TRANS 082319
08/29                  600,000.00        FUNDS TRANSFER TO CK: XXXXXX6847 REF # 00970445624
08/30                   20,000.00        OUTGOING WIRE TRANS 083019
08/30                   75,000.00        OUTGOING WIRE TRANS 083019
08/30                  200,000.00        OUTGOING WIRE TRANS 083019
08/30                  377,925.48        OUTGOING WIRE TRANS 083019
08/30                1,200,000.00        OUTGOING WIRE TRANS 083019


Deposits / Credits                                                                                 8 items totaling $8,500,250.00
Date                    Amount              Description
08/02                 734,250.00            INCOMING WIRE TRANS 080219
08/05                 100,000.00            DEPOSIT
08/06                 300,000.00            FUNDS TRANSFER FROM CK: XXXXXX6847 REF # 00964576806
08/07               4,390,000.00            INCOMING WIRE TRANS 080719
08/14                 300,000.00            INCOMING WIRE TRANS 081419
08/22                 653,000.00            INCOMING WIRE TRANS 082219
08/29                  20,000.00            DEPOSIT
08/29               2,003,000.00            INCOMING WIRE TRANS 082919


Daily Balance Summary
Date                            Amount         Date                             Amount Date                           Amount

08/02                          835,239.18      08/12                        345,192.49   08/27                      682,244.01
08/05                          885,192.49      08/14                        645,001.99   08/28                      679,034.01
08/06                          430,192.49      08/21                        267,076.51   08/29                    2,102,034.01
08/07                        4,820,192.49      08/22                        920,076.51   08/30                      226,108.53
08/08                        4,420,192.49      08/23                        695,076.51



 FRAUD PROTECTION: BANK MAINTAINED POSITIVE PAY (BMPP) CAN HELP REDUCE CHECK FRAUD ON YOUR ACCOUNTS. THIS SERVICE INCLUDES
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 EXCEPTION FEES PER ITEM MAY APPLY. PLEASE CONTACT YOUR RELATIONSHIP TEAM TO IMPLEMENT THIS SERVICE.




                                                                                                                     Page 2 of 2
PSKEY01|DDA0|01|FTCO|20190831|8|0|S|1|12136|12136|7284503310|0|28440||PSKEY99|                     TIER 2-US0008090
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 67 of 358 PAGEID #: 12215
FTCSTMT028 028 20190930 UDSPDFSTMT 0000000007284503310 DDA                        64 of 84
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Withdrawals / Debits - continued
Date                     Amount          Description
09/13                  377,925.48        OUTGOING WIRE TRANS 091319
09/13                  927,000.00        OUTGOING WIRE TRANS 091319
09/13                1,100,000.00        OUTGOING WIRE TRANS 091319
09/20                  150,000.00        OUTGOING WIRE TRANS 092019
09/20                  770,161.76        OUTGOING WIRE TRANS 092019
09/20                2,400,000.00        OUTGOING WIRE TRANS 092019
09/24                   10,000.00        OUTGOING WIRE TRANS 092419
09/24                   15,000.00        OUTGOING WIRE TRANS 092419
09/24                   15,000.00        OUTGOING WIRE TRANS 092419
09/24                   20,000.00        OUTGOING WIRE TRANS 092419
09/25                    5,000.00        OUTGOING WIRE TRANS 092519
09/25                    7,500.00        OUTGOING WIRE TRANS 092519
09/25                    7,500.00        OUTGOING WIRE TRANS 092519
09/25                   10,000.00        OUTGOING WIRE TRANS 092519
09/25                   10,000.00        OUTGOING WIRE TRANS 092519
09/25                   15,000.00        OUTGOING WIRE TRANS 092519
09/25                   20,000.00        OUTGOING WIRE TRANS 092519
09/26                   25,000.00        OUTGOING WIRE TRANS 092619
09/26                   25,000.00        OUTGOING WIRE TRANS 092619
09/26                  700,000.00        OUTGOING WIRE TRANS 092619
09/26                  500,000.00        5/3 ONLINE TRANSFER TO CK: XXXXXX6847 REF # 00606283669
09/27                    5,000.00        OUTGOING WIRE TRANS 092719
09/27                  100,000.00        OUTGOING WIRE TRANS 092719
09/27                  600,000.00        OUTGOING WIRE TRANS 092719
09/27                  770,161.76        OUTGOING WIRE TRANS 092719
09/30                   20,000.00        OUTGOING WIRE TRANS 093019
09/30                   30,000.00        OUTGOING WIRE TRANS 093019
09/30                   75,000.00        OUTGOING WIRE TRANS 093019
09/30                  500,000.00        OUTGOING WIRE TRANS 093019


Deposits / Credits                                                                                 8 items totaling $12,123,405.00
Date                    Amount              Description
09/05               2,403,000.00            INCOMING WIRE TRANS 090519
09/12               2,403,000.00            INCOMING WIRE TRANS 091219
09/13                  50,000.00            DEPOSIT
09/19               4,695,000.00            INCOMING WIRE TRANS 091919
09/25                   7,455.00            INCOMING WIRE TRANS 092519
09/25                  19,950.00            INCOMING WIRE TRANS 092519
09/26               2,445,000.00            INCOMING WIRE TRANS 092619
09/30                 100,000.00            DEPOSIT


Daily Balance Summary
Date                            Amount         Date                            Amount Date                             Amount

09/03                          225,933.30      09/13                       123,729.84   09/25                      1,390,973.08
09/04                          220,933.30      09/19                     4,818,729.84   09/26                      2,585,973.08
09/05                        2,623,933.30      09/20                     1,498,568.08   09/27                      1,108,823.82
09/06                          226,007.82      09/24                     1,438,568.08   09/30                        575,823.82
09/12                        2,628,655.32



 FRAUD PROTECTION: BANK MAINTAINED POSITIVE PAY (BMPP) CAN HELP REDUCE CHECK FRAUD ON YOUR ACCOUNTS. THIS SERVICE INCLUDES
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 EXCEPTION FEES PER ITEM MAY APPLY. PLEASE CONTACT YOUR RELATIONSHIP TEAM TO IMPLEMENT THIS SERVICE.




                                                                                                         TIER2-0042278
                                                                                                                    Page 2 of 2
PSKEY01|DDA0|01|FTCO|20190930|8|0|S|1|13274|13274|7284503310|0|30452||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 69 of 358 PAGEID #: 12217
FTCSTMT028 028 20191031 UDSPDFSTMT 0000000007284503310 DDA                        66 of 84
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Withdrawals / Debits                                                                           69 items totaling $21,940,326.45
Date                    Amount         Description
10/01                   5,000.00       OUTGOING WIRE TRANS 100119
10/01                   7,500.00       OUTGOING WIRE TRANS 100119
10/01                  20,000.00       OUTGOING WIRE TRANS 100119
10/01                  25,000.00       OUTGOING WIRE TRANS 100119
10/01                  30,000.00       OUTGOING WIRE TRANS 100119
10/01                  30,000.00       OUTGOING WIRE TRANS 100119
10/02                     221.17       DEBIT CARD PURCHASE AT CAPITAL CLUB COLUM, COLUMBUS, OH ON 093019 FROM CARD#:
                                       XXXXXXXXXXXX0068
10/02                  190,000.00      OUTGOING WIRE TRANS 100219
10/03                    5,000.00      OUTGOING WIRE TRANS 100319
10/03                    5,000.00      OUTGOING WIRE TRANS 100319
10/03                   10,000.00      OUTGOING WIRE TRANS 100319
10/03                   10,000.00      OUTGOING WIRE TRANS 100319
10/03                   25,000.00      OUTGOING WIRE TRANS 100319
10/03                   25,000.00      OUTGOING WIRE TRANS 100319
10/03                   25,000.00      OUTGOING WIRE TRANS 100319
10/03                   30,000.00      OUTGOING WIRE TRANS 100319
10/03                   40,000.00      OUTGOING WIRE TRANS 100319
10/03                  825,000.00      OUTGOING WIRE TRANS 100319
10/04                   10,000.00      OUTGOING WIRE TRANS 100419
10/04                  100,000.00      OUTGOING WIRE TRANS 100419
10/04                  160,000.00      OUTGOING WIRE TRANS 100419
10/04                  770,161.76      OUTGOING WIRE TRANS 100419
10/04                1,300,000.00      OUTGOING WIRE TRANS 100419
10/07                    7,500.00      OUTGOING WIRE TRANS 100719
10/07                   10,000.00      OUTGOING WIRE TRANS 100719
10/07                   15,000.00      OUTGOING WIRE TRANS 100719
10/07                   25,000.00      OUTGOING WIRE TRANS 100719
10/07                   25,000.00      OUTGOING WIRE TRANS 100719
10/07                  600,000.00      5/3 ONLINE TRANSFER TO CK: XXXXXX6847 REF # 00608328795
10/08                   58,500.00      OUTGOING WIRE TRANS 100819
10/09                1,900,000.00      5/3 ONLINE TRANSFER TO CK: XXXXXX6847 REF # 00608683988
10/10                    6,750.00      OUTGOING WIRE TRANS 101019
10/10                    7,500.00      OUTGOING WIRE TRANS 101019
10/10                   10,000.00      OUTGOING WIRE TRANS 101019
10/10                   20,000.00      OUTGOING WIRE TRANS 101019
10/10                   20,000.00      OUTGOING WIRE TRANS 101019
10/10                   25,000.00      OUTGOING WIRE TRANS 101019
10/10                1,350,000.00      OUTGOING WIRE TRANS 101019
10/10                      845.00      SERVICE CHARGE
10/11                3,000,000.00      FUNDS TRANSFER TO CK: XXXXXX6847 REF # 00982312319
10/15                    5,000.00      OUTGOING WIRE TRANS 101519
10/15                    6,750.00      OUTGOING WIRE TRANS 101519
10/15                   10,000.00      OUTGOING WIRE TRANS 101519
10/15                   10,000.00      OUTGOING WIRE TRANS 101519
10/15                   15,000.00      OUTGOING WIRE TRANS 101519
10/15                   15,000.00      OUTGOING WIRE TRANS 101519
10/15                   20,000.00      OUTGOING WIRE TRANS 101519
10/15                   20,000.00      OUTGOING WIRE TRANS 101519
10/15                   25,000.00      OUTGOING WIRE TRANS 101519
10/15                   30,000.00      OUTGOING WIRE TRANS 101519
10/15                   30,750.00      OUTGOING WIRE TRANS 101519
10/15                   55,000.00      OUTGOING WIRE TRANS 101519
10/15                  120,000.00      OUTGOING WIRE TRANS 101519
10/15                  190,000.00      OUTGOING WIRE TRANS 101519
10/15                  770,161.76      OUTGOING WIRE TRANS 101519
10/15                2,500,000.00      OUTGOING WIRE TRANS 101519
10/15                  900,000.00      5/3 ONLINE TRANSFER TO CK: XXXXXX6847 REF # 00609749107
10/17                2,500,000.00      OUTGOING WIRE TRANS 101719

                                                                                                       TIER2-0042280
                                                                                                                  Page 2 of 4
PSKEY01|DDA0|01|FTCO|20191031|8|0|S|1|11884|11884|7284503310|0|27872||PSKEY99|
FTCSTMT028 028 20191031 UDSPDFSTMT 0000000007284503310 DDA                               67 of 84
                                                                    Statement
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 71 of 358 Period Date: 10/1/2019
                                                                              PAGEID     #: 12219 - 10/31/2019
                                                                                                             Account Type: 5/3 BUS ELITE CKG
                                                                                                                Account Number:         3310
                (CENTRAL OHIO)
                P.O. BOX 630900 CINCINNATI OH 45263-0900
                                                                                                                   Banking Center: State Street
                GENERATION NOW INC                                                                         Banking Center Phone: 614-744-7595
                                                                        0
                65 E STATE ST STE 2540                                                                Business Banking Support: 877-534-2264
                COLUMBUS OH 43215-4265
                                                                     11884


            /



Withdrawals / Debits - continued
Date                       Amount               Description
10/18                      5,000.00             OUTGOING WIRE TRANS 101819
10/18                     10,000.00             OUTGOING WIRE TRANS 101819
10/18                     15,000.00             OUTGOING WIRE TRANS 101819
10/18                    770,161.76             OUTGOING WIRE TRANS 101819
10/23                     15,000.00             OUTGOING WIRE TRANS 102319
10/23                     25,000.00             OUTGOING WIRE TRANS 102319
10/23                     25,000.00             OUTGOING WIRE TRANS 102319
10/23                     25,000.00             OUTGOING WIRE TRANS 102319
10/23                     27,525.00             OUTGOING WIRE TRANS 102319
10/23                    150,000.00             OUTGOING WIRE TRANS 102319
10/24                  2,921,000.00             OUTGOING WIRE TRANS 102419


Deposits / Credits                                                                                      11 items totaling $21,642,910.00
Date                       Amount               Description
10/01                     24,960.00             INCOMING WIRE TRANS 100119
10/03                      9,950.00             INCOMING WIRE TRANS 100319
10/03                  4,160,000.00             INCOMING WIRE TRANS 100319
10/08                  1,600,000.00             INCOMING WIRE TRANS 100819
10/10                     25,000.00             DEPOSIT
10/10                 10,000,000.00             INCOMING WIRE TRANS 101019
10/16                     60,000.00             DEPOSIT
10/17                  2,500,000.00             5/3 ONLINE TRANSFER FROM CK: XXXXXX6847 REF # 00610110094
10/17                    248,000.00             INCOMING WIRE TRANS 101719
10/18                     15,000.00             INCOMING WIRE TRANS 101819
10/22                  3,000,000.00             INCOMING WIRE TRANS 102219


Daily Balance Summary
Date                                  Amount         Date                            Amount Date                                  Amount

10/01                              468,528.82       10/09                         67,095.89   10/18                             445,964.87
10/02                              278,307.65       10/10                      8,652,000.89   10/22                           3,445,964.87
10/03                            3,448,257.65       10/11                      5,652,000.89   10/23                           3,178,439.87
10/04                            1,108,095.89       10/15                        923,126.63   10/24                             257,439.87
10/07                              425,595.89       10/16                        983,126.63   10/31                             244,439.87
10/08                            1,967,095.89       10/17                      1,231,126.63



 FRAUD PROTECTION: BANK MAINTAINED POSITIVE PAY (BMPP) CAN HELP REDUCE CHECK FRAUD ON YOUR ACCOUNTS. THIS SERVICE INCLUDES
 PAYEE NAME VERIFICATION AS PAYEE ALTERATION IS 49% OF CHECK FRAUD. WE ARE LOWERING THE FEE FOR BMPP TO $49 PER MONTH;
 EXCEPTION FEES PER ITEM MAY APPLY. PLEASE CONTACT YOUR RELATIONSHIP TEAM TO IMPLEMENT THIS SERVICE.




                                                                                                                   TIER2-0042281
                                                                                                                              Page 3 of 4
PSKEY01|DDA0|01|FTCO|20191031|8|0|S|1|11884|11884|7284503310|0|27873||PSKEY99|
FTCSTMT028 028 20191031 UDSPDFSTMT 0000000007284503310 DDA                        68 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 72 of 358 PAGEID #: 12220




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                                                                                      TIER2-0042282
                                                                                                 Page 4 of 4
PSKEY01|DDA0|01|FTCO|20191031|8|0|S|1|11884|11884|7284503310|0|27874||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 73 of 358 PAGEID #: 12221
FTCSTMT028 028 20191130 UDSPDFSTMT 0000000007284503310 DDA                        70 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 74 of 358 PAGEID #: 12222



Withdrawals / Debits - continued
Date                    Amount           Description
11/13                   1,657.00         SERVICE CHARGE
11/18                   4,166.66         OUTGOING WIRE TRANS 111819
11/18                  14,000.00         OUTGOING WIRE TRANS 111819
11/18                 100,000.00         OUTGOING WIRE TRANS 111819
11/22                  42,000.00         OUTGOING WIRE TRANS 112219
11/26                   8,884.00         OUTGOING WIRE TRANS 112619
11/26                  25,000.00         OUTGOING WIRE TRANS 112619
11/29                     175.23         DEBIT CARD PURCHASE AT CAPITAL CLUB COLUM, 614-2284600, OH ON 112819 FROM CARD#:
                                         XXXXXXXXXXXX0068


Deposits / Credits                                                                                  3 items totaling $234,116.66
Date                    Amount             Description
11/05                  50,000.00           DEPOSIT
11/05                   4,116.66           INCOMING WIRE TRANS 110519
11/15                 180,000.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                           Amount Date                             Amount

11/04                         124,143.59      11/14                      109,681.59   11/22                        112,867.43
11/05                         169,093.59      11/15                      289,681.59   11/26                         78,983.43
11/12                         116,593.59      11/18                      171,514.93   11/29                         78,808.20
11/13                         114,936.59



 FRAUD PROTECTION: BANK MAINTAINED POSITIVE PAY (BMPP) CAN HELP REDUCE CHECK FRAUD ON YOUR ACCOUNTS. THIS SERVICE INCLUDES
 PAYEE NAME VERIFICATION AS PAYEE ALTERATION IS 49% OF CHECK FRAUD. WE ARE LOWERING THE FEE FOR BMPP TO $49 PER MONTH;
 EXCEPTION FEES PER ITEM MAY APPLY. PLEASE CONTACT YOUR RELATIONSHIP TEAM TO IMPLEMENT THIS SERVICE.




                                                                                                        TIER2-0042284
                                                                                                                   Page 2 of 2
PSKEY01|DDA0|01|FTCO|20191130|8|0|S|1|12236|12236|7284503310|0|28292||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 75 of 358 PAGEID #: 12223
FTCSTMT028 028 20191231 UDSPDFSTMT 0000000007284503310 DDA                        72 of 84
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 76 of 358 PAGEID #: 12224




Deposits / Credits                                                                               3 items totaling $42,500.00
Date                    Amount             Description
12/02                  25,000.00           DEPOSIT
12/10                  15,000.00           DEPOSIT
12/16                   2,500.00           DEPOSIT


Daily Balance Summary
Date                            Amount        Date                           Amount Date                         Amount

12/02                         103,808.20      12/12                      113,581.70   12/17                    108,181.70
12/10                         118,808.20      12/13                      112,681.70   12/30                    105,181.70
12/11                         113,808.20      12/16                      115,181.70



 FRAUD PROTECTION: BANK MAINTAINED POSITIVE PAY (BMPP) CAN HELP REDUCE CHECK FRAUD ON YOUR ACCOUNTS. THIS SERVICE INCLUDES
 PAYEE NAME VERIFICATION AS PAYEE ALTERATION IS 49% OF CHECK FRAUD. WE ARE LOWERING THE FEE FOR BMPP TO $49 PER MONTH;
 EXCEPTION FEES PER ITEM MAY APPLY. PLEASE CONTACT YOUR RELATIONSHIP TEAM TO IMPLEMENT THIS SERVICE.




                                                                                                   TIER2-0042286
                                                                                                              Page 2 of 2
PSKEY01|DDA0|01|FTCO|20191231|8|0|S|1|13396|13396|7284503310|0|30748||PSKEY99|
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 77 of 358 PAGEID #: 12225
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 78 of 358 PAGEID #: 12226
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 79 of 358 PAGEID #: 12227
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 80 of 358 PAGEID #: 12228
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     TRN_DATE TRN_N SOURAMOUNT DBT_ID           DBT_NAME1              DBT_NAME_2      DBT_NAME_3     ORP_ID         ORP_NAME1          ORP_NAME2   SBK_REF_NUM CDT_ID           CDT_NAME1     CDT_NAME2       BNP_ID         BNP_NAME1
1
     2019-04-04   4416 C2U    150000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  Retainer Jan-    044000024   THE           COLUMBUS, OH    0        9192 JPL &
                                                                       STE 2540        43215                                                        Mar                          HUNTINGTON                                  Associates
2                                                                                                                                                                                NATIONAL BANK                               LLC
3
     2019-04-04   5608 C2U     40000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  retainer Feb-Mar 044000037   JPMORGAN      COLUMBUS, OH        7262       Brooke Bodney
                                                                       STE 2540        43215                                                                                     CHASE BANK,
4                                                                                                                                                                                NA
5
     2019-04-30 11319 FED    1500000     0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY       6496       FIRSTENERGY CONCENTRATION      4675000120JO     7284503310 GENERATION     65 E STATE ST
6                                               NA                                                                   SERVICE CO  ACCT                                           NOW INC        STE 2540
7
     2019-05-02   2087 C2U    739100 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  Media            044000024   THE           COLUMBUS, OH             4091 Strategic
                                                                       STE 2540        43215                                                        Placement                    HUNTINGTON                                  Media
8                                                                                                                                                                                NATIONAL BANK                               Placement
9
     2019-05-02   2132 C2U     50000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  Retainer April   044000024   THE           COLUMBUS, OH             9192 JPL &
                                                                       STE 2540        43215                                                                                     HUNTINGTON                                  Associates
10                                                                                                                                                                               NATIONAL BANK                               LLC
11
     2019-05-02   2052 C2U    739100 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  INV # 6461       044000024   THE           COLUMBUS, OH        0024       Strategic
                                                                       STE 2540        43215                                                                                     HUNTINGTON                                   Media
12                                                                                                                                                                               NATIONAL BANK                                Placement
13
     2019-05-03   4204 C2U     20000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  FR Retainer      044000037   JPMORGAN      COLUMBUS, OH        7262       Brooke Bodney
                                                                       STE 2540        43215                                                                                     CHASE BANK,
14                                                                                                                                                                               NA
15
     2019-05-07   6972 FED   1500000     0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY       6496       FIRSTENERGY CONCENTRATION      3154100127JO     7284503310 GENERATION     65 E STATE ST
16                                              NA                                                                   SERVICE CO  ACCT                                           NOW INC        STE 2540
17
     2019-05-09   1780 C2U   1626000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  INV# 6479        044000024   THE           COLUMBUS, OH             4091 Strategic
                                                                       STE 2540        43215                                                        Media                        HUNTINGTON                                  Media
18                                                                                                                                                                               NATIONAL BANK                               Placement
19
     2019-05-09   1663 C2U    800000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  Mail             044000024   THE           COLUMBUS, OH             9192 JPL &
                                                                       STE 2540        43215                                                                                     HUNTINGTON                                  Associates
20                                                                                                                                                                               NATIONAL BANK                               LLC
21
     2019-05-15   4828 FED   2500000     0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY       6496       FIRSTENERGY CONCENTRATION      2281700135JO     7284503310 GENERATION     65 E STATE ST
22                                              NA                                                                   SERVICE CO  ACCT                                           NOW INC        STE 2540
23
     2019-05-16   2109 C2U   1755900 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  INV #6482        044000024   THE           COLUMBUS, OH             4091 Strategic
                                                                       STE 2540        43215                                                                                     HUNTINGTON                                  Media
24                                                                                                                                                                               NATIONAL BANK                               Placement
25
     2019-05-16   9233 C2U     25600 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  INV # 190203     092901337   GLACIER BANK- MISSOULA, MT              4929 Moore
                                                                       STE 2540        43215                                                                                     FIRST SECURITY                               Information,
26                                                                                                                                                                               DIV                                          Inc.
27
     2019-05-17   3268 C2U     90850 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  Postage          0002        JPMORGAN      NEW YORK, NY        9802       Baesman
                                                                       STE 2540        43215                                                                                     CHASE BANK,                                  Group, Inc.
28                                                                                                                                                                               NA
29
     2019-05-22   8171 FED   2500000     0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY       6496       FIRSTENERGY CONCENTRATION      3329000142JO     7284503310 GENERATION     65 E STATE ST
30                                              NA                                                                   SERVICE CO  ACCT                                           NOW INC        STE 2540
31
     2019-05-23   2434 C2U   71272.89 7284503310 GENERATION NOW INC    65 E STATE ST   COLUMBUS OH                                                  INV #10499       044000024   THE           COLUMBUS, OH    0        5517 The Strategy
                                                                       STE 2540        43215                                                                                     HUNTINGTON                                  Group for
32                                                                                                                                                                               NATIONAL BANK                               Media
33
     2019-05-23   2243 C2U   1829525 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                                  INV #6485        044000024   THE           COLUMBUS, OH             4091 Strategic
                                                                       STE 2540        43215                                                        Media                        HUNTINGTON                                  Media
34                                                                                                                                                                               NATIONAL BANK                               Placement

                                                                                                                          14F
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35
     2019-05-29   4618 C2U    614000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            HB6 efforts     044000024    THE           COLUMBUS, OH            9192 JPL &
                                                                       STE 2540        43215                                                                               HUNTINGTON                                 Associates
36                                                                                                                                                                         NATIONAL BANK                              LLC
37
     2019-05-29   9768 FED   1500000     0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY   6496        FIRSTENERGY CONCENTRATION   4386900149JO    7284503310 GENERATION      65 E STATE ST
38                                              NA                                                                SERVICE CO  ACCT                                       NOW INC         STE 2540
39
     2019-05-30 12373 C2U     646000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Media           044000024    THE           COLUMBUS, OH            4091 Strategic
                                                                       STE 2540        43215                                                  Placement                    HUNTINGTON                                 Media
40                                                                                                                                                                         NATIONAL BANK                              Placement
41
     2019-06-04   2688 C2U     20000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Monthly Retainer 044000037   JPMORGAN      COLUMBUS, OH    7   7262     Brooke Bodney
                                                                       STE 2540        43215                                                                               CHASE BANK,
42                                                                                                                                                                         NA
43
     2019-06-04   2636 C2U   36361.41 7284503310 GENERATION NOW INC    65 E STATE ST   COLUMBUS OH                                            INV# 105204     044000024    THE           COLUMBUS, OH    0       5517 The Strategy
                                                                       STE 2540        43215                                                                               HUNTINGTON                                 Group for
44                                                                                                                                                                         NATIONAL BANK                              Media
45
     2019-06-04   2668 C2U     60000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            June Retainer   044000024    THE           COLUMBUS, OH            9192 JPL &
                                                                       STE 2540        43215                                                                               HUNTINGTON                                 Associates
46                                                                                                                                                                         NATIONAL BANK                              LLC
47
     2019-06-05   7550 FED   2000000     0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY   6496        FIRSTENERGY CONCENTRATION   3078300156JO    7284503310 GENERATION      65 E STATE ST
48                                              NA                                                                SERVICE CO  ACCT                                       NOW INC         STE 2540
49
     2019-06-06   6416 C2U   1366837 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            INV# 6489       044000024    THE           COLUMBUS, OH            4091 Strategic
                                                                       STE 2540        43215                                                                               HUNTINGTON                                 Media
50                                                                                                                                                                         NATIONAL BANK                              Placement
51
     2019-06-07   5001 C2U    427681 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Direct Mail     044000024    THE           COLUMBUS, OH            9192 JPL &
                                                                       STE 2540        43215                                                                               HUNTINGTON                                 Associates
52                                                                                                                                                                         NATIONAL BANK                              LLC
53
     2019-06-10   8684 C2U      3750 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Fdr. Dinner     044000024    THE           COLUMBUS, OH            6264 Anthony Scartz
                                                                       STE 2540        43215                                                                               HUNTINGTON
54                                                                                                                                                                         NATIONAL BANK
55
     2019-06-13   8307 FED   1361899     0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY   6496        FIRSTENERGY CONCENTRATION   4197200164JO    7284503310 GENERATION      65 E STATE ST
56                                              NA                                                                SERVICE CO  ACCT                                       NOW INC         STE 2540
57
     2019-06-14   8220 C2U     10000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            INV 10530       044000024    THE           COLUMBUS, OH            5517 The Strategy
                                                                       STE 2540        43215                                                                               HUNTINGTON                                 Group for
58                                                                                                                                                                         NATIONAL BANK                              Media
59
     2019-06-14   4414 C2U 1400731.7 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            INV 6490        044000024    THE           COLUMBUS, OH            4091 Strategic
                                                                       STE 2540        43215                                                                               HUNTINGTON                                 Media
60                                                                                                                                                                         NATIONAL BANK                              Placement
61
     2019-06-14   4498 C2U     68000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            INV 10509&10    044000024    THE           COLUMBUS, OH            5517 The Strategy
                                                                       STE 2540        43215                                                                               HUNTINGTON                                 Group for
62                                                                                                                                                                         NATIONAL BANK                              Media
63
     2019-06-20   8484 FED   2116899     0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY   6496        FIRSTENERGY CONCENTRATION   4222700171JO    7284503310 GENERATION      65 E STATE ST
64                                              NA                                                                SERVICE CO  ACCT                                       NOW INC         STE 2540
65
     2019-06-21   2892 C2U   1363337 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Inv 6492        044000024    THE           COLUMBUS, OH            4091 Strategic
                                                                       STE 2540        43215                                                                               HUNTINGTON                                 Media
66                                                                                                                                                                         NATIONAL BANK                              Placement
67
     2019-06-21   2992 C2U    616506 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Direct Mail     044000024    THE           COLUMBUS, OH            9192 JPL &
                                                                       STE 2540        43215                                                                               HUNTINGTON                                 Associates
68                                                                                                                                                                         NATIONAL BANK                              LLC
69

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      2019-06-28   8321 C2U    46712 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        INV 6506       044000024     THE           COLUMBUS, OH               4091 Strategic
                                                                       STE 2540        43215                                                                           HUNTINGTON                                    Media
70                                                                                                                                                                     NATIONAL BANK                                 Placement
71
      2019-07-01   5546 C2U    60000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Monthly Retainer 044000024   THE           COLUMBUS, OH      0        9192 JPL &
                                                                       STE 2540        43215                                                                           HUNTINGTON                                    Associates
72                                                                                                                                                                     NATIONAL BANK                                 LLC
73
      2019-07-01   5513 C2U    20000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Monthly Retainer 044000037   JPMORGAN      COLUMBUS, OH          7262        Brooke Bodney
                                                                       STE 2540        43215                                                                           CHASE BANK,
74                                                                                                                                                                     NA
75
      2019-07-05   5610 C2U   367306 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Direct Mail    044000024     THE           COLUMBUS, OH               9192 JPL &
                                                                       STE 2540        43215                                                                           HUNTINGTON                                    Associates
76                                                                                                                                                                     NATIONAL BANK                                 LLC
77
      2019-07-05   9382 FED   1879457    0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY   5604   FIRSTENERGY 341 WHITE POND   2644100186JO   7284503310 GENERATION       65 E STATE ST
                                                NA                                                           SOLUTIONS   DRIVE                                      NOW INC          STE 2540
78                                                                                                           CORP.
79
      2019-07-08   3049 C2U   1300000 7284503310 GENERATION NOW INC    65 E STATE ST   COLUMBUS OH                                        INV 6513       044000024     THE           COLUMBUS, OH               4091 Strategic
                                                                       STE 2540        43215                                                                           HUNTINGTON                                    Media
80                                                                                                                                                                     NATIONAL BANK                                 Placement
81
      2019-07-17   8014 C2U   467060 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Direct Mail    044000024     THE           COLUMBUS, OH               9192 JPL &
                                                                       STE 2540        43215                                                                           HUNTINGTON                                    Associates
82                                                                                                                                                                     NATIONAL BANK                                 LLC
83
      2019-07-17   8245 C2U    19680 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        INV 6509       044000024     THE           COLUMBUS, OH               5517 The Strategy
                                                                       STE 2540        43215                                                                           HUNTINGTON                                    Group for
84                                                                                                                                                                     NATIONAL BANK                                 Media
85
      2019-07-23   8021 C2U    75000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     0407          WELLS FARGO   MINNEAPOLIS, MN         8172      Silver Bullet
86                                                                     STE 2540        43215                                                                           BANK, NA                                        Group, Inc.
87
      2019-07-23   8600 C2U    92500 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Ohio Poll      092901337     GLACIER BANK- MISSOULA, MT                 4929 Moore
                                                                       STE 2540        43215                                                                           FIRST SECURITY                                  Information,
88                                                                                                                                                                     DIV                                             Inc.
89
      2019-07-24   7827 C2U    50000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     026003379     AMALGAMATED NEW YORK CITY,          8996        Fieldworks,
90                                                                     STE 2540        43215                                                                           BANK        NY                                  LLC
91
      2019-07-29   6317 C2U   300000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Inv 6544       044000024     THE           COLUMBUS, OH               4091 Strategic
                                                                       STE 2540        43215                                                                           HUNTINGTON                                    Media
92                                                                                                                                                                     NATIONAL BANK                                 Placement
93
      2019-07-29 10285 C2U     20000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     072000326     JPMORGAN      DETROIT, MI            6081       Elite
                                                                       STE 2540        43215                                                                           CHASE BANK,                                     Campaigns,
94                                                                                                                                                                     NA                                              Inc.
95
      2019-07-29 10592 C2U     10000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     121201694     US BANK, NA   PORTLAND, OR                6929 National Voter
96                                                                     STE 2540        43215                                                                                                                          Outreach, Inc.
97
      2019-07-29 10847 C2U     40000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     121000248     WELLS FARGO   MINNEAPOLIS, MN         2786      Let The Voters
98                                                                     STE 2540        43215                                                                           BANK, NA                                        Decide, LLC
99
      2019-07-29   1872 C2U    30000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     044000024     THE           COLUMBUS, OH               4908 Ohio Petition
                                                                       STE 2540        43215                                                                           HUNTINGTON                                    Partners LLC
100                                                                                                                                                                    NATIONAL BANK
101
      2019-07-29 12165 C2U     20000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     121000248     WELLS FARGO   MINNEAPOLIS, MN         1772      In The Field,
102                                                                    STE 2540        43215                                                                           BANK, NA                                        Inc.
103
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      2019-07-29   1817 C2U     25000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       0959        BANK OF        555 CALIFORNIA             9703 Lincoln
                                                                        STE 2540        43215                                                                               AMERICA N.A    STREET                          Strategy
104                                                                                                                                                                                                                        Group, LLC
105
      2019-07-29 10386 C2U      10000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       0959        BANK OF        555 CALIFORNIA           1243 L&R Political
106                                                                     STE 2540        43215                                                                               AMERICA N.A    STREET                        Consultants
107
      2019-07-29 10623 C2U      36750 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       0407        WELLS FARGO    MINNEAPOLIS, MN       8172     Silver Bullet
108                                                                     STE 2540        43215                                                                               BANK, NA                                      Group, Inc.
109
      2019-07-29 12243 C2U      40000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       122016066   CITY NATIONAL LOS ANGELES, CA       5519      BH-AP
                                                                        STE 2540        43215                                                                               BANK                                          Petitioning
110                                                                                                                                                                                                                       Partners
111
      2019-07-29   1814 C2U     25000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       054001725   TD BANK, NA    WASHINGTON, DC       4441      Capitol
112                                                                     STE 2540        43215                                                                                                                             Advisors, LLC
113
      2019-07-29 10430 C2U      25000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       0959        BANK OF        555 CALIFORNIA           6315 National Ballot
114                                                                     STE 2540        43215                                                                               AMERICA N.A    STREET                        Access, Inc.
115
      2019-07-29 12200 C2U      25000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       7911936404 NATIONAL      5281 RIVER
                                                                        STE 2540        43215                                                                              PETITION MGMT RIDGE DR
116                                                                                                                                                                        INC
117
      2019-07-29 10762 C2U      20000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       123000220   US BANK, NA    PORTLAND, OR             2487 Triton Oregon,
118                                                                     STE 2540        43215                                                                                                                            LLC
119
      2019-07-30 11230 C2U      25000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       0407        WELLS FARGO    MINNEAPOLIS, MN       5503     AZ Petition
120                                                                     STE 2540        43215                                                                               BANK, NA                                      Partners
121
      2019-07-30 11891 C2U      15000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       121000248   WELLS FARGO    MINNEAPOLIS, MN       0572     Voter Direct
122                                                                     STE 2540        43215                                                                               BANK, NA
123
      2019-07-30 11315 C2U       2500 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       0407        WELLS FARGO    MINNEAPOLIS, MN       8003     Hiram H
124                                                                     STE 2540        43215                                                                               BANK, NA                                      Asmuth
125
      2019-07-30 11070 C2U      15000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       0407        WELLS FARGO    MINNEAPOLIS, MN       1261     Your Choice
126                                                                     STE 2540        43215                                                                               BANK, NA                                      Petitions, LLC
127
      2019-07-30 11421 C2U      10000 7903726847 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       7903540180 KEVIN LEE       4621 FORELAND
128                                                                     STE 2540        43215                                                                              OGLESBY         PL
129
      2019-08-02   3753 FED    734250     0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY   6496        FIRSTENERGY CONCENTRATION   1683300214JO     7284503310 GENERATION      65 E STATE ST
130                                              NA                                                                SERVICE CO  ACCT                                        NOW INC         STE 2540
131
      2019-08-05   2393 C2U     30000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Polling-#39938   054000056   NATIONAL       WASHINGTON, DC      8222       Public Opinion
                                                                        STE 2540        43215                                                                               CAPITAL BANK                                  Strategies, LLC
132                                                                                                                                                                         OF WASH
133
      2019-08-05   2343 C2U     20000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            FR July Retainer 044000037   JPMORGAN       COLUMBUS, OH         7262      Brooke Bodney
                                                                        STE 2540        43215                                                                               CHASE BANK,
134                                                                                                                                                                         NA
135
      2019-08-06   7344 C2U    750000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                            Referendum       026003379   AMALGAMATED NEW YORK CITY,         8996       Fieldworks,
136                                                                     STE 2540        43215                                                                               BANK        NY                                LLC
137
      2019-08-06   7390 C2U   42643.67 7903726847 GENERATION NOW INC    65 E STATE ST   COLUMBUS OH                                            Referendum       026003379   AMALGAMATED NEW YORK CITY,         8996       Fieldworks,
138                                                                     STE 2540        43215                                                                               BANK        NY                                LLC
139
      2019-08-07 10527 FED    4390000     0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY   6496        FIRSTENERGY CONCENTRATION   4445200219JO     7284503310 GENERATION      65 E STATE ST
140                                              NA                                                                SERVICE CO  ACCT                                        NOW INC         STE 2540
141




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      2019-08-08   4068 C2U   400000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                        Referendum     044000024     THE           COLUMBUS, OH             4415 17 Consulting
                                                                       STE 2540         43215                                                                           HUNTINGTON                                  Group
142                                                                                                                                                                     NATIONAL BANK
143
      2019-08-12   4366 C2U   3000000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                        Contribution   7928668255 OHIOANS FOR      1391 GRANDVIEW
                                                                       STE 2540         43215                                                                        ENERGY           AVE UNIT 12385
144                                                                                                                                                                  SECURIT
145
      2019-08-12   3608 C2U    75000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                        Monthly Retainer 044000024   THE           COLUMBUS, OH             9192 JPL &
                                                                       STE 2540         43215                                                                           HUNTINGTON                                  Associates
146                                                                                                                                                                     NATIONAL BANK                               LLC
147
      2019-08-12   4366 C2U   3000000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                        Contribution   7928668255 OHIOANS FOR      1391 GRANDVIEW
                                                                       STE 2540         43215                                                                        ENERGY           AVE UNIT 12385
148                                                                                                                                                                  SECURIT
149
      2019-08-14 11714 BLT    1180400 7928668255 OHIOANS FOR ENERGY    1391             COLUMBUS OH                                        RTL028         044000024     THE           COLUMBUS, OH             4091 STRATEGIC
                                                 SECURIT               GRANDVIEW        43212                                              \4685785                     HUNTINGTON                                  MEDIA
                                                                       AVE UNIT 12385                                                                                   NATIONAL BANK                               PLACEMENT
150                                                                                                                                                                                                                 INC
151
      2019-08-14   2944 C2U   400000 7903726847 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                        Contribution   7928668255 OHIOANS FOR      1391 GRANDVIEW
                                                                       STE 2540         43215                                                                        ENERGY           AVE UNIT 12385
152                                                                                                                                                                  SECURIT
153
      2019-08-14 11639 BLT    2200000 7928668255 OHIOANS FOR ENERGY    1391             COLUMBUS OH                                        RTL028         044000024     THE           COLUMBUS, OH             1219 CONSTANT
                                                 SECURIT               GRANDVIEW        43212                                              \4685746                     HUNTINGTON                                  CONTENT CO
154                                                                    AVE UNIT 12385                                                                                   NATIONAL BANK
155
      2019-08-14   3201 FED   300000     0024   THE HUNTINGTON         COLUMBUS, OH                     4091   STRATEGIC   THE STRATEGY    2019081400002 7284503310 GENERATION        65 E STATE ST
                                                NATIONAL BANK                                                  MEDIA       GROUP FOR       001                      NOW INC           STE 2540
156                                                                                                                        MEDIA, INC
157
      2019-08-14   2944 C2U   400000 7903726847 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                        Contribution   7928668255 OHIOANS FOR      1391 GRANDVIEW
                                                                       STE 2540         43215                                                                        ENERGY           AVE UNIT 12385
158                                                                                                                                                                  SECURIT
159
      2019-08-21   3089 C2U 377925.48 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                        INV-001867     026003379     AMALGAMATED NEW YORK CITY,        8996       Fieldworks,
160                                                                    STE 2540         43215                                                                           BANK        NY                               LLC
161
      2019-08-22   7840 FED   653000     0021   JPMORGAN CHASE BANK,   NEW YORK, NY     NEW YORK, NY   6496    FIRSTENERGY CONCENTRATION   4097900234JO   7284503310 GENERATION       65 E STATE ST
162                                             NA                                                             SERVICE CO  ACCT                                      NOW INC          STE 2540
163
      2019-08-23   4979 C2U    25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                        Referendum     0407          WELLS FARGO   MINNEAPOLIS, MN       8453     GOCO
164                                                                    STE 2540         43215                                                                           BANK, NA                                     Consulting
165
      2019-08-23   5049 C2U   200000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                        Referendum     044000024     THE           COLUMBUS, OH             4415 17 Consulting
                                                                       STE 2540         43215                                                                           HUNTINGTON                                  Group
166                                                                                                                                                                     NATIONAL BANK
167
      2019-08-29   5455 FED   2003000    0021   JPMORGAN CHASE BANK,   NEW YORK, NY     NEW YORK, NY   6496    FIRSTENERGY CONCENTRATION   2863800241JO   7284503310 GENERATION       65 E STATE ST
168                                             NA                                                             SERVICE CO  ACCT                                      NOW INC          STE 2540
169
      2019-08-30   3470 C2U    20000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                        FR Retainer    044000037     JPMORGAN      COLUMBUS, OH         7262      Brooke Bodney
                                                                       STE 2540         43215                                                                           CHASE BANK,
170                                                                                                                                                                     NA
171
      2019-08-30   3367 C2U   1200000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                        Contribution   7928668255 OHIOANS FOR      1391 GRANDVIEW
                                                                       STE 2540         43215                                                                        ENERGY           AVE UNIT 12385
172                                                                                                                                                                  SECURIT
173
      2019-08-30   3355 C2U 377925.48 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                        Referendum     026003379     AMALGAMATED NEW YORK CITY,        8996       Fieldworks,
174                                                                    STE 2540         43215                                                                           BANK        NY                               LLC
175
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      2019-08-30   3432 C2U    75000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                   Monthly Retainer 044000024   THE           COLUMBUS, OH           9192 JPL &
                                                                       STE 2540         43215                                                                                      HUNTINGTON                                Associates
176                                                                                                                                                                                NATIONAL BANK                             LLC
177
      2019-08-30   3391 C2U   200000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                   Referendum     044000024     THE           COLUMBUS, OH           4415 17 Consulting
                                                                       STE 2540         43215                                                                                      HUNTINGTON                                Group
178                                                                                                                                                                                NATIONAL BANK
179
      2019-08-30   3367 C2U   1200000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                                   Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                       STE 2540         43215                                                                                   ENERGY          AVE UNIT 12385
180                                                                                                                                                                             SECURIT
181
      2019-09-03   8978 BLT   1200000 7928668255 OHIOANS FOR ENERGY    1391             COLUMBUS OH                                                   RTL028         044000024     THE           COLUMBUS, OH           4091 Strategic
                                                 SECURIT               GRANDVIEW        43212                                                         \4716495                     HUNTINGTON                                Media
182                                                                    AVE UNIT 12385                                                                                              NATIONAL BANK                             Placement Inc.
183
      2019-09-05   2979 FED   2403000    0021   JPMORGAN CHASE BANK,   NEW YORK, NY     NEW YORK, NY   6496        FIRSTENERGY CONCENTRATION          1607500248JO   7284503310 GENERATION      65 E STATE ST
184                                             NA                                                                 SERVICE CO  ACCT                                             NOW INC         STE 2540
185
      2019-09-06   3757 C2U   1220000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                                   Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                       STE 2540         43215                                                                                   ENERGY          AVE UNIT 12385
186                                                                                                                                                                             SECURIT
187
      2019-09-06   3700 C2U   200000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                   Referendum     044000024     THE           COLUMBUS, OH           4415 17 Consulting
                                                                       STE 2540         43215                                                                                      HUNTINGTON                                Group
188                                                                                                                                                                                NATIONAL BANK
189
      2019-09-06   3676 C2U 377925.48 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                                   Referendum     026003379     AMALGAMATED NEW YORK CITY,      8996       Fieldworks,
190                                                                    STE 2540         43215                                                                                      BANK        NY                             LLC
191
      2019-09-06   3757 C2U   1220000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                                   Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                       STE 2540         43215                                                                                   ENERGY          AVE UNIT 12385
192                                                                                                                                                                             SECURIT
193
      2019-09-10   4717 BLT   1100000 7928668255 OHIOANS FOR ENERGY    1391             COLUMBUS OH                                                   RTL028         044000024     THE           COLUMBUS, OH           4091 STRATEGIC
                                                 SECURIT               GRANDVIEW        43212                                                         \4733314                     HUNTINGTON                                MEDIA
                                                                       AVE UNIT 12385                                                                                              NATIONAL BANK                             PLACEMENT
194                                                                                                                                                                                                                          INC
195
      2019-09-12   4954 FED   2403000    0021   JPMORGAN CHASE BANK,   NEW YORK, NY     NEW YORK, NY   6496        FIRSTENERGY CONCENTRATION          3048300255JO   7284503310 GENERATION      65 E STATE ST
196                                             NA                                                                 SERVICE CO  ACCT                                             NOW INC         STE 2540
197
      2019-09-13   5292 C2U   150000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                   Referendum     044000024     THE           COLUMBUS, OH           4415 17 Consulting
                                                                       STE 2540         43215                                                                                      HUNTINGTON                                Group
198                                                                                                                                                                                NATIONAL BANK
199
      2019-09-13   5262 C2U 377925.48 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                                   Referendum     026003379     AMALGAMATED NEW YORK CITY,      8996       Fieldworks,
200                                                                    STE 2540         43215                                                                                      BANK        NY                             LLC
201
      2019-09-13   5303 C2U   927000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                   Direct Mail    044000024     THE           COLUMBUS, OH           9192 JPL &
                                                                       STE 2540         43215                                                                                      HUNTINGTON                                Associates
202                                                                                                                                                                                NATIONAL BANK                             LLC
203
      2019-09-13   5260 C2U   1100000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                                   Referendum     7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                       STE 2540         43215                                                                                   ENERGY          AVE UNIT 12385
204                                                                                                                                                                             SECURIT
205
      2019-09-13   5260 C2U   1100000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                                   Referendum     7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                       STE 2540         43215                                                                                   ENERGY          AVE UNIT 12385
206                                                                                                                                                                             SECURIT
207
      2019-09-19   6445 BLT   1100000 7928668255 OHIOANS FOR ENERGY    1391             COLUMBUS OH      8255      ANNA D             1354 HOLLYWOOD RTL028          044000024     THE           COLUMBUS, OH           4091 STRATEGIC
                                                 SECURIT               GRANDVIEW        43212                      LIPPINCOTT         PL             \4757344                      HUNTINGTON                                MEDIA
208                                                                    AVE UNIT 12385                                                                                              NATIONAL BANK                             PLACEMENT
209

                                                                                                       Classification: Internal Use
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      2019-09-19   4172 FED   4695000    0021   JPMORGAN CHASE BANK,   NEW YORK, NY    NEW YORK, NY   6496   FIRSTENERGY CONCENTRATION    2464200262JO   7284503310 GENERATION        65 E STATE ST
210                                             NA                                                           SERVICE CO  ACCT                                       NOW INC           STE 2540
211
      2019-09-20   3405 C2U   2400000 7284503310 GENERATION NOW INC    65 E STATE ST   COLUMBUS OH                                        Contribution   7928668255 OHIOANS FOR       1391 GRANDVIEW
                                                                       STE 2540        43215                                                                        ENERGY            AVE UNIT 12385
212                                                                                                                                                                 SECURIT
213
      2019-09-20   3323 C2U   150000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     044000024   THE           COLUMBUS, OH                4415 17 Consulting
                                                                       STE 2540        43215                                                                         HUNTINGTON                                     Group
214                                                                                                                                                                  NATIONAL BANK
215
      2019-09-20   3374 C2U 770161.76 7284503310 GENERATION NOW INC    65 E STATE ST   COLUMBUS OH                                        Referendum     026003379   AMALGAMATED NEW YORK CITY,           8996       Fieldworks,
216                                                                    STE 2540        43215                                                                         BANK        NY                                  LLC
217
      2019-09-20 10668 BLT    150000 7928668255 OHIOANS FOR ENERGY     1391            COLUMBUS OH                                        RTL028         0407        WELLS FARGO      MINNEAPOLIS, MN       2210     Voter to Voter
218                                             SECURIT                GRANDVIEW       43212                                              \4762166                   BANK, NA                                        LLC
219
      2019-09-20   3405 C2U   2400000 7284503310 GENERATION NOW INC    65 E STATE ST   COLUMBUS OH                                        Contribution   7928668255 OHIOANS FOR       1391 GRANDVIEW
                                                                       STE 2540        43215                                                                        ENERGY            AVE UNIT 12385
220                                                                                                                                                                 SECURIT
221
      2019-09-24   8754 C2U    15000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     0407        WELLS FARGO      MINNEAPOLIS, MN       1391     Let the Voters
222                                                                    STE 2540        43215                                                                         BANK, NA                                        Decide, LLC
223
      2019-09-24   8982 C2U    10000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     241070417   CITIZENS BANK, CLEVELAND, OH          5548      Nicholas
                                                                       STE 2540        43215                                                                         NATIONAL                                        Sabbagh
224                                                                                                                                                                  ASSOCIATION
225
      2019-09-24   8915 C2U    20000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     0959        BANK OF          555 CALIFORNIA            9169 Voter
226                                                                    STE 2540        43215                                                                         AMERICA N.A      STREET                         Approved, LLC
227
      2019-09-24   8857 C2U    15000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     0407        WELLS FARGO      MINNEAPOLIS, MN       9416     Griffin
                                                                       STE 2540        43215                                                                         BANK, NA                                        Consulting
228                                                                                                                                                                                                                  Services
229
      2019-09-25 11816 C2U     10000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     021000021   JPMORGAN         NEW YORK, NY         1855      Fortitude
                                                                       STE 2540        43215                                                                         CHASE BANK,                                     Campaigns,
230                                                                                                                                                                  NA                                              LLC
231
      2019-09-25 12135 C2U      7500 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     026009593   BANK OF          555 CALIFORNIA            3926 Constitutional
232                                                                    STE 2540        43215                                                                         AMERICA N.A      STREET                         Campaigns
233
      2019-09-25   9453 BLT   150000 7928668255 OHIOANS FOR ENERGY     1391            COLUMBUS OH    8255   ANNA D       1354 HOLLYWOOD RTL028          0407        WELLS FARGO      MINNEAPOLIS, MN       2210     VOTER TO
234                                             SECURIT                GRANDVIEW       43212                 LIPPINCOTT   PL             \4777208                    BANK, NA                                        VOTER, LLC
235
      2019-09-25 11865 C2U     10000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     072000326   JPMORGAN         DETROIT, MI          1287      Ballot Works
                                                                       STE 2540        43215                                                                         CHASE BANK,
236                                                                                                                                                                  NA
237
      2019-09-25 11777 C2U      5000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     267084131   JPMORGAN         BEVERLY HILLS,       3653      David Saddler
                                                                       STE 2540        43215                                                                         CHASE BANK,      CA
238                                                                                                                                                                  NA
239
      2019-09-25 12016 C2U     15000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     121000358   BANK OF          SAN FRANCISCO,             3057 Discovery
                                                                       STE 2540        43215                                                                         AMERICA, N.A.,   CA                              Petition
                                                                                                                                                                     CA                                               Management
240                                                                                                                                                                                                                   Co
241
      2019-09-25 12062 C2U      7500 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     121000248   WELLS FARGO      MINNEAPOLIS, MN       1188     Clear Choice
242                                                                    STE 2540        43215                                                                         BANK, NA                                        Ballot Access
243
      2019-09-25 11728 C2U     20000 7284503310 GENERATION NOW INC     65 E STATE ST   COLUMBUS OH                                        Referendum     121000248   WELLS FARGO      MINNEAPOLIS, MN       8025     Arizona
                                                                       STE 2540        43215                                                                         BANK, NA                                        Petition
244                                                                                                                                                                                                                  Management
245
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      2019-09-25 12522 FED       7455     9593   BANK OF AMERICA N.A    555 CALIFORNIA SAN                                BANK OF          WIRE TRANSFER   2019092500469 7284503310 GENERATION      65 E STATE ST                  ORIG WIRE
246                                                                     STREET         FRANCISCO CA                       AMERICA          OPERATIONS      214                      NOW INC         STE 2540                       0925-12135
247
      2019-09-25 12880 FED      19950     0248   WELLS FARGO BANK, NA   MINNEAPOLIS,     MINNEAPOLIS,   ID/9/AC       0274 WF EXC RTN      MAC P6101-081   2019092500173 7284503310 GENERATION      65 E STATE ST                  ORIG WIRE
                                                                        MN               MN                                TO SNDR 721                     475                      NOW INC         STE 2540                       0925-11728
248                                                                                                                        WIP
249
      2019-09-26   3537 C2U    700000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Contribution   7928668255 OHIOANS FOR    1391 GRANDVIEW
                                                                        STE 2540         43215                                                                                       ENERGY         AVE UNIT 12385
250                                                                                                                                                                                  SECURIT
251
      2019-09-26 10189 C2U      25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     0959        BANK OF       555 CALIFORNIA            0348 Marasigan
252                                                                     STE 2540         43215                                                                                        AMERICA N.A   STREET                         McCoy, LLC
253
      2019-09-26   7098 BLT    700000 7928668255 OHIOANS FOR ENERGY     1391             COLUMBUS OH                                                       RTL028         0407        WELLS FARGO   MINNEAPOLIS, MN       2210     VOTER TO
254                                              SECURIT                GRANDVIEW        43212                                                             \4780542                   BANK, NA                                     VOTER, LLC
255
      2019-09-26 10111 C2U      25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     072000326   JPMORGAN      DETROIT, MI          5430      DRW
                                                                        STE 2540         43215                                                                                        CHASE BANK,                                  Campaigns
256                                                                                                                                                                                   NA
257
      2019-09-26   3537 C2U    700000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Contribution   7928668255 OHIOANS FOR    1391 GRANDVIEW
                                                                        STE 2540         43215                                                                                       ENERGY         AVE UNIT 12385
258                                                                                                                                                                                  SECURIT
259
      2019-09-26   4221 FED   2445000 0   0021   JPMORGAN CHASE BANK,   NEW YORK, NY     NEW YORK, NY        6496         FIRSTENERGY CONCENTRATION        2569000269JO   7284503310 GENERATION     65 E STATE ST
260                                              NA                                                                       SERVICE CO  ACCT                                           NOW INC        STE 2540
261
      2019-09-27 12104 BLT     700000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH          3310        JEFFREY          2248 BUCKLEY RD RTL028         7928668255 OHIOANS FOR    1391 GRANDVIEW
                                                                        STE 2540         43215                            LONGSTRETH                       \4784463                  ENERGY         AVE UNIT 12385
262                                                                                                                                                                                  SECURIT
263
      2019-09-27 10615 C2U     100000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     044000024   THE           COLUMBUS, OH             4415 17 Consulting
                                                                        STE 2540         43215                                                                                        HUNTINGTON                                  Group
264                                                                                                                                                                                   NATIONAL BANK
265
      2019-09-27 10589 C2U 770161.76 7284503310 GENERATION NOW INC      65 E STATE ST    COLUMBUS OH                                                       Referendum     026003379   AMALGAMATED NEW YORK CITY,        8996       Fieldworks,
266                                                                     STE 2540         43215                                                                                        BANK        NY                               LLC
267
      2019-09-27 12432 C2U       5000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     044000024   THE           COLUMBUS, OH             5414 Vanguard Field
                                                                        STE 2540         43215                                                                                        HUNTINGTON                                  Strategies
268                                                                                                                                                                                   NATIONAL BANK
269
      2019-09-27 11642 BLT     600000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH          3310        JEFFREY          2248 BUCKLEY RD RTL028         0002        JPMORGAN      NEW YORK, NY         8125      AMERICAN
                                                                        STE 2540         43215                            LONGSTRETH                       \4784522                   CHASE BANK,                                  FEDERATION
                                                                                                                                                                                      NA                                           OF LABOR
270                                                                                                                                                                                                                                OHIO
271
      2019-09-27 12104 BLT     700000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH          3310        JEFFREY          2248 BUCKLEY RD RTL028         7928668255 OHIOANS FOR    1391 GRANDVIEW
                                                                        STE 2540         43215                            LONGSTRETH                       \4784463                  ENERGY         AVE UNIT 12385
272                                                                                                                                                                                  SECURIT
273
      2019-09-30 14698 C2U      20000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     0407        WELLS FARGO   MINNEAPOLIS, MN       8025     Arizona
                                                                        STE 2540         43215                                                                                        BANK, NA                                     Petition
274                                                                                                                                                                                                                                Management
275
      2019-09-30 14819 C2U      30000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     0959        BANK OF       555 CALIFORNIA            1096 Emerald
276                                                                     STE 2540         43215                                                                                        AMERICA N.A   STREET                         Ambassadors
277
      2019-09-30 14759 BLT    2200000 7928668255 OHIOANS FOR ENERGY     1391             COLUMBUS OH                                                       RTL028         044000024   THE           COLUMBUS, OH             4045 CONSTANT
                                                 SECURIT                GRANDVIEW        43212                                                             \4789941                   HUNTINGTON                                  CONTENT CO
278                                                                     AVE UNIT 12385                                                                                                NATIONAL BANK
279



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      2019-09-30   3825 C2U   75000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Monthly Retainer 044000024   THE           COLUMBUS, OH              9192 JPL &
                                                                     STE 2540         43215                                                                         HUNTINGTON                                   Associates
280                                                                                                                                                                 NATIONAL BANK                                LLC
281
      2019-09-30 14762 C2U    30000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Referendum     111906271     FIRST NATIONAL KILLEEN, TX          8565      Renegade
                                                                     STE 2540         43215                                                                         BANK TEXAS                                    Public Affairs
282
283
      2019-09-30   3859 C2U   20000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      FR Retainer    044000037     JPMORGAN       COLUMBUS, OH         7262      Brooke Bodney
                                                                     STE 2540         43215                                                                         CHASE BANK,
284                                                                                                                                                                 NA
285
      2019-09-30   9273 C2U   700000 7903726847 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                      Contribution   7928668255 OHIOANS FOR       1391 GRANDVIEW
                                                                     STE 2540         43215                                                                      ENERGY            AVE UNIT 12385
286                                                                                                                                                              SECURIT
287
      2019-09-30 13955 BLT    700000 7928668255 OHIOANS FOR ENERGY   1391             COLUMBUS OH                                      RTL028         044000024     THE           COLUMBUS, OH               4091 STRATEGIC
                                                SECURIT              GRANDVIEW        43212                                            \4786227                     HUNTINGTON                                    MEDIA
                                                                     AVE UNIT 12385                                                                                 NATIONAL BANK                                 PLACEMENT
288                                                                                                                                                                                                               INC
289
      2019-09-30   4981 C2U   500000 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                      Contribution   0002          JPMORGAN       NEW YORK, NY         8125      American
                                                                     STE 2540         43215                                                                         CHASE BANK,                                   Federation of
290                                                                                                                                                                 NA                                            Labor Ohio
291
      2019-09-30 15087 C2U     7500 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Referendum     107005047     FIRSTBANK      LAKEWOOD, CO         2993      Blue Pacific
292                                                                  STE 2540         43215                                                                                                                       Holdings
293
      2019-09-30   9273 C2U   700000 7903726847 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                      Contribution   7928668255 OHIOANS FOR       1391 GRANDVIEW
                                                                     STE 2540         43215                                                                      ENERGY            AVE UNIT 12385
294                                                                                                                                                              SECURIT
295
      2019-10-01   4506 C2U   25000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Referendum     031101266     TD BANK, NA    WILMINGTON, DE       2124      Darrius Young
296                                                                  STE 2540         43215
297
      2019-10-01   4567 C2U    7500 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Referendum     0959          BANK OF        555 CALIFORNIA            3926 Joshua P.J.
298                                                                  STE 2540         43215                                                                         AMERICA N.A    STREET                         Visga
299
      2019-10-01   4618 C2U   30000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Referendum     122100024     JPMORGAN       PHOENIX, AZ          8899      La Machine
                                                                     STE 2540         43215                                                                         CHASE BANK,                                   Field
                                                                                                                                                                    NA                                            Operations,
300                                                                                                                                                                                                               LLC
301
      2019-10-01   4653 C2U    5000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Referendum     062005690     REGIONS BANK BIRMINGHAM, AL         5676      Var Group,
302                                                                  STE 2540         43215                                                                                                                       LLC
303
      2019-10-01 14800 FED    24960     1266   TD BANK, NA           WILMINGTON,                    7500   FEDERAL   151 CORLEY MILL   01D2B74A1C00 7284503310 GENERATION          65 E STATE ST                  ORIG WIRE
                                                                     DE                                    RESERVE   ROAD              1202                    NOW INC             STE 2540                       1001-4506
304                                                                                                        BANK
305
      2019-10-02   7341 C2U   190000 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                      Contribution   0002          JPMORGAN       NEW YORK, NY         8125      American
                                                                     STE 2540         43215                                                                         CHASE BANK,                                   Federation of
306                                                                                                                                                                 NA                                            Labor Ohio
307
      2019-10-03   8958 C2U    2500 7928668255 OHIOANS FOR ENERGY    1391             COLUMBUS OH                                      NNN019100301 044000024       THE           COLUMBUS, OH              5517 The Strategy
                                               SECURIT               GRANDVIEW        43212                                            0129                         HUNTINGTON                                   Group for
308                                                                  AVE UNIT 12385                                                                                 NATIONAL BANK                                Media
309
      2019-10-03 10788 C2U    10000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Referendum     121000248     WELLS FARGO    MINNEAPOLIS, MN       0091     CapCor
310                                                                  STE 2540         43215                                                                         BANK, NA                                      Strategies
311
      2019-10-03   9995 C2U   30000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Referendum     102000924     BANK OF        DENVER, CO         5981        Black Diamond
                                                                     STE 2540         43215                                                                         DENVER                                        Outreach LLC
312
313
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      2019-10-03   9871 C2U     10000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     122100024   JPMORGAN       PHOENIX, AZ         9155      Arizona
                                                                        STE 2540         43215                                                                                        CHASE BANK,                                  Grassroots
314                                                                                                                                                                                   NA                                           Advocates
315
      2019-10-03   9912 C2U      5000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     0002        JPMORGAN       NEW YORK, NY        1855      Fortitude
                                                                        STE 2540         43215                                                                                        CHASE BANK,                                  Campaigns,
316                                                                                                                                                                                   NA                                           LLC
317
      2019-10-03   9765 C2U     25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     031101266   TD BANK, NA    WILMINGTON, DE      2124      Darius Donnie
318                                                                     STE 2540         43215                                                                                                                                     Gibson
319
      2019-10-03 10117 C2U      25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     323371076   BANNER BANK    SPOKANE, WA         8289      Judith
320                                                                     STE 2540         43215                                                                                                                                     Courchaine
321
      2019-10-03   5867 C2U    825000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                        STE 2540         43215                                                                                       ENERGY          AVE UNIT 12385
322                                                                                                                                                                                  SECURIT
323
      2019-10-03 10670 C2U      25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     101000695   UMB BANK, N.A. KANSAS CITY, MO     9183      Blitz
                                                                        STE 2540         43215                                                                                                                                     Canvassing
324                                                                                                                                                                                                                                LLC
325
      2019-10-03 10069 C2U       5000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     102001017   JPMORGAN       DENVER, CO          5932      William Scott
                                                                        STE 2540         43215                                                                                        CHASE BANK,                                  Howard
326                                                                                                                                                                                   NA
327
      2019-10-03 10164 C2U      40000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     102001017   JPMORGAN       DENVER, CO          3550      Taylor Petition
                                                                        STE 2540         43215                                                                                        CHASE BANK,                                  Management
328                                                                                                                                                                                   NA                                           LLC
329
      2019-10-03   5867 C2U    825000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                        STE 2540         43215                                                                                       ENERGY          AVE UNIT 12385
330                                                                                                                                                                                  SECURIT
331
      2019-10-03 11990 FED       9950     0248   WELLS FARGO BANK, NA   MINNEAPOLIS,     MINNEAPOLIS,   ID/9/AC       0274 WF EXC RTN      MAC P6101-081   2019100300152 7284503310 GENERATION       65 E STATE ST                 ORIG WIRE
                                                                        MN               MN                                TO SNDR 721                     206                      NOW INC          STE 2540                      1003-10788
332                                                                                                                        WIP
333
      2019-10-03   3650 FED   4160000 0   0021   JPMORGAN CHASE BANK,   NEW YORK, NY     NEW YORK, NY        6496         FIRSTENERGY CONCENTRATION        2470600276JO   7284503310 GENERATION      65 E STATE ST
334                                              NA                                                                       SERVICE CO  ACCT                                           NOW INC         STE 2540
335
      2019-10-04   2701 C2U 770161.76 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     026003379   AMALGAMATED NEW YORK CITY,        8996       Fieldworks,
336                                                                     STE 2540         43215                                                                                        BANK        NY                               LLC
337
      2019-10-04   2633 C2U    100000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     044000024   THE           COLUMBUS, OH             4415 17 Consulting
                                                                        STE 2540         43215                                                                                        HUNTINGTON                                  Group
338                                                                                                                                                                                   NATIONAL BANK
339
      2019-10-04   2922 C2U    160000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                        STE 2540         43215                                                                                       ENERGY          AVE UNIT 12385
340                                                                                                                                                                                  SECURIT
341
      2019-10-04   8012 BLT    824590 7928668255 OHIOANS FOR ENERGY     1391             COLUMBUS OH                                                       RTL028         044000024   THE           COLUMBUS, OH             4091 Strategic
                                                 SECURIT                GRANDVIEW        43212                                                             \4802077                   HUNTINGTON                                  Media
342                                                                     AVE UNIT 12385                                                                                                NATIONAL BANK                               Placement Inc
343
      2019-10-04   3104 C2U     10000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Referendum     255071981   CAPITAL ONE,   LAUREL, MD          4953      Canvass
344                                                                     STE 2540         43215                                                                                        NA                                           America, LLC
345
      2019-10-04   2588 C2U   1300000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                       Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                        STE 2540         43215                                                                                       ENERGY          AVE UNIT 12385
346                                                                                                                                                                                  SECURIT
347



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      2019-10-04   8379 C2U   150000 7928668255 OHIOANS FOR ENERGY     1391             COLUMBUS OH                                       NNN019100400 044000024     THE           COLUMBUS, OH              3910 Ohio Outdoor
                                                SECURIT                GRANDVIEW        43212                                             6612                       HUNTINGTON                                   Advertising
348                                                                    AVE UNIT 12385                                                                                NATIONAL BANK                                LLC
349
      2019-10-04   8011 BLT   1310000 7928668255 OHIOANS FOR ENERGY    1391             COLUMBUS OH                                       RTL028         0407        WELLS FARGO    MINNEAPOLIS, MN      2210      Voter-to-Votter
350                                              SECURIT               GRANDVIEW        43212                                             \4802057                   BANK, NA                                      LLC
351
      2019-10-04   2588 C2U   1300000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY          AVE UNIT 12385
352                                                                                                                                                                 SECURIT
353
      2019-10-04   2922 C2U   160000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY          AVE UNIT 12385
354                                                                                                                                                                 SECURIT
355
      2019-10-07   9134 C2U    10000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     0002        JPMORGAN       NEW YORK, NY         6307      Accelevate
                                                                       STE 2540         43215                                                                        CHASE BANK,                                   2020 LLC
356                                                                                                                                                                  NA
357
      2019-10-07   9445 C2U     7500 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     107005953   CITYWIDE       DENVER, CO           6352      Olson
                                                                       STE 2540         43215                                                                        BANKS                                         Strategies and
358                                                                                                                                                                                                                Advertising, I
359
      2019-10-07   9389 C2U    15000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     0407        WELLS FARGO    MINNEAPOLIS, MN      0215      John Burkett
360                                                                    STE 2540         43215                                                                        BANK, NA
361
      2019-10-07   9204 C2U    25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     0002        JPMORGAN       NEW YORK, NY         8013      Direct Contact
                                                                       STE 2540         43215                                                                        CHASE BANK,                                   LLC
362                                                                                                                                                                  NA
363
      2019-10-07   9333 C2U    25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     0407        WELLS FARGO    MINNEAPOLIS, MN      5803      The La Jolla
                                                                       STE 2540         43215                                                                        BANK, NA                                      Group
364                                                                                                                                                                                                                Consulting
365
      2019-10-08   8756 C2U   1700000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Referendum     7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY          AVE UNIT 12385
366                                                                                                                                                                 SECURIT
367
      2019-10-08   9911 BLT    50000 7928668255 OHIOANS FOR ENERGY     1391             COLUMBUS OH                                       RTL028         026009593   BANK OF        555 CALIFORNIA            9703 Lincoln
                                                SECURIT                GRANDVIEW        43212                                             \4809445                   AMERICA N.A    STREET                         Strategy Group
368                                                                    AVE UNIT 12385                                                                                                                              LLC
369
      2019-10-08   8831 C2U    58500 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     0959        BANK OF        555 CALIFORNIA            9703 Lincoln
                                                                       STE 2540         43215                                                                        AMERICA N.A    STREET                         Strategy Group
370
371
      2019-10-08   9175 FED   1600000    0021   JPMORGAN CHASE BANK,   NEW YORK, NY     NEW YORK, NY   6496   FIRSTENERGY CONCENTRATION   3951800281JO   7284503310 GENERATION      65 E STATE ST
372                                             NA                                                            SERVICE CO  ACCT                                      NOW INC         STE 2540
373
      2019-10-08   8756 C2U   1700000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Referendum     7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY          AVE UNIT 12385
374                                                                                                                                                                 SECURIT
375
      2019-10-09   3495 BLT   1600000 7928668255 OHIOANS FOR ENERGY    1391             COLUMBUS OH                                       RTL028         0407        WELLS FARGO    MINNEAPOLIS, MN      2210      Voter-to-Votter
376                                              SECURIT               GRANDVIEW        43212                                             \4809422                   BANK, NA                                      LLC
377
      2019-10-10 12265 C2U     25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     026009593   BANK OF        555 CALIFORNIA            2673 Go Big Media
378                                                                    STE 2540         43215                                                                        AMERICA N.A    STREET                         Inc.
379
      2019-10-10 12077 C2U     10000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     121000248   WELLS FARGO    MINNEAPOLIS, MN      0091      CapCor
380                                                                    STE 2540         43215                                                                        BANK, NA                                      Strategies
381
      2019-10-10 11951 C2U      7500 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     303085829   TINKER         TINKER AFB, OK            4752 Linda V
                                                                       STE 2540         43215                                                                        FEDERAL                                       Howard
382                                                                                                                                                                  CREDIT UNION
                                         Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 100 of 358 PAGEID #: 12248                                                                          12 of 16


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383
      2019-10-10 11750 C2U    2000000 7903726847 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Referendum     7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                      STE 2540         43215                                                                         ENERGY          AVE UNIT 12385
384                                                                                                                                                                  SECURIT
385
      2019-10-10 11833 C2U      20000 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Referendum     314977405   UNIVERSITY     AUSTIN, TX            6445     Aegis
                                                                      STE 2540         43215                                                                          FEDERAL                                       Advocacy
386                                                                                                                                                                   CREDIT UNION
387
      2019-10-10 12237 C2U    1350000 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                      STE 2540         43215                                                                         ENERGY          AVE UNIT 12385
388                                                                                                                                                                  SECURIT
389
      2019-10-10 11988 C2U       6750 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Referendum     044115809   WOODFOREST THE                       8635     Ronald
390                                                                   STE 2540         43215                                                                          NATIONAL BANK WOODLANDS, TX                   Gamble
391
      2019-10-10 12053 C2U      20000 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Referendum     265270413   IBERIABANK     LAFAYETTE, LA            1958 The Picard
392                                                                   STE 2540         43215                                                                                                                       Group LLC
393
      2019-10-10 11750 C2U    2000000 7903726847 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Referendum     7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                      STE 2540         43215                                                                         ENERGY          AVE UNIT 12385
394                                                                                                                                                                  SECURIT
395
      2019-10-10 12237 C2U    1350000 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                      STE 2540         43215                                                                         ENERGY          AVE UNIT 12385
396                                                                                                                                                                  SECURIT
397
      2019-10-10   8897 FED   10000000   0096   PNC BANK, NATIONAL    WILMINGTON,                      5348      PARTNERS     C/O CALFEE   19AAH391005L 7284503310 GENERATION        65 E STATE ST
                                                ASSOCIATION           DE                                         FOR          HALTER &     5J0V                    NOW INC           STE 2540
                                                                                                                 PROGRESS INC GRISWOLD
398
399
      2019-10-11   5366 C2U    100000 7928668255 OHIOANS FOR ENERGY   1391             COLUMBUS OH                                         NNN019101100 0959          BANK OF        555 CALIFORNIA            9703 Lincoln
                                                 SECURIT              GRANDVIEW        43212                                               4649                       AMERICA N.A    STREET                         Strategy
400                                                                   AVE UNIT 12385                                                                                                                                Group, LLC
401
      2019-10-11   5411 C2U 2472403.1 7928668255 OHIOANS FOR ENERGY   1391             COLUMBUS OH                                         NNN019101100 0407          WELLS FARGO    MINNEAPOLIS, MN       2210     Voter-to-Voter,
402                                              SECURIT              GRANDVIEW        43212                                               4712                       BANK, NA                                      LLC
403
      2019-10-11   4756 C2U    833090 7928668255 OHIOANS FOR ENERGY   1391             COLUMBUS OH                                         NNN019101100 044000024     THE           COLUMBUS, OH              4091 Strategic
                                                 SECURIT              GRANDVIEW        43212                                               3110                       HUNTINGTON                                   Media
404                                                                   AVE UNIT 12385                                                                                  NATIONAL BANK                                Placement Inc.
405
      2019-10-15   3803 C2U      6750 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Referendum     044115809   WOODFOREST THE                       8635     Ronald
406                                                                   STE 2540         43215                                                                          NATIONAL BANK WOODLANDS, TX                   Gamble
407
      2019-10-15 16901 C2U      20000 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Referendum     114000093   FROST BANK     SAN ANTONIO, TX      6499      Powell
                                                                      STE 2540         43215                                                                                                                        Strategic
                                                                                                                                                                                                                    Communication
408                                                                                                                                                                                                                 s LLC
409
      2019-10-15   4203 C2U     55000 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Referendum     265270413   IBERIABANK     LAFAYETTE, LA            8272 Southern
                                                                      STE 2540         43215                                                                                                                       Stragey Group
410                                                                                                                                                                                                                of Louisiana
411
      2019-10-15 16372 C2U      15000 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Referendum     121000248   WELLS FARGO    MINNEAPOLIS, MN       1020     Initiatives Plus
412                                                                   STE 2540         43215                                                                          BANK, NA
413
      2019-10-15 15249 C2U     190000 7284503310 GENERATION NOW INC   65 E STATE ST    COLUMBUS OH                                         Contribution   0002        JPMORGAN       NEW YORK, NY         8125      American
                                                                      STE 2540         43215                                                                          CHASE BANK,                                   Federation of
414                                                                                                                                                                   NA                                            Labor Ohio
      2019-10-15 15543 C2U    1500000 7928668255 OHIOANS FOR ENERGY   1391             COLUMBUS OH                                         NNN019101501 0407          WELLS FARGO    MINNEAPOLIS, MN       2210     Voter-to-Voter
415                                              SECURIT              GRANDVIEW        43212                                               1631                       BANK, NA                                      LLC
416


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      2019-10-15 16697 C2U     10000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     256074974   NAVY FEDERAL VIENNA, VA             7089      Joe Desilets
417                                                                    STE 2540         43215                                                                        CREDIT UNION
418
      2019-10-15 16931 C2U     15000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     103003632   BANCFIRST     OKLAHOMA CITY,        1424      Latham
                                                                       STE 2540         43215                                                                                      OK                              Consulting
419                                                                                                                                                                                                                Group LLC
420
      2019-10-15 15162 C2U    2500000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Contribution   7928668255 OHIOANS FOR    1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY         AVE UNIT 12385
421                                                                                                                                                                 SECURIT
422
      2019-10-15   3390 C2U 770161.76 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Referendum     026003379   AMALGAMATED NEW YORK CITY,        8996        Fieldworks,
423                                                                    STE 2540         43215                                                                        BANK        NY                                LLC
424
      2019-10-15 16547 C2U     25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     121000248   WELLS FARGO   MINNEAPOLIS, MN       6826      Primary
425                                                                    STE 2540         43215                                                                        BANK, NA                                      Strategies LLC
426
      2019-10-15   4410 C2U   120000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     044000024   THE           COLUMBUS, OH             4415 17 Consulting
                                                                       STE 2540         43215                                                                        HUNTINGTON                                  Group
427                                                                                                                                                                  NATIONAL BANK
428
      2019-10-15   3762 C2U    30000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     103003632   BANCFIRST     OKLAHOMA CITY,            424   Latham
                                                                       STE 2540         43215                                                                                      OK                              Consulting
429                                                                                                                                                                                                                Group LLC
430
      2019-10-15 16775 C2U     20000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     313087286   GULF COAST    PASADENA, TX       9224         The Yates
                                                                       STE 2540         43215                                                                        EDUCATORS                                     Company
431                                                                                                                                                                  FCU
432
      2019-10-15 16948 C2U      5000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     026009593   BANK OF       555 CALIFORNIA           62673 Go Big Media
433                                                                    STE 2540         43215                                                                        AMERICA N.A   STREET                         Inc.
434
      2019-10-15 15205 C2U     30750 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     0959        BANK OF       555 CALIFORNIA            9703 Lincoln
                                                                       STE 2540         43215                                                                        AMERICA N.A   STREET                         Strategy
435                                                                                                                                                                                                               Group, LLC
436
      2019-10-15 16480 C2U     10000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     026009593   BANK OF       555 CALIFORNIA            7333 TenTwenty5
437                                                                    STE 2540         43215                                                                        AMERICA N.A   STREET                         Inc
438
      2019-10-15 15485 C2U    510550 7928668255 OHIOANS FOR ENERGY     1391             COLUMBUS OH                                       NNN019101501 0959          BANK OF       555 CALIFORNIA             9703 Lincoln
                                                SECURIT                GRANDVIEW        43212                                             1566                       AMERICA N.A   STREET                          Strategy
439                                                                    AVE UNIT 12385                                                                                                                              Group, LLC
440
      2019-10-15 15162 C2U    2500000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Contribution   7928668255 OHIOANS FOR    1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY         AVE UNIT 12385
441                                                                                                                                                                 SECURIT
442
      2019-10-17 10735 C2U    2500000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Contribution   7928668255 OHIOANS FOR    1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY         AVE UNIT 12385
443                                                                                                                                                                 SECURIT
444
      2019-10-17   7503 FED   248000     0021   JPMORGAN CHASE BANK,   NEW YORK, NY     NEW YORK, NY   6496   FIRSTENERGY CONCENTRATION   3885700290JO   7284503310 GENERATION     65 E STATE ST
445                                             NA                                                            SERVICE CO  ACCT                                      NOW INC        STE 2540
446
      2019-10-17 10735 C2U    2500000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Contribution   7928668255 OHIOANS FOR    1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY         AVE UNIT 12385
447                                                                                                                                                                 SECURIT
448
      2019-10-18 11669 C2U      5000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                       Referendum     0002        JPMORGAN      NEW YORK, NY         3383       Vien Le
                                                                       STE 2540         43215                                                                        CHASE BANK,                                   Nguyen
449                                                                                                                                                                  NA
450
      2019-10-18   6038 C2U 2924385.4 7928668255 OHIOANS FOR ENERGY    1391             COLUMBUS OH                                       NNN019101800 0407          WELLS FARGO   MINNEAPOLIS, MN       2210      Voter-to-Voter
451                                              SECURIT               GRANDVIEW        43212                                             4411                       BANK, NA                                      LLC
452
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      2019-10-18   9777 C2U 770161.76 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                                    Referendum      026003379   AMALGAMATED NEW YORK CITY,        8996       Fieldworks,
453                                                                    STE 2540         43215                                                                                      BANK        NY                               LLC
454
      2019-10-18 11627 C2U     15000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                    Referendum      325070760   JPMORGAN      SEATTLE, WA          9992      Cascade
                                                                       STE 2540         43215                                                                                      CHASE BANK,                                  Consulting
455                                                                                                                                                                                NA                                           Services
456
      2019-10-18 11569 C2U     10000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                    Referendum      121000248   WELLS FARGO   MINNEAPOLIS, MN       1495     PSM Political
                                                                       STE 2540         43215                                                                                      BANK, NA                                     Consultants
457                                                                                                                                                                                                                             LLC
458
      2019-10-18   6107 C2U    27525 7928668255 OHIOANS FOR ENERGY     1391             COLUMBUS OH                                                    NNN019101800 0959           BANK OF       555 CALIFORNIA             9703 Lincoln
                                                SECURIT                GRANDVIEW        43212                                                          4466                        AMERICA N.A   STREET                          Strategy
459                                                                    AVE UNIT 12385                                                                                                                                            Group, LLC
460
      2019-10-18   7334 FED    27525     9593   BANK OF AMERICA N.A    555 CALIFORNIA SAN                    9703   LINCOLN           740 S MILL AVE   2019101800361 7928668255 OHIOANS FOR      1391 GRANDVIEW
                                                                       STREET         FRANCISCO CA                  STRATEGY          STE 200          239                      ENERGY           AVE UNIT 12385
461                                                                                   US                            GROUP LLC                                                   SECURIT
462
      2019-10-18 12161 FED     15000     0021   JPMORGAN CHASE BANK,   NEW YORK, NY     NEW YORK, NY     3310       GENERATION        65 E STATE ST STE 2497000291EZ   7284503310 GENERATION     65 E STATE ST                  ORIG WIRE
463                                             NA                                                                  NOW INC           2540                                        NOW INC        STE 2540                       1018-11627
464
      2019-10-22   5893 FED   3000000    0096   PNC BANK, NATIONAL     WILMINGTON,                       5348       PARTNERS     1405 EAST SIXTH       19AMG1831B6S 7284503310 GENERATION        65 E STATE ST
                                                ASSOCIATION            DE                                           FOR          ST                    4FSA                    NOW INC           STE 2540
                                                                                                                    PROGRESS INC
465
466
      2019-10-23   3947 C2U    25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                    Referendum      031101266   TD BANK, NA   WILMINGTON, DE       2124      Darius Donnie
467                                                                    STE 2540         43215                                                                                                                                   Gibson
468
      2019-10-23   3917 C2U    25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                    Referendum      323371076   BANNER BANK   SPOKANE, WA          8289      Judith
469                                                                    STE 2540         43215                                                                                                                                   Courchaine
470
      2019-10-23   3881 C2U    25000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                    Referendum      102001017   JPMORGAN      DENVER, CO           3550      Taylor Petition
                                                                       STE 2540         43215                                                                                      CHASE BANK,                                  Management
471                                                                                                                                                                                NA                                           LLC
472
      2019-10-23   3991 C2U    27525 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                    Referendum      0959        BANK OF       555 CALIFORNIA           19703 Lincoln
                                                                       STE 2540         43215                                                                                      AMERICA N.A   STREET                         Strategy
473                                                                                                                                                                                                                             Group, LLC
474
      2019-10-23   4073 C2U   150000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                    Contribution    7928668255 OHIOANS FOR    1391 GRANDVIEW
                                                                       STE 2540         43215                                                                                     ENERGY         AVE UNIT 12385
475                                                                                                                                                                               SECURIT
476
      2019-10-23   3842 C2U    15000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                    Referendum      325070760   JPMORGAN      SEATTLE, WA          9992      Jeff Harvey
                                                                       STE 2540         43215                                                                                      CHASE BANK,
477                                                                                                                                                                                NA
478
      2019-10-23   9882 C2U   192847 7928668255 OHIOANS FOR ENERGY     1391             COLUMBUS OH                                                    NNN019102300 0407           WELLS FARGO   MINNEAPOLIS, MN       2210     Voter-to-Voter
479                                             SECURIT                GRANDVIEW        43212                                                          9306                        BANK, NA
480
      2019-10-23   4073 C2U   150000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                    Contribution    7928668255 OHIOANS FOR    1391 GRANDVIEW
                                                                       STE 2540         43215                                                                                     ENERGY         AVE UNIT 12385
481                                                                                                                                                                               SECURIT
482
      2019-10-24   9613 C2U   2921000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                                    Mail            044000024   THE           COLUMBUS, OH             9192 JPL &
                                                                       STE 2540         43215                                                                                      HUNTINGTON                                  Associates
483                                                                                                                                                                                NATIONAL BANK                               LLC
484
      2019-11-04   2177 C2U    20000 7284503310 GENERATION NOW INC     65 E STATE ST    COLUMBUS OH                                                    FR Retainer     044000037   JPMORGAN      COLUMBUS, OH         7262      Brooke Bodney
                                                                       STE 2540         43215                                                                                      CHASE BANK,
485                                                                                                                                                                                NA
486


                                                                                                       Classification: Internal Use
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      2019-11-04   2190 C2U    100000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Monthly Retainer 044000024   THE           COLUMBUS, OH              9192 JPL &
                                                                       STE 2540         43215                                                                          HUNTINGTON                                   Associates
487                                                                                                                                                                    NATIONAL BANK                                LLC
488
      2019-11-05   7252 C2U   4166.66 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Monthly Retainer 042000013   US BANK, NA    CINCINNATI, OH            1589 Precise
                                                                       STE 2540         43215                                                                                                                        Communication
489                                                                                                                                                                                                                  s
490
      2019-11-05   8359 FED   4116.66     0013   US BANK, NA           CINCINNATI, OH                 3310   GENERATION   65 E STATE ST STE 2019110500007 7284503310 GENERATION       65 E STATE ST                  ORIG WIRE
491                                                                                                          NOW INC      2540              252                      NOW INC          STE 2540                       1105-7252
492
      2019-11-12   4204 C2U     35000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Ohio Poll      054000056     NATIONAL       WASHINGTON, DC      8222       Public Opinion
                                                                       STE 2540         43215                                                                          CAPITAL BANK                                  Strategies, LLC
493                                                                                                                                                                    OF WASH
494
      2019-11-12   4233 C2U     17500 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Contribution   7928668255 OHIOANS FOR       1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY            AVE UNIT 12385
495                                                                                                                                                                 SECURIT
496
      2019-11-12   4233 C2U     17500 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Contribution   7928668255 OHIOANS FOR       1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY            AVE UNIT 12385
497                                                                                                                                                                 SECURIT
498
      2019-11-18   6989 C2U   40767.85 7928668255 OHIOANS FOR ENERGY   1391             COLUMBUS OH                                       NNN019111800 7282623649 MCTIGUE &           545 E TOWN ST
499                                               SECURIT              GRANDVIEW        43212                                             5664                    COLOMBO LLC
500
      2019-11-18   5828 C2U     54700 7928668255 OHIOANS FOR ENERGY    1391             COLUMBUS OH                                       NNN019111800 044000024       THE           COLUMBUS, OH              4091 Strategic
                                                 SECURIT               GRANDVIEW        43212                                             4601                         HUNTINGTON                                   Media
501                                                                    AVE UNIT 12385                                                                                  NATIONAL BANK                                Placement Inc.
502
      2019-11-18   4585 C2U     14000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Monthly Retainer 043306826   FIRST       INDIANA, PA              6094     JVA
                                                                       STE 2540         43215                                                                          COMMONWEALT                                   Campaigns
503                                                                                                                                                                    H BANK
504
      2019-11-18   4622 C2U    100000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Contribution   7928668255 OHIOANS FOR       1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY            AVE UNIT 12385
505                                                                                                                                                                 SECURIT
506
      2019-11-18   7259 C2U   4166.66 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Monthly Retainer 042000013   US BANK, NA    CINCINNATI, OH       1761      Cynthia Rees
507                                                                    STE 2540         43215
508
      2019-11-18   4622 C2U    100000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Contribution   7928668255 OHIOANS FOR       1391 GRANDVIEW
                                                                       STE 2540         43215                                                                       ENERGY            AVE UNIT 12385
509                                                                                                                                                                 SECURIT
510
      2019-11-22 10337 C2U      42000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       INV-40162      054000056     NATIONAL       WASHINGTON, DC      8222       Public Opinion
                                                                       STE 2540         43215                                                                          CAPITAL BANK                                  Strategies, LLC
511                                                                                                                                                                    OF WASH
512
      2019-11-26 10424 C2U      25000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Monthly Retainer 044000037   JPMORGAN       COLUMBUS, OH         7262      Brooke Bodney
                                                                       STE 2540         43215                                                                          CHASE BANK,
513                                                                                                                                                                    NA
514
      2019-11-26 10333 C2U       8884 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       INV 6617       044000024     THE           COLUMBUS, OH              4091 Strategic
                                                                       STE 2540         43215                                                                          HUNTINGTON                                   Media
515                                                                                                                                                                    NATIONAL BANK                                Placement
516
      2019-11-26 10368 C2U     100000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                       Monthly Retainer 044000024   THE           COLUMBUS, OH              9192 JPL &
                                                                       STE 2540         43215                                                                          HUNTINGTON                                   Associates
517                                                                                                                                                                    NATIONAL BANK                                LLC
518
      2019-11-27   4670 C2U      3000 7928668255 OHIOANS FOR ENERGY    1391             COLUMBUS OH                                       NNN019112700 044000024       THE           COLUMBUS, OH              5517 Embee Media
                                                 SECURIT               GRANDVIEW        43212                                             3798                         HUNTINGTON
519                                                                    AVE UNIT 12385                                                                                  NATIONAL BANK
520
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      2019-12-13   5983 C2U     25000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Referendum     0959        BANK OF        555 CALIFORNIA            0348 Marasigan
521                                                                    STE 2540         43215                                                                       AMERICA N.A    STREET                         McCoy, LLC
522
      2019-12-17   2371 C2U      7000 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Referendum     043306826   FIRST       INDIANA, PA              6094    JVA
                                                                       STE 2540         43215                                                                       COMMONWEALT                                  Campaigns
523                                                                                                                                                                 H BANK
524
      2019-12-23 10059 C2U      25000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Fundraising    044000037   JPMORGAN       COLUMBUS, OH         7262     Brooke Bodney
                                                                       STE 2540         43215                                                                       CHASE BANK,
525                                                                                                                                                                 NA
526
      2019-12-23 10143 C2U      27000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Reimbursement 044000024    THE           COLUMBUS, OH              9192 JPL &
                                                                       STE 2540         43215                                                                       HUNTINGTON                                   Associates
527                                                                                                                                                                 NATIONAL BANK                                LLC
528
      2019-12-23   4025 C2U   21623.56 7928668255 OHIOANS FOR ENERGY   1391             COLUMBUS OH                                      NNN019122300 044000024     THE           COLUMBUS, OH              7655 Isaac Wiles
                                                  SECURIT              GRANDVIEW        43212                                            2744                       HUNTINGTON                                   Burkholder &
529                                                                    AVE UNIT 12385                                                                               NATIONAL BANK                                Teetor LLC
530
      2019-12-27   2342 C2U    100000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Retainer       044000024   THE           COLUMBUS, OH              9192 JPL &
                                                                       STE 2540         43215                                                                       HUNTINGTON                                   Associates
531                                                                                                                                                                 NATIONAL BANK                                LLC
532
      2020-01-14   9830 C2U      3624 7284503310 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Inv 6636       044000024   THE           COLUMBUS, OH              4091 Strategic
                                                                       STE 2540         43215                                                                       HUNTINGTON                                   Media
533                                                                                                                                                                 NATIONAL BANK                                Placement
534
      2020-01-22 10053 C2U     510000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Contribution   042101679   FORCHT BANK,   LEXINGTON, KY       0540      Coalition for
                                                                       STE 2540         43215                                                                       NATIONAL                                     Growth &
535                                                                                                                                                                 ASSOCIATION                                  Opportunity
536
      2020-02-03   2026 C2U     25000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Fundraising    044000037   JPMORGAN       COLUMBUS, OH         7262     Brooke Bodney
                                                                       STE 2540         43215                                                                       CHASE BANK,
537                                                                                                                                                                 NA
538
      2020-02-03   1948 C2U    100000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Retainer       044000024   THE           COLUMBUS, OH              9192 JPL &
                                                                       STE 2540         43215                                                                       HUNTINGTON                                   Associates
539                                                                                                                                                                 NATIONAL BANK                                LLC
540
      2020-02-04   9571 C2U   52495.35 7928668255 OHIOANS FOR ENERGY   1391             COLUMBUS OH                                      NNN020020400 7282623649 MCTIGUE &         545 E TOWN ST
541                                               SECURIT              GRANDVIEW        43212                                            9259                    COLOMBO LLC
542
      2020-02-04   5651 C2U     40000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                       STE 2540         43215                                                                      ENERGY          AVE UNIT 12385
543                                                                                                                                                                SECURIT
544
      2020-02-04   5721 C2U    3862.5 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Legal          044000024   THE           COLUMBUS, OH              7655 Isaac Wiles
                                                                       STE 2540         43215                                                                       HUNTINGTON                                   Burkholder and
545                                                                                                                                                                 NATIONAL BANK                                Teetor
546
      2020-02-04   5651 C2U     40000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Contribution   7928668255 OHIOANS FOR     1391 GRANDVIEW
                                                                       STE 2540         43215                                                                      ENERGY          AVE UNIT 12385
547                                                                                                                                                                SECURIT
548
      2020-02-06   8068 C2U    500000 7903726847 GENERATION NOW INC    65 E STATE ST    COLUMBUS OH                                      Contribution   042101679   FORCHT BANK,   LEXINGTON, KY       0540      Coalition for
                                                                       STE 2540         43215                                                                       NATIONAL                                     Growth &
549                                                                                                                                                                 ASSOCIATION                                  Opportunity




                                                                                                      Classification: Internal Use
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                                                 DepositsintoGenerationNow,Inc.
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                                        FifthThirdBankAccountNumbersx3310andx6847
     DATE                                    PAYOR                            AMOUNT               DATE                           PAYOR                           AMOUNT
2/23/2017
3/16/2017
                WAYNEM.BOICH;CYNTHIABOICH
               FIRSTENERGYSERVICECO.
                                                                         $25,000.00
                                                                         $250,000.00
                                                                                                 5/2/2019
                                                                                                 5/7/2019
                                                                                                            55GREENMEADOWS
                                                                                                            FIRSTENERGYSERVICECO.
                                                                                                                                                            $25,000.00
                                                                                                                                                            $1,500,000.00
                                                                                                                                                                                       1 of 1
5/17/2017      FIRSTENERGYSERVICECO.                                   $250,000.00    5/15/2019   FIRSTENERGYSERVICECO.                         $2,500,000.00
8/10/2017      FIRSTENERGYSERVICECO.                                   $250,000.00    5/22/2019   FIRSTENERGYSERVICECO.                         $2,500,000.00
8/22/2017      THESCHROERGROUP,INC.                                   $10,000.00   5/29/2019   FIRSTENERGYSERVICECO.                         $1,500,000.00
10/27/2017     55GREENMEADOWS                                          $30,000.00   6/5/2019    FIRSTENERGYSERVICECO.                         $2,000,000.00
10/27/2017
11/3/2017
               NCPFINANCEOHIO,LLC
               PENNNATIONALGAMING,INC.
                                                                         $25,000.00
                                                                         $25,000.00
                                                                                                6/13/2019
                                                                                                6/17/2019
                                                                                                            FIRSTENERGYSERVICECO.
                                                                                                            REPUBLICBANK
                                                                                                                                                            $1,361,899.00
                                                                                                                                                            $5,000.00
                                                                                                                                                                                        16
12/5/2017       SUBURBANNURSING&MOBILEHOMES,INC.                    $100,000.00    6/20/2019   FIRSTENERGYSERVICECO.                         $2,116,899.00
12/8/2017      FIRSTENERGYSERVICECO.                                   $250,000.00    6/24/2019   IGMINVESTMENTS,LLC.                           $98,000.00
12/27/2017     EMPOWEROHIO,INC.                                        $100,000.00     7/1/2019   GREENMEADOWS                                   $35,000.00
1/11/2018      BYERS,MINTON&ASSOCIATES,LLC.                          $10,000.00    7/1/2019   EMPOWEROHIO,INC.                              $100,000.00
1/19/2018      55GREENMEADOWS                                          $20,000.00   7/1/2019    POLITICALEDUCATIONPATTERNS                    $20,000.00
3/15/2018      PARTNERSFORPROGRESSINC.                                $300,000.00     7/5/2019   FIRSTENERGYSOLUTIONSCORP.                     $1,879,457.00
3/30/2018      UNITEDBROTHERHOODOFCARPENTERSANDJOINERSOFAMERICA   $210,000.00     8/2/2019   FIRSTENERGYSERVICECO.                         $734,250.00
4/3/2018       55GREENMEADOWS                                          $25,000.00   8/5/2019    EMPOWEROHIO,INC.                              $100,000.00
4/4/2018       OHIOAFLͲCIO                                              $175,000.00    8/7/2019    FIRSTENERGYSERVICECO.                         $4,390,000.00
4/5/2018       RESOURCEFUELSLLC                                        $250,000.00    8/14/2019   STRATEGICMEDIA;THESTRATEGYGROUPFORMEDIA   $300,000.00
4/6/2018       ACTOHIOFOUNDATION                                       $250,000.00    8/22/2019   FIRSTENERGYSERVICECO.                         $653,000.00
4/9/2018       POLITICALEDUCATIONPATTERNS                              $200,000.00    8/29/2019   FIRSTENERGYSERVICECO.                         $2,003,000.00
4/19/2018      JACKENTERTAINMENTLLC                                    $25,000.00   8/29/2019   POLITICALEDUCATIONPATTERNS                    $20,000.00
4/23/2018      JIMWALTON                                                $20,000.00    9/5/2019   FIRSTENERGYSERVICECO.                         $2,403,000.00
4/27/2018      DMPINVESTMENTSLLC                                       $10,000.00   9/12/2019   FIRSTENERGYSERVICECO.                         $2,403,000.00
4/27/2018      FINANCIALSERVICECENTERSOFOHIOLLC                     $10,000.00   9/13/2019   55GREENMEADOWS                                $50,000.00
5/1/2018       AT&T                                                      $5,000.00  9/19/2019   FIRSTENERGYSERVICECO.                         $4,695,000.00
5/1/2018       AT&T                                                      $10,000.00   9/25/2019   BANKOFAMERICA                                 $7,455.00
5/4/2018       PARTNERSFORPROGRESSINC.                                $100,000.00    9/25/2019   WFEXCRTNTOSNDR721WIP                      $19,950.00
5/7/2018       GULFPORTENERGYCORPORATION                               $10,000.00   9/26/2019   FIRSTENERGYSERVICECO.                         $2,445,000.00
6/22/2018      55GREENMEADOWS                                          $20,000.00   9/30/2019   JACKENTERTAINMENTLLC                          $50,000.00
7/3/2018       POLITICALEDUCATIONALPATTERNS                            $50,000.00   9/30/2019   PENNNATIONALGAMING,INC.                      $50,000.00
7/17/2018      INDIANACARPENTERSPOLITICALFUND                         $25,000.00   10/1/2019   FEDERALRESERVEBANK                            $24,960.00
8/8/2018       COALITIONFORGROWTH&OPPTY.INC                         $54,000.00   10/3/2019   FIRSTENERGYSERVICECO.                         $4,160,000.00
8/9/2018       55GREENMEADOWS                                          $20,000.00   10/3/2019   WFEXCRTNTOSNDR721WIP                      $9,950.00
8/16/2018      PARTNERSFORPROGRESSINC.                                $500,000.00    10/8/2019   FIRSTENERGYSERVICECO.                         $1,600,000.00
9/21/2018      WORKINGFORWORKINGAMERICAN                              $25,000.00  10/10/2019 CHARTERCOMMUNICATIONS                            $25,000.00
10/9/2018      55GREENMEADOWS                                          $10,000.00  10/10/2019 PARTNERSFORPROGRESSINC.                        $10,000,000.00
10/9/2018      MOLINAHEALTHCARE,INC.                                   $6,250.00 10/16/2019 AT&T                                              $40,000.00
10/9/2018      PENNNATIONALGAMING,INC.                                $50,000.00  10/16/2019 POLITICALEDUCATIONPATTERNS                      $20,000.00
10/16/2018     FIRSTENERGY                                               $400,000.00   10/17/2019 FIRSTENERGYSERVICECO.                           $248,000.00
10/19/2018     CHARTERCOMMUNICATIONS                                    $15,000.00  10/22/2019 PARTNERSFORPROGRESSINC.                        $3,000,000.00
10/19/2018     CHARTERCOMMUNICATIONS                                    $35,000.00   11/5/2019   MVP,LLC                                        $50,000.00
10/23/2018     55GREENMEADOWS                                          $10,000.00  11/15/2019 55GREENMEADOWS                                  $60,000.00
10/23/2018     HEALTHCAREFACILITYMGMT,LLC                            $10,000.00  11/15/2019 FAIRGAMINGCOALITIONOFOHIO                     $100,000.00
10/23/2018     KARENBUCHWALDWRIGHTREVOCABLETST                       $250,000.00   11/15/2019 POLITICALEDUCATIONPATTERNS                      $20,000.00
10/24/2018     EMPOWEROHIO,INC.                                        $50,000.00   12/2/2019   JOHNRBURGESS;SHARRONST.CLAIR               $25,000.00
10/29/2018     FIRSTENERGY                                               $100,000.00   12/10/2019 ELDORADOGAMINGSCIOTODOWNS                      $15,000.00
10/30/2018     RAISERVICESCOMPANY                                      $5,000.00  1/21/2020   EMPOWEROHIOINC.                               $100,000.00
2/15/2019      POLITICALEDUCATIONPATTERNS                              $25,000.00   1/21/2020   POLITICALEDUCATIONPATTERNS                    $20,000.00
3/6/2019       CHARTERCOMMUNICATIONS                                    $25,000.00   1/28/2020   NATIONWIDEMUTUALINSURANCECOMPANY             $25,000.00
3/6/2019       GERALDINEB.WARNER                                       $25,000.00   2/19/2020   55GREENMEADOWS                                $100,000.00
3/8/2019       GEORGER.&AMYF.JOSEPH                                 $10,000.00   2/27/2020   POLITICALEDUCATIONPATTERNS                    $20,000.00
3/8/2019       ROBERTE.&BRYNNEF.COLETTI                             $5,000.00   3/3/2020   PARTNERSFORPROGRESSINC.                      $2,000,000.00
3/8/2019       SCOTTD.&MARYJ.FARMER                                 $5,000.00   3/5/2020   CHARTERCOMMUNICATIONS                          $25,000.00
3/25/2019      GLASOLUTIONS,LLC.                                       $25,000.00   3/12/2020   55GREENMEADOWS                                $25,000.00
3/25/2019      GLASOLUTIONS,LLC.                                       $25,000.00   4/27/2020   MOLINAHEALTHCARE                               $100,000.00
3/26/2019      55GREENMEADOWS                                          $60,000.00   5/21/2020   55GREENMEADOWS                                $25,000.00
4/12/2019      EMPOWEROHIO,INC.                                        $250,000.00    6/15/2020   GIANTEAGLE,INC.                               $25,000.00
4/30/2019      FIRSTENERGYSERVICECO.                                   $1,500,000.00 Transactionsunder$5,000                                        $34,325.22
*ExcludesdepositsfromrelatedaccountGenerationNow                                                      TOTAL*                                          $64,397,395.22
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In the Event of Errors or Questions Concerning Electronic Fund Transfers (electronic deposits, withdrawals, transfers,
payments, or purchases), please call either 1-614-480-2001 or call toll free 1-800-480-2001, or write to The Huntington National Bank Research
- EA4W61, P.O. Box 1558, Columbus, Ohio 43216 as soon as you can, if you think your statement or receipt is wrong or if you need more
information about an electronic fund transfer on the statement or receipt. We must hear from you no later than 60 days after we sent you the
FIRST statement on which the error or problem appeared.
    1. Tell us your name, your business's name (if appropriate) and the Huntington account number (if any).
    2. Describe the error or the transaction you are unsure about, and explain as clearly as you can why you believe there is an error or why
        you need more information.
    3. Tell us the dollar amount of the suspected error. We will investigate your complaint or question and will correct any error promptly.

Verification of Electronic Deposits If you authorized someone to make regular electronic fund transfers of money to your account at
least once every sixty days, you can find out whether or not the deposit has been received by us, call either 1-614-480-2001 or call toll free
1-800-480-2001.

Balancing Your Statement - For your convenience, a balancing page is available on our web site https://www.huntington.com/pdf/balancing.pdf
and also available on Huntington Business Online.




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IMPORTANT INFORMATION ABOUT YOUR HUNTINGTON ACCOUNT(s)

We have made important changes to your checking, savings, and money market account(s) as described in this notice.
Please retain this document for your records. Unless otherwise specified, these changes are made as part of your Rules and
Regulations for Business Accounts , which is part of your Account Documents (the "Agreement"). We have added an
Arbitration Provision to your Business Deposit Account Agreement .

If you have questions or would like a complete copy of the documents referenced above simply visit your local Huntington
office, call your Banker or call 1-800-480-2001 to speak to a customer Service Center Specialist.

All of the changes described below are effective as of July 28th, 2019:

         1.) Arbitration Clause

 19. ARBITRATION
 THIS ARBITRATION PROVISION CONTAINS IMPORTANT INFORMATION ABOUT CERTAIN DEPOSIT
 ACCOUNTS WITH US. IT PROVIDES THAT EITHER YOU OR WE CAN START A BINDING ARBITRATION
 PROCEEDING TO RESOLVE ANY CLAIMS (AS DEFINED BELOW). ARBITRATION REPLACES THE RIGHT
 TO GO TO COURT, INCLUDING THE RIGHT TO PARTICIPATE IN A CLASS ACTION OR SIMILAR
 PROCEEDING. IN ARBITRATION, THE CLAIM IS SUBMITTED TO A NEUTRAL PARTY, AN
 ARBITRATOR, INSTEAD OF A JUDGE OR JURY. ARBITRATION PROCEDURES ARE SIMPLER AND
 MORE LIMITED THAN RULES APPLICABLE IN COURT. THE DECISION OF THE ARBITRATOR IS FINAL
 AND BINDING. IF YOU REJECT ARBITRATION AS PROVIDED BELOW, OR THE DISPUTE IS NOT
 ARBITRATED, THIS ARBITRATION PROVISION ALSO CONTAINS A JURY TRIAL WAIVER WHICH
 ELIMINATES YOUR RIGHT TO A TRIAL BY JURY IN COURT.

 This Arbitration Provision describes when and how a Claim (as defined below) with respect to a Deposit Account may be
 arbitrated. For the purposes of this Arbitration Provision, the term "Deposit Account" means any deposit account or safe
 deposit box at The Huntington National Bank with the exception of (i) interest on lawyers trust accounts ("IOLTA
 accounts"); (ii) accounts holding public funds such as Public Fund Economy Checking and Public Funds Premier
 accounts; (iii) Commercial Interest Checking accounts; (iv) Commercial Analyzed Checking accounts; and (v) Commercial
 Hybrid Checking accounts. The terms "you" and "your" mean each Deposit Account owner and any other person having
 any legal or beneficial interest in any Deposit Account or any authority to access any Deposit Account or Deposit
 Account information or conduct transactions with respect to any Deposit Account. The terms "we," "us" and "our" mean
 (i) The Huntington National Bank, its parent companies, wholly or majority-owned subsidiaries, affiliates, successors,
 assigns and any of the their employees, officers and directors and (ii) any third party providing any services in connection
 with a deposit account if such third party is named as a party by you in any lawsuit between you and us. By opening a
 Deposit Account with us or accepting or using any deposit account services, you agree to all of the terms of this
 Arbitration Provision.

 YOUR RIGHT TO REJECT: If you don't want arbitration to apply with respect to a particular Deposit Account, you
 may reject it by sending us a written Arbitration Rejection Notice ("Notice") which (a) states that you want to reject
 arbitration; (b) states your name and address; (c) provides the account number(s) for the Deposit Account(s) for which
 you are rejecting arbitration; and (d) you sign. For accounts with joint ownership, either of you may send a Notice. The
 Notice must be sent by certified mail, return receipt requested, to The Huntington National Bank, Deposit Account
 Arbitration, Attention: Customer Service, P. O. Box 1558, Columbus, Ohio 43272. Upon receipt of the Notice, we will
 credit one of your Deposit Account for the standard cost of mailing a certified letter. These are the only procedures you
 can use to reject arbitration. An Arbitration Rejection Notice is only effective (i) for the Deposit Accounts(s) identified in
 the Notice and (ii) if we receive the Notice within thirty (30) calendar days after the date we first provide you with this
 Arbitration Provision for the Deposit Account(s) that are the subject of the Notice. Your rejection of arbitration will not
 affect your ability to obtain any account, product or service from us. Rejection of arbitration applies only to the Deposit
 Account(s) identified in the Notice. Rejection of arbitration does not affect the jury trial waiver contained in this
 Arbitration Provision, and the jury trial waiver will still apply if you reject arbitration.

 a. What Claims are Covered
 Except as otherwise limited by this Arbitration Provision, "Claim" means any claim, dispute or controversy between you
 and us that in any way arises from or relates to a Deposit Account. It includes any claim, dispute or controversy
 concerning any fees or charges relating to any Deposit Account and any services relating to any Deposit Account,
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including but not limited to safe deposit box services, wire transfer services, treasury management services, on-line or
telephone banking services, text or mobile banking services, automated teller machine services and debit card services. It
includes not only any claim, dispute or controversy directly between you and us, but also any such matter with respect to
anyone connected with you or claiming through you, such as a joint account holder, account beneficiary, trustee, guardian
or any other representative or agent. "Claim" has the broadest possible meaning, and includes initial claims,
counterclaims, cross-claims and third-party claims. It includes disputes based upon contract, tort, consumer rights, fraud
and other intentional torts, constitution, statute, regulation, ordinance, common law and equity (including any claim for
injunctive or declaratory relief).

b. What Claims are not Covered
A "Claim" does not include disputes about the validity, enforceability, coverage or scope of this Arbitration Provision or
any part thereof, including, without limitation, the Class Action and Consolidation Waiver (see below) and/or this
sentence; all such disputes are for a court and not an arbitrator to decide. We will not choose to arbitrate an individual
Claim that you bring against us in small claims court or your state's equivalent court, if any. But if that Claim is
transferred, removed or appealed to a different court, we then have the right to choose arbitration. Furthermore, nothing
in this Arbitration Provision limits or constrains any (i) right to self-help remedies, such as the right of set-off or the right
to restrain funds in a Deposit Account, (ii) individual judicial action by a party that is limited to preventing the other
party from using a self-help remedy and that does not involve a request for damages or monetary relief of any kind, (iii)
right or obligation to interplead funds in the event of a dispute, (iv) right to exercise any security interest or lien in
property, (v) obligation to comply with legal process, or (vi) right to obtain provisional remedies with respect to funds or
property, such as injunctive relief, seizure, attachment or garnishment by a court having appropriate jurisdiction.

c. How Arbitration is Started
Either you or we may start the arbitration of any Claim. Arbitration is started by giving written notice to the other party
of the intent to start the arbitration. Except as otherwise provided by the Federal Arbitration Act, this notice may be
given before or after a lawsuit has been started over the Claim or with respect to other Claims brought later in the lawsuit.
If you start the arbitration, you must notify us at the following address:

              The Huntington National Bank
              Deposit Account Arbitration
              Attention: Customer Service
              P. O. Box 1558
              Columbus, Ohio 43272

If we start the arbitration, we will notify you in writing at your last known address we have on file. Arbitration of a Claim
must comply with this Arbitration Provision and, to the extent not inconsistent or in conflict with this Arbitration
Provision, the applicable rules of the arbitration administrator.

d. Choosing the Administrator
The party starting the arbitration proceeding must choose either the American Arbitration Association, www.adr.org,
800-778-7879 or JAMS, www.jamsadr.com, 800-352-5267 as the administrator. However, if you are the party starting the
arbitration proceeding, you may, subject to our agreement, choose a different arbitration agency or arbitrator that
qualifies with the requirements of this Arbitration Provision to act as administrator. In all cases, the arbitrator(s) must be
a lawyer with more than 10 years of experience. However, no arbitration may be administered by an arbitrator agency or
arbitrator that will not follow, or has any policies or procedures materially inconsistent with, the terms of this Arbitration
Provision. If, for any reason, the chosen arbitration agency or arbitrator is unable or unwilling or ceases to serve as the
administrator, or does not qualify or ceases to qualify as an administrator under the terms of this Arbitration Provision,
the parties shall, within 20 days after learning of such inability, unwillingness, cessation or disqualification, agree on
another arbitration agency or arbitrator that does qualify under the terms of this Arbitration Provision. In the absence of
such agreement, either party may apply to a court of competent jurisdiction for the court to appoint an arbitrator or
arbitration agency; provided, however, that such arbitrator or arbitration agency must conduct the arbitration in
accordance with this Arbitration Provision.

e. COURT AND JURY TRIALS PROHIBITED AND OTHER LIMITATIONS ON LEGAL RIGHTS
If arbitration is started with respect to a Claim, or if a court compels a Claim to be arbitrated under this Arbitration
Provision, all of the following apply:
i. There will be no right to try that Claim in court.
ii. There will be no jury trial on that Claim.

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iii. There will be no discovery, except as allowed by the arbitration rules of the administrator of this Arbitration Provision.

iv. We and you are prohibited from participating in a class action or class-wide arbitration with respect to that Claim (the
"Class Action and Consolidation Waiver"). This means that neither we nor you can be a representative or member of any
class of claimants or act as a private attorney general or in any other representative capacity in court or in arbitration with
respect to that Claim. This also means that the arbitrator has no power of authority to conduct any class-wide arbitration.
In addition, this means that claims brought by or against one or more of you may not be joined or consolidated in the
arbitration with Claims brought by or against any other depositor or person connected with a different deposit account
(unless such persons are joint accountholders or beneficiaries on your Deposit Account and/or other Deposit Accounts
held by you).
v. Except as allowed by this Arbitration Provision and the Federal Arbitration Act, the arbitrator's decision will be final
and binding.
vi. Other rights that you or we would have in court may also not be available in arbitration.

f. Effect of Class Action and Consolidation Waiver
If the Class Action and Consolidation Waiver is invalidated or not enforced in a court proceeding, then this entire
Arbitration Provision (except for this sentence and the Jury Trial Waiver) shall be null and void. Nothing in this
paragraph shall affect the right of any party to appeal any invalidation or non-enforcement of the Class Action and
Consolidation Waiver. The parties acknowledge and agree that under no circumstances will a class action be arbitrated.
The Class Action and Consolidation waiver does not apply to any lawsuit or administrative proceeding filed against us in
court by a state or federal government agency even when such agency is seeking relief on behalf of a class of consumers
including you. This means that we will not have the right to compel arbitration of any claim brought in court by such an
agency.

g. Location of Arbitration
Any arbitration hearing that you attend must take place at a location reasonably convenient to your residence.

h. Cost of Arbitration
Each administrator charges fees to administer an arbitration proceeding. This may include fees not charged by a court. At
your written request, we will pay all filing, hearing and/or other fees charged to you by the administrator or arbitrator in
an individual arbitration after you have paid an amount equivalent to the fee, if any, for filing such Claim in state or
federal court (whichever is less) in the judicial district in which you reside. If you have already paid a filing fee for asserting
the Claim in court, you will not be required to pay that amount again. In addition, the administrator may have a
procedure whereby you can seek a waiver of fees charged to you by the administrator or arbitrator. We will pay any fees
or expenses that we are required to pay by law or the administrator's rules or that we are required to pay for this
Arbitration Provision to be enforced. Notwithstanding any provision in the deposit agreement or any other applicable
agreement or any right we have under applicable law, (i) we will pay your reasonable attorneys', experts' and witnesses' fees
with respect to any Claim in the arbitration on which you prevail, whether you or we start the arbitration, or as required
by applicable law, but otherwise those fees will be your obligation, and (ii) we will not ask you to pay or reimburse us for
any of our attorneys', experts' and witnesses' fees in connection with the arbitration, regardless of which party prevails in
the arbitration.

i. Governing Law
This Arbitration Provision is governed by the Federal Arbitration Act, 9 U.S.C.        1 et seq. and not by any state
arbitration law. The arbitrator must apply applicable substantive law consistent with the Federal Arbitration Act and
applicable statutes of limitations and claims of privilege recognized at law. In addition to the Federal Arbitration Act, this
Arbitration Provision is governed by other federal laws of the United States of America. To the extent federal law does
not apply, the law of the state governing your Deposit Account applies. The arbitrator is authorized to award all remedies
permitted by the substantive law that would apply if the action were pending in court. At the timely request of either
party, the arbitrator must provide a brief written explanation of the basis for the award.

j. Right to Discovery
In addition to the parties' rights to obtain discovery pursuant to the arbitration to the arbitration rules of the
administrator, either party may submit a written request to the arbitrator to expand the scope of discovery normally
allowable under the arbitration rules of the administrator. The arbitrator shall have discretion to grant or deny that
request.

k. Arbitration Result and Right of Appeal

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Judgement upon the award given by the arbitrator may be entered in any court having jurisdiction. The arbitrator's
decision is final and binding, except for any right of appeal provided by the Federal Arbitration Act. However, if the
amount of the Claim exceeds $100,000, any party can appeal the award to a three-arbitrator panel administered by the
administrator, which shall reconsider any aspect of the initial award requested by the appealing party. The decision of the
panel shall be by majority vote. Reference in the Arbitration Provision to "the arbitrator" shall mean the panel of
arbitrators if an appeal of the arbitrator's decision has been taken. Subject to applicable law, costs of such an appeal will
be borne by the appealing party regardless of the outcome of the appeal. However, we will consider any good faith,
reasonable request for us to pay all or any part of those fees if you are the appealing party.

l. Notice and Cure; Special Payment
Prior to initiating a Claim, you may send us a written Dispute Claim Notice. In order for a Dispute Claim Notice to be
valid and effective, it must: (a) state your name, address and the account number for the deposit account(s) with us that is
(are) the subject of your claim; (b) be signed by you; (c) describe the basis of your Claim and the amount you would
accept to resolve the Claim; (d) state that you are exercising your rights under the "Notice and Cure" paragraph of the
Arbitration Provision; and (e) be sent to us by certified mail, return receipt requested, at The Huntington National Bank,
Deposit Account Arbitration, Attention: Customer Service, P. O. Box 1558, Columbus, Ohio 43272. This is the sole and
only method by which you can submit a Dispute Claim Notice. Upon receipt of a Dispute Claim Notice, we will credit
one of your Deposit Accounts for the standard cost of a certified letter. You must give us a reasonable opportunity, not
less than 30 days, to resolve the Claim. If, and only if, (i) you submit a Dispute Claim Notice in accordance with this
paragraph on your own behalf (and not on behalf of any other party); (ii) you cooperate with us by promptly providing
the information we reasonably request, (iii) we refuse to provide you with the relief you request before an arbitrator is
appointed; and (iv) the matter then proceeds to arbitration and the arbitrator subsequently determines that you were
entitled to such relief (or greater relief), you will be entitled to a minimum award of $7,500 (not including any arbitration
fees and attorneys' fees and costs to which you will also be entitled as provided by this Arbitration Provision). We
encourage you to address all Claims you have in a single Deposit Dispute Claim Notice and/or a single arbitration.
Accordingly, this $7,500 minimum award is a single award that applies to all Claims you have asserted or could have
asserted in the arbitration, and multiple awards of $7,500 are not contemplated.

m. Rules of Interpretation
This Arbitration Provision shall survive (i) the termination or closing of the Deposit Account or related services, (ii) any
changes to the Deposit Account or related services, (iii) any legal proceeding, (iv) any use of the right of set-off or any
other self-help remedy or other remedy of action, (v) any transfer or assignment of the deposit account, and (vi) any
bankruptcy of any party (to the extent consistent with applicable bankruptcy law). Subject to paragraph 6, if any portion
of this Arbitration Provision is deemed invalid or unenforceable, it shall not invalidate the remaining portions of this
Arbitration Provision, provided that such remaining portions are not then materially inconsistent with the terms of this
Arbitration Provision prior to such determination of invalidity or unenforceability. In the event of a conflict or
inconsistency between this Arbitration Provision and the applicable arbitration rules, this Arbitration Provision shall
govern.

n. Jury Trial Waiver
TO THE EXTENT PERMITTED BY APPLICABLE LAW, IF A DISPUTE IS RESOLVED IN COURT RATHER
THAN ARBITRATION, YOU AND WE HEREBY KNOWINGLY, VOLUNTARILY, INTENTIONALLY AND
IRREVOCABLY WAIVE ANY RIGHT TO A TRIAL BY JURY IN RESPECT TO ANY LITIGATION BASED
UPON OR ARISING OUT OF ANY CLAIM, DISPUTE OR CONTROVERSY RELATING TO ANY OF YOUR
DEPOSIT ACCOUNTS OR OTHER SERVICES CONVERED BY THIS ARBITRATION PROVISION.




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IMPORTANT INFORMATION REGARDING YOUR BUSINESS CHECKING ACCOUNT

The following price changes will be effective December 1, 2019:

    Account Reconciliation Paper Report: $150.00 per account, per month
    Mailed Image Statement: $5.00 per account, per month
    Payment Center Premier Wires Only: $30.00 per month, per Business Online Company ID
    Payment Center Select Wires Only: $25.00 per month, per Business Online Company ID
    Payment Center Select ACH & Wires: $60.00 per month, per Business Online Company ID
    Payment Center Basic Wires Only: $25.00 per month, per Business Online Company ID
    Payment Center Basic ACH & Wires: $50.00 per month, per Business Online Company ID
    Payment Center Basic Accounts: $15.00 per month, per account after the first 3 at no charge

Use of your account on or after December1, 2019 indicates your acceptance of the above changes.

For more information about the changes, please see your Huntington banker or call us at (800) 480-2001, Monday through
Friday, 7:30 a.m. to 6:30 p.m. ET.




                                                                                                  TIER2-0039576
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In the Event of Errors or Questions Concerning Electronic Fund Transfers (electronic deposits, withdrawals, transfers,
payments, or purchases), please call either 1-614-480-2001 or call toll free 1-800-480-2001, or write to The Huntington National Bank Research
- EA4W61, P.O. Box 1558, Columbus, Ohio 43216 as soon as you can, if you think your statement or receipt is wrong or if you need more
information about an electronic fund transfer on the statement or receipt. We must hear from you no later than 60 days after we sent you the
FIRST statement on which the error or problem appeared.
    1. Tell us your name, your business's name (if appropriate) and the Huntington account number (if any).
    2. Describe the error or the transaction you are unsure about, and explain as clearly as you can why you believe there is an error or why
        you need more information.
    3. Tell us the dollar amount of the suspected error. We will investigate your complaint or question and will correct any error promptly.

Verification of Electronic Deposits If you authorized someone to make regular electronic fund transfers of money to your account at
least once every sixty days, you can find out whether or not the deposit has been received by us, call either 1-614-480-2001 or call toll free
1-800-480-2001.

Balancing Your Statement - For your convenience, a balancing page is available on our web site https://www.huntington.com/pdf/balancing.pdf
and also available on Huntington Business Online.




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IMPORTANT INFORMATION ABOUT YOUR HUNTINGTON ACCOUNT(s)

We have made important changes to your checking, savings and money market account(s) as described in this notice.
Please review and retain this document for your records. Unless otherwise specified, these changes are made as part of your
Business Deposit Account Agreement (the "Agreement").

If you have questions or would like a complete copy of the documents referenced above simply visit your local Huntington
office, call your Banker or call 1-800-480-2001 to speak to a Customer Service Center Specialist.

 Effective February 9, 2020, the Business Deposit Account Agreement is adding "19.FDIC Provisions" to your Agreement,
 and your Arbitration provision will be moved to Section 20.

 19. FDIC Provisions

       Special Provisions for Accounts that qualify for Pass-Through Insurance

 If you have opened a deposit account on behalf of others, sometimes referred to as the beneficial owner(s) of the funds in
 the account (for example you are acting as an agent, nominee, guardian, executor, custodian or funds held in some other
 capacity), those beneficial owners may be eligible for "pass-through" insurance from the FDIC. This means the account
 could qualify for more than the standard maximum deposit insurance amount (currently $250,000 per depositor in the
 same ownership right and capacity). Your account has transactional features as defined in 370.2(j) of the FDIC's Rules
 and Regulations at https://www.fdic.gov/regulations/laws/rules/2000-9200.html#fdic2000part370.2. Accordingly, you as
 the account holder must be able to provide a record of the interests of the beneficial owner(s) in accordance with the
 FDIC's requirements as specified below.

 The FDIC has published a guide that describes the process to follow and the information you will need to provide in the
 event we fail. In addition, the FDIC published an Addendum to the guide, section VIII, which is a good resource to
 understand the FDIC's alternative recordkeeping requirements for pass-through insurance. The Addendum sets forth the
 expectations of the FDIC to demonstrate eligibility for pass-through insurance coverage of any deposit accounts,
 including those with transactional features. The Addendum will provide information regarding the records you should
 keep on the beneficial owners of the funds, identifying information for those owners, and the format in which to provide
 the records to the FDIC upon our failure. You must be able to provide this information within 24 hours after the
 appointment of the FDIC as receiver in order to receive payment for the insured amount of pass-through deposit
 insurance coverage as soon as possible. That information can be accessed on the FDIC's website at
 https://www.fdic.gov/deposit/deposits/brokers/part-370-appendix.html. You have an opportunity to validate the capability
 to deliver the required information in the appropriate format so that a timely calculation of deposit insurance coverage
 can be made, and if you would like to do so, please contact us.

 You agree to cooperate fully with us and the FDIC in connection with determining the insured status of funds in such
 accounts at any time. In the event of our failure, you agree to provide the FDIC with the information described above in
 the required format within 24 hours of that event. As soon as the FDIC is appointed, a hold may be placed on your
 account so that the FDIC can conduct the deposit insurance determination; that hold will not be released until the FDIC
 determines that you have provided the necessary data to enable the FDIC to calculate the deposit insurance. You
 understand and agree that your failure to provide the necessary data to the FDIC may result in a delay in receipt of
 insured funds and legal claims against you from the beneficial owners of the funds in the account. If you do not provide
 the required data, your account may be held or frozen until the information is received, which could delay when the
 beneficial owners would receive funds. Notwithstanding other provisions in this Agreement, this section survives after the
 FDIC is appointed as our receiver, and the FDIC is considered a third party beneficiary of this section.




                                                                                                       TIER2-0039582
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 including those with transactional features. The Addendum will provide information regarding the records you should
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 insurance coverage as soon as possible. That information can be accessed on the FDIC's website at
 https://www.fdic.gov/deposit/deposits/brokers/part-370-appendix.html. You have an opportunity to validate the capability
 to deliver the required information in the appropriate format so that a timely calculation of deposit insurance coverage
 can be made, and if you would like to do so, please contact us.

 You agree to cooperate fully with us and the FDIC in connection with determining the insured status of funds in such
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 the required format within 24 hours of that event. As soon as the FDIC is appointed, a hold may be placed on your
 account so that the FDIC can conduct the deposit insurance determination; that hold will not be released until the FDIC
 determines that you have provided the necessary data to enable the FDIC to calculate the deposit insurance. You
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 insured funds and legal claims against you from the beneficial owners of the funds in the account. If you do not provide
 the required data, your account may be held or frozen until the information is received, which could delay when the
 beneficial owners would receive funds. Notwithstanding other provisions in this Agreement, this section survives after the
 FDIC is appointed as our receiver, and the FDIC is considered a third party beneficiary of this section.




                                                                                                       TIER2-0039585
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THE HUNTINGTON NATIONAL BANK
PO BOX 1558 EA1W37
COLUMBUS OH 43216-1558




               17 CONSULTING GROUP LLC                                                                            Have a Question or Concern?

               BEXLEY OH                                                                                          Stop by your nearest
                                                                                                                  Huntington office or
                                                                                                                  contact us at:

                                                                                                                  1-800-480-2001

                                                                                                                  www.huntington.com/
                                                                                                                      businessresources

Huntington Unlimited Checking                                                  Account:                  4415
Statement Activity From:                           Beginning Balance                                  $12.20
0 2 / 0 1 / 2 0 to 0 2 / 2 9 / 2 0                 Credits (+)                                     45,000.00
                                                      Regular Deposits                              30,000.00
Days in Statement Period                   29         Wire Transfer Credits                         15,000.00
                                                   Debits (-)                                      29,955.58
Average Ledger Balance*               4,206.05        Regular Checks Paid                           27,246.92
Average Collected Balance*            2,137.08        Electronic Withdrawals                         2,192.68
                                                      Other Debits                                     515.98
* The above balances correspond to the             Total Service Charges (-)                             0.00
service charge cycle for this account.             Ending Balance                                 $15,056.62




Deposits (+)                                                                                                       Account:                 4415
Date                  Amount         Serial #          Type                  Date                Amount           Serial #           Type
02/28                 30,000.00                        Brch/ATM



Other Credits (+)                                                                                                  Account:                 4415
Date                    Amount       Description

02/12                 15,000.00      INCOMING FEDWIRE TRANSFER



Checks (-)                                                                                                         Account:                 4415
Date                    Amount             Check #                           Date                  Amount                Check #
02/12                   3,000.00           128                               02/19                7,000.00               130
02/26                   2,246.92           129                               02/28               15,000.00               131


(*) Indicates the prior sequentially numbered check(s) may have 1) been voided by you 2) not yet been presented 3) appeared on a previous
statement or 4) been included in a list of checks.


Other Debits (-)                                                                                                   Account:                 4415
Date                    Amount       Description

02/03                        1.25    PURCHASE PARKCOLUMBUS.COM METER PARKCOLUMBUS.COM METER COLUMBUS OH
                                                0980




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Other Debits (-)                                                                                              Account:                  4415
Date                Amount         Description

02/04                   1.50       PURCHASE PARKCOLUMBUS.COM METER PARKCOLUMBUS.COM METER COLUMBUS OH
                                              0980
02/13               2,192.68       CAPITAL ONE MOBILE PMT                            3919
02/24                   1.50       PURCHASE PARKCOLUMBUS.COM METER PARKCOLUMBUS.COM METER COLUMBUS OH
                                              0980
02/27                   9.83       PURCHASE 0561-CLB TRAVELMART B 0561-CLB TRAVELMART B COLUMBUS OH                                  0980
02/28                 495.20       PURCHASE AMERICAN                        AMERICAN                           7300 TX                 0980
02/28                   3.51       PURCHASE C1-CIBO EXPRESS C71 C1-CIBO EXPRESS C71 NEWARK NJ                             0980
02/28                   3.19       PURCHASE C1 FOOD HALL - EMV C1 FOOD HALL - EMV NEWARK NJ                              0980



Service Charge Summary                                                                                        Account:                  4415

Previous Month Service Charges (-)                           $0.00
Total Service Charges (-)                                    $0.00


Balance Activity                                                                                              Account:                  4415
Date                               Balance       Date                              Balance       Date                                 Balance

01/31                                12.20       02/13                             9,816.77      02/27                                 558.52
02/03                                10.95       02/19                             2,816.77      02/28                              15,056.62
02/04                                 9.45       02/24                             2,815.27
02/12                            12,009.45       02/26                               568.35




In the Event of Errors or Questions Concerning Electronic Fund Transfers (electronic deposits, withdrawals, transfers,
payments, or purchases), please call either 1-614-480-2001 or call toll free 1-800-480-2001, or write to The Huntington National Bank Research
- EA4W61, P.O. Box 1558, Columbus, Ohio 43216 as soon as you can, if you think your statement or receipt is wrong or if you need more
information about an electronic fund transfer on the statement or receipt. We must hear from you no later than 60 days after we sent you the
FIRST statement on which the error or problem appeared.
    1. Tell us your name, your business's name (if appropriate) and the Huntington account number (if any).
    2. Describe the error or the transaction you are unsure about, and explain as clearly as you can why you believe there is an error or why
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    3. Tell us the dollar amount of the suspected error. We will investigate your complaint or question and will correct any error promptly.

Verification of Electronic Deposits If you authorized someone to make regular electronic fund transfers of money to your account at
least once every sixty days, you can find out whether or not the deposit has been received by us, call either 1-614-480-2001 or call toll free
1-800-480-2001.

Balancing Your Statement - For your convenience, a balancing page is available on our web site https://www.huntington.com/pdf/balancing.pdf
and also available on Huntington Business Online.




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Coming Soon - Real-Time Payments
We are excited to share that your deposit account(s) will soon be able to receive Real-Time Payment (RTP ) credit
transactions. RTP, the first new payment system in the U.S. in more than 40 years, provides immediate funds availability
and the ability to receive more robust transaction details. Business accounts will be subject to a fee of $.30 per RTP credit
transaction beginning on or after March 23, 2020.

To learn more about RTP, visit www.huntington.com/rtp




                                                                                                         TIER 2 - 150059
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THE HUNTINGTON NATIONAL BANK
PO BOX 1558 EA1W37
COLUMBUS OH 43216-1558




               17 CONSULTING GROUP LLC                                                                            Have a Question or Concern?

               BEXLEY OH                                                                                          Stop by your nearest
                                                                                                                  Huntington office or
                                                                                                                  contact us at:

                                                                                                                  1-800-480-2001

                                                                                                                  www.huntington.com/
                                                                                                                      businessresources

Huntington Unlimited Checking                                                  Account:                  4415
Statement Activity From:                           Beginning Balance                              $15,056.62
0 3 / 0 1 / 2 0 to 0 3 / 3 1 / 2 0                 Credits (+)                                      9,000.00
                                                      Wire Transfer Credits                          9,000.00
Days in Statement Period                   31      Debits (-)                                      18,603.85
                                                      Regular Checks Paid                            5,246.92
Average Ledger Balance*               7,305.35        Electronic Withdrawals                        13,284.96
Average Collected Balance*            5,369.86        Other Debits                                       71.97
                                                   Total Service Charges (-)                            38.00
* The above balances correspond to the             Ending Balance                                  $5,414.77
service charge cycle for this account.




Other Credits (+)                                                                                                  Account:                   4415
Date                    Amount       Description

03/16                   9,000.00     INCOMING FEDWIRE TRANSFER



Checks (-)                                                                                                         Account:                   4415
Date                    Amount             Check #                           Date                  Amount                Check #
03/10                   2,246.92           116                               03/09                 3,000.00              117


(*) Indicates the prior sequentially numbered check(s) may have 1) been voided by you 2) not yet been presented 3) appeared on a previous
statement or 4) been included in a list of checks.


Other Debits (-)                                                                                                   Account:                   4415
Date                    Amount       Description

03/02                        8.47    PURCHASE DULLES GOURMET MARKET DULLES GOURMET MARKET DULLES VA                                         0980
03/04                      63.50     NON-HUNTINGTON CASH WITHDRAWAL 2594 E MAIN ST COLUMBUS OH                                    0980
03/05                   7,789.58     CAPITAL ONE MOBILE PMT                             2624
03/10                   1,495.38     CAPITAL ONE MOBILE PMT                             4911
03/27                   4,000.00     CAPITAL ONE MOBILE PMT                             1801




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subsidiary of Huntington Bancshares Inc.
The Huntington National Bank is Member FDIC.      and Huntington         are federally registered service marks of Huntington Bancshares
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Service Charge Detail                                                                                         Account:                 4415
Date       Service Charge (-)        Waives and      Discounts (+)        Description

03/16                  18.00                                              WIRE TRANSFER FEES (INCOMING)
03/16                  20.00                                              MONTHLY SERVICE FEE



Service Charge Summary                                                                                        Account:                 4415

Previous Month Service Charges (-)                          $38.00
Total Service Charges (-)                                   $38.00


Balance Activity                                                                                              Account:                 4415
Date                               Balance      Date                               Balance       Date                                Balance

02/29                            15,056.62      03/05                              7,195.07      03/16                               9,414.77
03/02                            15,048.15      03/09                              4,195.07      03/27                               5,414.77
03/04                            14,984.65      03/10                                452.77




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THE HUNTINGTON NATIONAL BANK
PO BOX 1558 EA1W37
COLUMBUS OH 43216-1558




               17 CONSULTING GROUP LLC                                                                            Have a Question or Concern?

               BEXLEY OH                                                                                          Stop by your nearest
                                                                                                                  Huntington office or
                                                                                                                  contact us at:

                                                                                                                  1-800-480-2001

                                                                                                                  www.huntington.com/
                                                                                                                      businessresources

Huntington Unlimited Checking                                                  Account:                  4415
Statement Activity From:                          Beginning Balance                                $5,414.77
0 4 / 0 1 / 2 0 to 0 4 / 3 0 / 2 0                Debits (-)                                        2,246.92
                                                     Regular Checks Paid                             2,246.92
Days in Statement Period                   30     Total Service Charges (-)                             41.00
                                                  Ending Balance                                   $3,126.85
Average Ledger Balance*               3,745.16
Average Collected Balance*            3,745.16
* The above balances correspond to the
service charge cycle for this account.




Checks (-)                                                                                                         Account:                   4415
Date                    Amount             Check #                           Date                  Amount                Check #
04/09                   2,246.92           120


(*) Indicates the prior sequentially numbered check(s) may have 1) been voided by you 2) not yet been presented 3) appeared on a previous
statement or 4) been included in a list of checks.


Service Charge Detail                                                                                              Account:                   4415
Date        Service Charge (-)         Waives and      Discounts (+)         Description

04/15                        3.00                                            ATM USAGE FEES
04/15                      18.00                                             WIRE TRANSFER FEES (INCOMING)
04/15                      20.00                                             MONTHLY SERVICE FEE



Service Charge Summary                                                                                             Account:                   4415

Previous Month Service Charges (-)                             $41.00
Total Service Charges (-)                                      $41.00


Balance Activity                                                                                                   Account:                   4415
Date                                 Balance      Date                                 Balance       Date                                   Balance

03/31                                5,414.77     04/09                                3,167.85      04/15                                  3,126.85




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and also available on Huntington Business Online.




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IMPORTANT INFORMATION ABOUT YOUR HUNTINGTON ACCOUNT(s)
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office, call your Banker or call 1-800-480-BANK (2265) to speak to a Customer Service Center Specialist.

Effective June 14, 2020, the following are changes to the Funds Availability Policy:

1) In 3. STEP THREE: DETERMINING IF WE HAVE PLACED A HOLD ON YOUR DEPOSIT, SECTION a.
Longer Delays May Apply, in the first paragraph, the last sentence is replaced with the following:

However, at least the first $225 of each day's total deposits may be available on the first business day after the business day
of deposit.

2) In 3. STEP THREE: DETERMINING IF WE HAVE PLACED A HOLD ON YOUR DEPOSIT, SECTION a.
Longer Delays May Apply, third paragraph, the (ii) is replaced with the following:

(ii) If you make deposits in any one day that exceed $5,525.

3) In 2. STEP TWO: DETERMINING THE AVAILABILITY OF YOUR DEPOSIT, the following is added as a new
Section c.:

Real Time Payments
The entire amount of the deposits received by Real Time Payments (RTP) will be available the SAME CALENDAR DAY
your deposit is received, even if that day is not a business day.




                                                                                                         TIER 2 - 150064
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IMPORTANT INFORMATION REGARDING YOUR BUSINESS CHECKING ACCOUNT

At Huntington, we believe in looking out for our customers and are here to help, especially with the uncertainty caused by
COVID-19. To help support your business during this time, if your business has an Unlimited or Unlimited Plus Account
with us, we will waive the Monthly Account Service Fee from April through December of 2020. We will also waive
overdraft and return fees for all of our small business customers during the months of April and May 2020, regardless of
checking account type. If your fees are typically billed the following month, your waiver will apply to the May and June
2020 billing cycles. You don't even have to ask-we will do it automatically.

Why? Because at Huntington, we're for people.




                                                                                                      TIER 2 - 150065
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                                                                                   #: 12312
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THE HUNTINGTON NATIONAL BANK
PO BOX 1558 EA1W37
COLUMBUS OH 43216-1558




               17 CONSULTING GROUP LLC                                                                            Have a Question or Concern?

               BEXLEY OH                                                                                          Stop by your nearest
                                                                                                                  Huntington office or
                                                                                                                  contact us at:

                                                                                                                  1-800-480-2001

                                                                                                                  www.huntington.com/
                                                                                                                      businessresources

Huntington Unlimited Checking                                                  Account:                  4415
Statement Activity From:                           Beginning Balance                               $3,126.85
0 5 / 0 1 / 2 0 to 0 5 / 3 1 / 2 0                 Credits (+)                                     30,000.00
                                                      Wire Transfer Credits                         30,000.00
Days in Statement Period                   31      Debits (-)                                      33,000.00
                                                      Regular Checks Paid                           30,000.00
Average Ledger Balance*               1,191.36        Electronic Withdrawals                         3,000.00
Average Collected Balance*            1,191.36     Total Service Charges (-)                             0.00
                                                   Ending Balance                                    $126.85
* The above balances correspond to the
service charge cycle for this account.




Other Credits (+)                                                                                                  Account:                 4415
Date                    Amount       Description

05/06                 30,000.00      INCOMING FEDWIRE TRANSFER



Checks (-)                                                                                                         Account:                 4415
Date                    Amount             Check #                           Date                  Amount                Check #
05/06                 30,000.00            138


(*) Indicates the prior sequentially numbered check(s) may have 1) been voided by you 2) not yet been presented 3) appeared on a previous
statement or 4) been included in a list of checks.


Other Debits (-)                                                                                                   Account:                 4415
Date                    Amount       Description

05/12                   3,000.00     CAPITAL ONE MOBILE PMT                             1730



Service Charge Summary                                                                                             Account:                 4415

Previous Month Service Charges (-)                              $0.00
Total Service Charges (-)                                       $0.00




Investments are offered through the Huntington Investment Company, Registered Investment Advisor, member FINRA/SIPC, a wholly-owned
subsidiary of Huntington Bancshares Inc.
The Huntington National Bank is Member FDIC.      and Huntington         are federally registered service marks of Huntington Bancshares
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                                                                                       Statement Period from 05/01/20 to 05/31/20   Page 1 of 2

                                                                                                                          TIER 2 - 150066
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Balance Activity                                                                                              Account:                 4415
Date                               Balance      Date                               Balance       Date                                Balance

04/30                              3,126.85     05/06                              3,126.85      05/12                                 126.85




In the Event of Errors or Questions Concerning Electronic Fund Transfers (electronic deposits, withdrawals, transfers,
payments, or purchases), please call either 1-614-480-2001 or call toll free 1-800-480-2001, or write to The Huntington National Bank Research
- EA4W61, P.O. Box 1558, Columbus, Ohio 43216 as soon as you can, if you think your statement or receipt is wrong or if you need more
information about an electronic fund transfer on the statement or receipt. We must hear from you no later than 60 days after we sent you the
FIRST statement on which the error or problem appeared.
    1. Tell us your name, your business's name (if appropriate) and the Huntington account number (if any).
    2. Describe the error or the transaction you are unsure about, and explain as clearly as you can why you believe there is an error or why
        you need more information.
    3. Tell us the dollar amount of the suspected error. We will investigate your complaint or question and will correct any error promptly.

Verification of Electronic Deposits If you authorized someone to make regular electronic fund transfers of money to your account at
least once every sixty days, you can find out whether or not the deposit has been received by us, call either 1-614-480-2001 or call toll free
1-800-480-2001.

Balancing Your Statement - For your convenience, a balancing page is available on our web site https://www.huntington.com/pdf/balancing.pdf
and also available on Huntington Business Online.




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                                                                                                                     TIER 2 - 150067
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IMPORTANT INFORMATION ABOUT YOUR HUNTINGTON ACCOUNT(s)

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convenience transfers from savings and money market accounts.

During this time, Huntington will not enforce the 6-transfer limit on your savings or money market account and you will
be able to enjoy unlimited transfers from those accounts.

Huntington will also waive any excess debit fees on your savings or money market account.

We will notify you when these regulatory relief actions are no longer in effect.




                                                                                                    TIER 2 - 150068
        Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 167 of 358 PAGEID 58
                                                                                   #: 12315
                                                                                      of 74
THE HUNTINGTON NATIONAL BANK
PO BOX 1558 EA1W37
COLUMBUS OH 43216-1558




               17 CONSULTING GROUP LLC                                                                            Have a Question or Concern?

               BEXLEY OH                                                                                          Stop by your nearest
                                                                                                                  Huntington office or
                                                                                                                  contact us at:

                                                                                                                  1-800-480-2001

                                                                                                                  www.huntington.com/
                                                                                                                      businessresources

Huntington Unlimited Checking                                                  Account:                  4415
Statement Activity From:                           Beginning Balance                                  $126.85
0 6 / 0 1 / 2 0 to 0 6 / 3 0 / 2 0                 Credits (+)                                       5,000.00
                                                      Regular Deposits                                5,000.00
Days in Statement Period                   30      Debits (-)                                        5,039.81
                                                      Regular Checks Paid                             5,000.00
Average Ledger Balance*               1,115.92        Other Debits                                        39.81
Average Collected Balance*            1,115.92     Total Service Charges (-)                             18.00
                                                   Ending Balance                                      $69.04
* The above balances correspond to the
service charge cycle for this account.




Deposits (+)                                                                                                       Account:                   4415
Date                  Amount         Serial #          Type                  Date                Amount           Serial #             Type
06/05                   5,000.00     35443708          Brch/ATM



Checks (-)                                                                                                         Account:                   4415
Date                    Amount             Check #                           Date                  Amount                Check #
06/11                   5,000.00           132


(*) Indicates the prior sequentially numbered check(s) may have 1) been voided by you 2) not yet been presented 3) appeared on a previous
statement or 4) been included in a list of checks.


Other Debits (-)                                                                                                   Account:                   4415
Date                    Amount       Description

06/30                      39.81     PURCHASE SPEEDWAY 2965 E M SPEEDWAY 2965 E M COLUMBUS OH                                   0980


Service Charge Detail                                                                                              Account:                   4415
Date        Service Charge (-)         Waives and      Discounts (+)         Description

06/15                      18.00                                             WIRE TRANSFER FEES (INCOMING)




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                                                                                       Statement Period from 06/01/20 to 06/30/20   Page 1 of 2

                                                                                                                          TIER 2 - 150069
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Service Charge Summary                                                                                        Account:                 4415

Previous Month Service Charges (-)                          $18.00
Total Service Charges (-)                                   $18.00


Balance Activity                                                                                              Account:                 4415
Date                               Balance      Date                               Balance       Date                                Balance

05/31                                126.85     06/11                                126.85      06/30                                  69.04
06/05                              5,126.85     06/15                                108.85




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- EA4W61, P.O. Box 1558, Columbus, Ohio 43216 as soon as you can, if you think your statement or receipt is wrong or if you need more
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    1. Tell us your name, your business's name (if appropriate) and the Huntington account number (if any).
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    3. Tell us the dollar amount of the suspected error. We will investigate your complaint or question and will correct any error promptly.

Verification of Electronic Deposits If you authorized someone to make regular electronic fund transfers of money to your account at
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1-800-480-2001.

Balancing Your Statement - For your convenience, a balancing page is available on our web site https://www.huntington.com/pdf/balancing.pdf
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                                                                                   Statement Period from 06/01/20 to 06/30/20   Page 2 of 2

                                                                                                                     TIER 2 - 150070
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IMPORTANT INFORMATION ABOUT YOUR HUNTINGTON ACCOUNT(s)

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be able to enjoy unlimited transfers from those accounts.

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                                                                                                    TIER 2 - 150071
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 170 of 358 PAGEID #: 12318
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 171 of 358 PAGEID #: 12319
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 172 of 358 PAGEID #: 12320
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Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 174 of 358 PAGEID #: 12322
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 175 of 358 PAGEID #: 12323
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 176 of 358 PAGEID #: 12324
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 177 of 358 PAGEID #: 12325
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Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 182 of 358 PAGEID #: 12330
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 183 of 358 PAGEID #: 12331
                 Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 184 of 358 PAGEID #: 12332
                                    Deposits into 17 Consulting GroupͲ
                              Huntington National Bank Account x4415 (2019)                                        1 of 1


                                                                                            % OF
    DATE             PAYOR                    AMOUNT                    SOURCE            FUNDING              $ FUNDING
    8/7/2019 ATM/BRANCH TRX              $100.00   GENERATION NOW, INC.     100.0%      $1,620,000.00
    8/8/2019 GENERATION NOW, INC.        $400,000.00       OTHER                     0.0%       $                315.00
   8/23/2019 GENERATION NOW, INC.        $200,000.00       TOTAL DEPOSITS 2019         100.0% $1,620,315.00
   8/30/2019 GENERATION NOW, INC.        $200,000.00
    9/6/2019 GENERATION NOW, INC.        $200,000.00
                                                                                          0.0%
   9/13/2019 GENERATION NOW, INC.        $150,000.00
   9/16/2019 FEE                         $            20.00
   9/20/2019 GENERATION NOW, INC.        $150,000.00
   9/27/2019 GENERATION NOW, INC.        $100,000.00
   10/4/2019 GENERATION NOW, INC.        $100,000.00
  10/15/2019 FEE                         $            20.00
  10/15/2019 GENERATION NOW, INC.        $120,000.00
  10/28/2019 MERCHANDISE RETURN          $135.00
  11/15/2019 FEE                         $                20.00                          100.0%
  12/16/2019 FEE                         $                20.00
TOTAL DEPOSITS 2019                      $1,620,315.00




                                                                               GENERATION NOW, INC.    OTHER

                                                           ϭϯϯ
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 185 of 358 PAGEID #: 12333
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                                                                              1 of 9
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 187 of 358 PAGEID #: 12335
Session 3062


                             UNITED STATES DEPARTMENT OF JUSTICE                 271B
                              FEDERAL BUREAU OF INVESTIGATION
                                     2012 Ronald Regan Drive
                                      Cincinnati, Ohio 45236

                                          Session 3062

        File Number:                       194A-CI-3126966
        Date:                              1/25/2018
        Time Recording Starts:             0:00:00
        Time Recording Ends:               0:08:31
        Agent:                             SA Blane J. Wetzel


Participants:
        Neil Clark
        Larry Householder
        Anna Lippincott
        Unidentified Male


Abbreviations:
       Unintelligible                      UI
       Inaudible                           IA
       Phonetic                            PH
       Overlapping Voices                  OV




                                                                                           1


                                                                        TIER 3 - 1729495
                                                                              2 of 9
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 188 of 358 PAGEID #: 12336
Session 3062



0:00:00

Householder:   Hey. Uh, cable knows they’re going to get screwed, don’t they?

Clark:         Um, we, we know the bill’s coming out next week, but I’m pretty sure that we, I’ve got, uh,
               we’re, we think we’re going to get our amendments in that makes sure we’re not in this
               bill. So I think, but yeah we’re already not pleased with how the process went in the first
               place, so. I’ll put it that way.

Householder:   (OV) Well you know, you know Rosenberger put Lipps on the committee yesterday, so it
               just stacked another stack against you? Uh, the only one I see on the Republican side that
               is a free-minded thinker is Faber. Everybody else is in the shill.

Clark:         Okay.

Householder:   Everyone, everyone else is, is Rosenberger’s, but, right?

Clark:         Okay. Yeah, right.

Householder:   Uh, you know you got Blessing who they hold a gun, they press a gun to his head because
               of his wife…

Clark:         (OV) Right, that’s correct, that’s correct.

Householder:   And then you’ve got Seitz, Lipps, Greenspan…

Clark:         Right.

Householder:   …uh, Smith. I mean it’s the, the committee is just terrible.

Clark:         Terrible! Yeah. We, we (UI).

Householder:   So I’m sitting over here, I’m, uh, you know, and I don’t like to mix these things together,
               but we do have to look at these kind of things. So I’m sitting over here and, and you know
               obviously we’re out scrambling for money here by January 31st because…

Clark:         Uh-huh.

Householder:   …I’m, I’m battling a capital bill.

Clark:         Right.

Householder:   And so, uh, one of the things we talked about was well, you okay, where’s so and so,
               where’s so and so, where’s. We’ve not gotten, we haven’t gotten anything from cable.
               Ryan Smith got maxed out on and I understand.

Clark:         (OV) What, what, what, what, what do you mean by that, that he got maxed? Are you
               telling me he got a check from the cable association for twelve five?

                                                                                                              2


                                                                                           TIER 3 - 1729496
                                                                              3 of 9
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Session 3062




Householder:   Okay, hang on just a minute and I’ll double check. Ryan Smith got a check from the cable
               association for 12,500, is that what we’re saying?

Lippincott:    Yes, sir.

Householder:   From Spectrum?

Male:          Multiple checks that added up to the max.

Householder:   Yeah. So the, the, the total number of money that Ryan Smith has this, this, well his last
               reporting…

Clark:         (OV) Yeah. Okay.

Householder:   …from Spectrum was $12,500.

Clark:         From Spectrum?

Householder:   Yes.

Clark:         Okay.

Householder:   Right?

Lippincott:    (IA)

Male:          (IA)

Householder:   We’re going to give you the exact amount.

Lippincott:    Charter Communications (IA).

Clark:         (OV) Yeah try to get, try I, ‘cause.

Householder:   (OV) Charter, Charter Communications, twelve seven.

Clark:         Yeah. Okay.

Householder:   12,707, they totally maxed.

Clark:         (OV) Okay.

Householder:   Probably seventy-nine cents ($0.79) too.

Clark:         Okay, fine.

Householder:   Okay, next.

                                                                                                               3


                                                                                            TIER 3 - 1729497
                                                                              4 of 9
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Clark:         Next, who, me?

Householder:   (OV) We’re going, we’re going (UI). No, I’m asking Anna, she’s going through the report.

Lippincott:    Yeah that’s, yes that’s (IA).

Householder:   $12,707.

Lippincott:    Yes.

Householder:   From Charter Communications?

Clark:         Yeah, and when was that check issued?

Householder:   When were those, what was the last? They were multiple checks or one check?

Male:          (IA)

Householder:   And, and, and what’s the last date of a check?

Lippincott:    6/29.

Householder:   6/29.

Lippincott:    Mm-hmm.

Clark:         6/29, okay.

Householder:   Yeah.

Clark:         Alright.

Male:          (IA, OV) He went back to them and said I need the max, the, the max.

Clark:         Now you did, did you guys get any money from Charter that was (c)4 dollars?

Householder:   (c)4 money?

Clark:         Yeah.

Male:          Yeah.

Clark:         Did you guys get any?

Male:          (IA, OV)

Clark:         How much did you get?

                                                                                                             4


                                                                                          TIER 3 - 1729498
                                                                              5 of 9
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Householder:   They’re, they’re trying to get some.

Male:          (IA) $4,999.

Lippincott:    (IA)

Male:          They gave ten grand.

Householder:   Ten, we’ve got two checks for $10,000 total to the (c)4.

Clark:         Okay to the, okay, for 10,000 total?

Householder:   Yes.

Clark:         Okay, and those came from.

Householder:   (OV) First check was $4,999 and--

Clark:         And that came from, and that came from whom? Charter? Or from?

Householder:   Charter.

Clark:         From Charter, not some.

Householder:   (OV) OCTA.

Male:          (IA)

Householder:   OCTA is where that came from.

Clark:         Okay, that ten grand came from Jonathon, correct?

Householder:   Yes.

Clark:         Okay, fine, alright. Goodbye!

Lippincott:    (IA)

Clark:         Anything else I need to know?

Householder:   I, I just think, you know.

Clark:         (OV) Yeah, no, I know, I know what you’re saying.

Householder:   All I’m saying is, all I’m saying is, all, all we’ve, you know, Neil, one thing I’ve noticed and
               you’re going to love this. In the last twelve years, the biggest thing I’ve noticed is how
               everyone’s a pussy. Okay?

                                                                                                                    5


                                                                                                 TIER 3 - 1729499
                                                                              6 of 9
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Clark:         (OV) Yeah, right.

Householder:   The last time they gave money to Harris and me.

Clark:         Right.

Householder:   This time it’s like oh…

Clark:         Yeah, right.

Householder:   …we’re scared of Spanky…

Clark:         (OV) Yeah, right, scary, Spanky, I know, I know.

Householder:   Oh, we’re (UI) the (UI) club is going to come after us.

Clark:         (OV) Yeah but, but see, but see, but see what’s interesting is that there’s a new, a newer
               solution that didn’t occur in, thirteen years ago, is that they could give as much or more to
               the (c)4 and nobody would ever know. So, you, you, you don’t have to be afraid of anyone
               because there’s a mechanism to, to change it and I thought.

Householder:   (OV) Oh, I thought they were giving (c)4 money to him too, right?

Clark:         I don’t know, I know like.

Householder:   (OV) That’s what I, that’s what I figured. I’m not saying your group.

Clark:         Yeah.

Householder:   I’m saying other groups are saying, oh, we can’t give you, you know we can’t give you this,
               but we’ll give you this (UI)

Clark:         (OV) I agree. No, I see, I see the way, see the way that I’ve been advocating this is that
               those that, that insist on doing the, the hard dollars, okay?

Householder:   Yeah.

Clark:         That, that, like the nursing homes. Granted give them hard dollars, don’t give them soft,
               give the other ones soft. You know, don’t, you can’t just sit here and give one, one and not
               the other and go back and forth so…

Householder:   Right.

Clark:         …I’ve made it really easy in my descriptions to people, that a moron could follow what I’m
               saying.

Householder:   Yeah.

                                                                                                                6


                                                                                             TIER 3 - 1729500
                                                                              7 of 9
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Clark:         You know that.

Householder:   Well, well they’re running around telling people AT&T is funding, funding their Lexus.

Clark:         Oh, I, I was the one that started that. Um, yeah, I mean, I, I, I started that last week, uh,
               that, you know, on the phone call with the fifteen people. I said, I’ll bet you any money
               that they went and gave a big check to his (c)4.

Householder:   Yeah.

Clark:         And you know, but I, I was cautious of how I said it because the people, there were
               fourteen people on the phone, and if you don’t think they’re connected with Ryan, you
               know, you’d be, I’d be a fool.

Householder:   (OV) Right, right.

Clark:         So I made, I said, this is very suspicious. This is how I said it. This is very suspicious when I,
               what had happened here is, I met with Jonathon, with Schuring in October said we’re not
               in the room, we need to be in the room, why do we continue to do this with AT&T. Okay?
               Schuring says yes, you’re right, I’ll call, I’ll talk to Sean, I’ll talk to Speaker. We’ll get you in
               the room or at least with the bill when they’re done with it you guys, you know, read it and
               approve it, and then you can introduce it. Fine. So when they put out the order last week
               for the, um, sponsor testimony, was the first time that we knew they had a bill. And we,
               and that’s when I jumped Ryan. I said, goddamn it we were, we’re promised this. And of
               course, Sarah sat there looking at me like I was a, you know, I was evil. And, um, we said,
               I’m making myself clear to you guys, we don’t want to be in this bill, we don’t want any of
               these regulations. So all you have to do is put in belts and suspenders that, that make sure
               that we’re not in it, because AT&T is saying they’re not in it. I said then put in the language
               that we want and I want to make sure that AT&T didn’t get a tax break, because if they got
               a tax break, then they have a competitive advantage over us.

Householder:   That’s right.

Clark:         And that’s, and Ryan said I, you know, I’ll, I’ll make sure. And I said, fine, if, and he goes, if
               I, if I do that will you promise not to oppose the bill. I said, if you do those things we won’t
               oppose the bill. They have not yet accepted those amendments. They are in the process of
               accepting, but they haven’t yet.

Householder:   Right.

Clark:         But, you know, you have to look at this from a point of view. They made cable go chase
               their fucking dicks for the last ten days.

Householder:   Yeah.

Clark:         And, you know, and you know what it’s like when you have to run in a circle chasing your
               tail.

                                                                                                                     7


                                                                                                  TIER 3 - 1729501
                                                                              8 of 9
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 194 of 358 PAGEID #: 12342
Session 3062




Householder:   Yes.

Clark:         So, um, I, but I had made it very clear to Gary, you know, my god, he, they said that they
               met with you and I said write the check for the (c)4. So you’re telling me that Spectrum did
               not write a check for the (c)4, from the time that they met with you, I think like ten, fifteen
               days ago, is that about right?

Householder:   We have not got a Spectrum check right? For anything?

Clark:         Sorry, no. Since the time that you met with…

Lippincott:    (IA, OV)

Clark:         …when you met with, when you met with him, what was it, fifteen days ago?

Householder:   Yeah.

Clark:         When did you meet with him? Fifteen days ago, right?

Householder:   Yeah, right.

Clark:         Okay, so you, and I said, just write them a check.

Householder:   Right.

Clark:         A (c)4 check.

Householder:   Yeah.

Clark:         So, that’s why I got. I’ll call, I’ll call Gary and I’ll call Jonathon and find out what’s going on.
               ‘Cause they, you know, I, I, I agree with you a 100% with the guy that you, that, you know,
               he goes out and they max out to, and then, fuck, you’re sitting here and he, and he’s
               fucking you.

Householder:   Well they, they max out to him, they max out to the caucus, which is him...

Clark:         Right, right.

Householder:   …now, that, that funds our, against our candidates. And then they sit there and say oh, it’s
               so tough for people to know that we’re for you, we don’t want anybody to know that.

Clark:         (OV) Jonathon never, Jonathon never said that to you.

Householder:   No, no, no, Jonathon wouldn’t say that to me because I’d kick him in the nuts.

Clark:         Yeah, right.


                                                                                                                      8


                                                                                                   TIER 3 - 1729502
                                                                              9 of 9
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 195 of 358 PAGEID #: 12343
Session 3062



Householder:   Hell, no, he wouldn’t say that to me.

Clark:         And Gary wouldn’t say that to you. I mean, I, you know, you’re, you’re talking about some
               of those other fucking people that represent cable who are, are candy asses is what you’re
               saying.

Householder:   That’s right.

Clark:         Yeah, okay. Alright let me get on the phone, I’ll get, I’ll get working on it.

Householder:   Alright. Thanks, Neil. See you later.

Clark:         Yeah.

Householder:   Bye.

0:08:31 [End of conversation]




                                                                                                                   9


                                                                                                TIER 3 - 1729503
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 196 of 358 PAGEID #: 12344
  Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 197 of 358 PAGEID #:2 12345
                                                                                 of 2

                                                        Chuck Jones - !Phone - FK2ZCRRYN7OH



  From: +13302831180 Michael Dowling
  To: Jones, Chuck (owner)

  Larry wants to hear about us - status of company, what's important to us this year and next
  year. Money will come up - help with key races and C(4).

     Participant                  Delivered                  Read              Played
     Jones, Chuck


  Status: Read
  Delivered: 8/5/2018 9:01:56 PM(UTC-4)
  Read: 8/5/2018 9:01:56 PM(UTC-4)
                                                                              8/5/2018 6:47:59 PM(UTC-4)




                                                                                 From: +13302854513(owner)

                                                                                 We'll talk tomorrow.
                                                                                Status: Sent
                                                                                                             8/5/2018 9:02:28 PM(UTC-4)




  From: +13302831180 Michael Dowling
  To: Jones, Chuck (owner)

  Ok

     Participant      Delivered           Read            Played
     Jones, Chuck


  Status: Read
                                                 8/5/2018 9:02:48 PM(UTC-4)




FOIA CONFIDENTIAL TREATMENT REQUESTED                                                                                      FE_00069973
                                                                                                                  TIER 3 - 454387
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 198 of 358 PAGEID #: 12346
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 199 of 358 PAGEID #: 12347
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 200 of 358 PAGEID #:2 12348
                                                                               of 2




                                                                       TIER 3 - 393831
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 201 of 358 PAGEID #: 12349
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 202 of 358 PAGEID #: 12350
  Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 203 of 358 PAGEID #:2 12351
                                                                                 of 2

                                                   Chuck Jones - !Phone - G6VZ981VN7OH



  From: +13302831180 Michael Dowling
  To: Jones, Chuck (owner)

  They are.

     Participant      Delivered       Read            aye
     Jones, Chuck


  Status: Read
  Delivered: 10/10/2018 10:12:28 AM(UTC-4)
  Read: 10/10/2018 10:12:28 AM(UTC-4)
                                        10/10/2018 10:11:18 AM(UTC-4)




FOIA CONFIDENTIAL TREATMENT REQUESTED                                                           FE_00072066
                                                                                         TIER 3 - 456480
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 204 of 358 PAGEID #: 12352
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 205 of 358 PAGEID #: 12353
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 206 of 358 PAGEID #: 12354
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 207 of 358 PAGEID #: 12355
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 208 of 358 PAGEID #: 12356
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 209 of 358 PAGEID #: 12357
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 210 of 358 PAGEID #: 12358
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 211 of 358 PAGEID #: 12359
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 212 of 358 PAGEID #: 12360
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 213 of 358 PAGEID #: 12361
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 214 of 358 PAGEID #: 12362
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 215 of 358 PAGEID #: 12363
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 216 of 358 PAGEID #: 12364
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 217 of 358 PAGEID #: 12365
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 218 of 358 PAGEID #: 12366
                                                                              1 of 3
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 219 of 358 PAGEID #: 12367
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 220 of 358 PAGEID #: 12368
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 221 of 358 PAGEID #: 12369
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 222 of 358 PAGEID #: 12370
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 223 of 358 PAGEID #: 12371
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 224 of 358 PAGEID #: 12372
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 225 of 358 PAGEID #: 12373
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 226 of 358 PAGEID #: 12374
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 227 of 358 PAGEID #: 12375
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 228 of 358 PAGEID #: 12376
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 229 of 358 PAGEID #: 12377
           Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 230 of 358 PAGEID #:1 12378
                                                                                          of 9




                                                                                                                                                                       451C
  Extraction Report - Apple iPhone Logical


Participants
                           +16145815826
                           Juan Cespedes* (owner)



                           +16142041050
                           Matthew Borges*




Conversation - Instant Messages (39)


    From: +16142041050 Matthew Borges

    Had dinner with Yost and put the referendum issue on his radar. He’s sympathetic but wants
    to go back and look at the law to make sure the “referendum-proof” language is sound.

    Also, API guys now believe the bill is going to pass, so they’ve moved on to focusing on a
    ballot measure. They’re interviewing consultants. Not sure if they’ve hired anyone.
    Status: Read
    Read: 6/26/2019 7:42:59 AM(UTC-4)

                                                                                                  6/26/2019 7:40:17 AM(UTC-4)


  Source Extraction:
  1B10
  Source Info:
  Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44D1FA0 (Table: message, handle, chat; Size: 590159872 bytes)




                                                                                      From: +16145815826 Juan Cespedes (owner)

                                                                                      When you say sympathetic? Sympathetic towards us or them?
                                                                                      Status: Sent
                                                                                      Delivered: 6/26/2019 7:43:47 AM(UTC-4)

                                                                                                                                                      6/26/2019 7:43:46 AM(UTC-4)


                                                                                    Source Extraction:
                                                                                    1B10
                                                                                    Source Info:
                                                                                    Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44DEBAF (Table: message, chat; Size: 590159872 bytes)




                                                                                                        From: +16145815826 Juan Cespedes (owner)

                                                                                                        Who would they be interviewing?
                                                                                                       Status: Sent
                                                                                                       Delivered: 6/26/2019 7:44:18 AM(UTC-4)

                                                                                                                                                      6/26/2019 7:44:17 AM(UTC-4)


                                                                                                     Source Extraction:
                                                                                                     1B10
                                                                                                     Source Info:
                                                                                                     Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44EBC13 (Table: message, chat; Size:
                                                                                                     590159872 bytes)




                                                                                                                                                                                        1
         Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 231 of 358 PAGEID #:2 12379
                                                                                        of 9
                                                                 From: +16145815826 Juan Cespedes (owner)

                                                                 We need to have the Speaker lean on favorable consultants in the meantime if
                                                                 possible.
                                                                Status: Sent
                                                                Delivered: 6/26/2019 7:45:00 AM(UTC-4)

                                                                                                                                                    6/26/2019 7:44:59 AM(UTC-4)


                                                              Source Extraction:
                                                              1B10
                                                              Source Info:
                                                              Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44D0AB3 (Table: message, chat; Size: 590159872 bytes)




                                                                                                  From: +16145815826 Juan Cespedes (owner)

                                                                                                  API guys are more confident than I am! lol
                                                                                                 Status: Sent
                                                                                                 Delivered: 6/26/2019 7:45:19 AM(UTC-4)

                                                                                                                                                    6/26/2019 7:45:18 AM(UTC-4)


                                                                                               Source Extraction:
                                                                                               1B10
                                                                                               Source Info:
                                                                                               Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44DD5B7 (Table: message, chat; Size: 590159872
                                                                                               bytes)




  From: +16142041050 Matthew Borges

  Us. Don’t repeat this, but he said: “I would be out front opposing this if it weren’t for FE’s
  support and your involvement.”

  He thinks the issue is bad policy, but he wants to be supportive. If there’s any way the law
  will allow him to reject the language, he will do it.
  Status: Read
  Read: 6/26/2019 7:46:29 AM(UTC-4)

                                                                                                6/26/2019 7:46:16 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44EAAA1 (Table: message, handle, chat; Size: 590159872 bytes)




  From: +16142041050 Matthew Borges

  Laughed at “API guys are more confident than I am! lol ”
  Status: Read
  Read: 6/26/2019 7:46:29 AM(UTC-4)

                                                                  6/26/2019 7:46:22 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44CF83F (Table: message, handle, chat; Size: 590159872
bytes)




  From: +16142041050 Matthew Borges

  Yeah I was in a meeting with Servick and he just looked at me before it started and said “so
  it looks like you guys are going to get your bill passed.”
  Status: Read
  Read: 6/26/2019 7:47:18 AM(UTC-4)

                                                                                                6/26/2019 7:47:18 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44DCFA0 (Table: message, handle, chat; Size: 590159872 bytes)




                                                                                                                                                                                            2
         Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 232 of 358 PAGEID #:3 12380
                                                                                        of 9
                                                       From: +16145815826 Juan Cespedes (owner)

                                                       Then we need to make sure it does. Please take a look at language when it comes out
                                                       today. I’m going to have Calfee analyze it also
                                                       Status: Sent
                                                       Delivered: 6/26/2019 7:47:35 AM(UTC-4)

                                                                                                                                                     6/26/2019 7:47:35 AM(UTC-4)


                                                     Source Extraction:
                                                     1B10
                                                     Source Info:
                                                     Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44E9FA0 (Table: message, chat; Size: 590159872 bytes)




  From: +16142041050 Matthew Borges

  Liked “Then we need to make sure it does. Please take a look at language when it comes
  out today. I’m going to have Calfee analyze it also”
  Status: Read
  Read: 6/26/2019 7:47:47 AM(UTC-4)

                                                                                                6/26/2019 7:47:47 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44CE898 (Table: message, handle, chat; Size: 590159872 bytes)




  From: +16142041050 Matthew Borges

  Some out of state firm I hadn’t heard of.

  Need you to never say anything about this.

  But they approached me. (That’s how I know it’s real)

  I said no, and referred them to
  beth. Don’t think they’ve called her yet. At least she hasn’t said anything about it.
  Status: Read
  Read: 6/26/2019 7:49:32 AM(UTC-4)

                                                                                                6/26/2019 7:49:22 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44DBB8A (Table: message, handle, chat; Size: 590159872 bytes)




                                                       From: +16145815826 Juan Cespedes (owner)

                                                       I’m not going to say anything about any of this. Just don’t mention it to anyone else and it
                                                       will never get out.
                                                       Status: Sent
                                                       Delivered: 6/26/2019 7:50:19 AM(UTC-4)

                                                                                                                                                     6/26/2019 7:50:17 AM(UTC-4)


                                                     Source Extraction:
                                                     1B10
                                                     Source Info:
                                                     Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44E8BE6 (Table: message, chat; Size: 590159872 bytes)




                                                                                                                                                                                   3
         Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 233 of 358 PAGEID #:4 12381
                                                                                        of 9
  From: +16142041050 Matthew Borges

  I won’t. Just wanted you to know it’s definitely happening and my knowledge is first
  hand.
  Status: Read
  Read: 6/26/2019 7:50:47 AM(UTC-4)

                                                                                           6/26/2019 7:50:47 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44CD274 (Table: message, handle, chat; Size: 590159872 bytes)




                                                            From: +16145815826 Juan Cespedes (owner)

                                                            We just need to tighten up legislative language to prevent it. I assume they are aiming for
                                                            2020?
                                                            Status: Sent
                                                            Delivered: 6/26/2019 7:51:08 AM(UTC-4)

                                                                                                                                                     6/26/2019 7:51:07 AM(UTC-4)


                                                          Source Extraction:
                                                          1B10
                                                          Source Info:
                                                          Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44DA4A9 (Table: message, chat; Size: 590159872 bytes)




  From: +16142041050 Matthew Borges

  Not sure.
  Status: Read
  Read: 6/26/2019 7:51:20 AM(UTC-4)

                                                  6/26/2019 7:51:17 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44E7657 (Table: message, handle, chat; Size:
590159872 bytes)




                                                        From: +16145815826 Juan Cespedes (owner)

                                                        Hewit just told me that a California mail firm he knows was contacted abt referendum. That
                                                        is a good data point to allow us to speak abt it without referring to ur experience.
                                                       Status: Sent
                                                       Delivered: 6/26/2019 8:24:25 AM(UTC-4)

                                                                                                                                                     6/26/2019 8:24:23 AM(UTC-4)


                                                     Source Extraction:
                                                     1B10
                                                     Source Info:
                                                     Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44E3844 (Table: message, chat; Size: 590159872 bytes)




                                                        From: +16145815826 Juan Cespedes (owner)

                                                        Calfee prior opinion says that the referendum preventing language isn’t really possible. Who
                                                        else should we have look at this to give advice on tightening the language
                                                       Status: Sent
                                                       Delivered: 6/26/2019 8:26:26 AM(UTC-4)

                                                                                                                                                     6/26/2019 8:26:25 AM(UTC-4)


                                                     Source Extraction:
                                                     1B10
                                                     Source Info:
                                                     Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44D63DA (Table: message, chat; Size: 590159872 bytes)




                                                                                                                                                                                   4
         Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 234 of 358 PAGEID #:5 12382
                                                                                        of 9
  From: +16142041050 Matthew Borges

  Yes. It was a California firm.
  Status: Read
  Read: 6/26/2019 8:27:02 AM(UTC-4)

                                                  6/26/2019 8:26:54 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44E3FA0 (Table: message, handle, chat; Size:
590159872 bytes)




  From: +16142041050 Matthew Borges

  That was Yost’s initial take also.
  Status: Read
  Read: 6/26/2019 8:27:28 AM(UTC-4)

                                                  6/26/2019 8:27:28 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44EF21A (Table: message, handle, chat; Size:
590159872 bytes)




  From: +16142041050 Matthew Borges

  But he said he wasn’t sure
  Status: Read
  Read: 6/26/2019 8:27:43 AM(UTC-4)

                                                  6/26/2019 8:27:43 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44D5BEA (Table: message, handle, chat; Size:
590159872 bytes)




                                                            From: +16145815826 Juan Cespedes (owner)

                                                            We need to get him to interpret the subsidy as a ‘tax’ and the pool of money as
                                                            ‘appropriations’.
                                                            Status: Sent
                                                            Delivered: 6/26/2019 8:33:17 AM(UTC-4)

                                                                                                                                                     6/26/2019 8:33:16 AM(UTC-4)


                                                          Source Extraction:
                                                          1B10
                                                          Source Info:
                                                          Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44D4FA0 (Table: message, chat; Size: 590159872 bytes)




                                                                                                      From: +16145815826 Juan Cespedes (owner)

                                                                                                      Can u call
                                                                                                     Status: Sent
                                                                                                     Delivered: 6/26/2019 9:48:31 AM(UTC-4)

                                                                                                                                                     6/26/2019 9:48:30 AM(UTC-4)


                                                                                                   Source Extraction:
                                                                                                   1B10
                                                                                                   Source Info:
                                                                                                   Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44F0EC9 (Table: message, chat; Size:
                                                                                                   590159872 bytes)




                                                                                                                                                                                      5
         Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 235 of 358 PAGEID #:6 12383
                                                                                        of 9
                                                       From: +16145815826 Juan Cespedes (owner)

                                                       We may need to do a call with John Judge, Kiani and Griffing today on this ballot issue. I’ve
                                                       already asked them to make the $ available to lock up signature firms if we can. NSC is
                                                       gathering the list of reputable firms.
                                                       Status: Sent
                                                       Delivered: 6/26/2019 11:04:41 AM(UTC-4)

                                                                                                                                                   6/26/2019 11:04:41 AM(UTC-4)


                                                     Source Extraction:
                                                     1B10
                                                     Source Info:
                                                     Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44ECFA0 (Table: message, chat; Size: 590159872 bytes)




                                                       From: +16145815826 Juan Cespedes (owner)

                                                       Just want u to run through legal advice side. No need to elaborate on AG. Just speak
                                                       factually abt his role in process of it comes up.
                                                       Status: Sent
                                                       Delivered: 6/26/2019 11:05:48 AM(UTC-4)

                                                                                                                                                   6/26/2019 11:05:47 AM(UTC-4)


                                                     Source Extraction:
                                                     1B10
                                                     Source Info:
                                                     Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44D1B04 (Table: message, chat; Size: 590159872 bytes)




  From: +16142041050 Matthew Borges

  Ok. What time? My day is kind of jacked. I have a lunch meeting at ODOT at 2 and a
  conference call with Cris Carter at 3:30.
  Status: Read
  Read: 6/26/2019 11:10:12 AM(UTC-4)

                                                                                               6/26/2019 11:09:24 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44DE982 (Table: message, handle, chat; Size: 590159872 bytes)




  From: +16142041050 Matthew Borges

  All he does is catch touchdown passes.
  Status: Read
  Read: 6/26/2019 11:10:12 AM(UTC-4)

                                                6/26/2019 11:09:37 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44EBA18 (Table: message, handle, chat; Size:
590159872 bytes)




                                                                                                      From: +16145815826 Juan Cespedes (owner)

                                                                                                      lol
                                                                                                     Status: Sent
                                                                                                     Delivered: 6/26/2019 11:10:19 AM(UTC-4)

                                                                                                                                                   6/26/2019 11:10:19 AM(UTC-4)


                                                                                                   Source Extraction:
                                                                                                   1B10
                                                                                                   Source Info:
                                                                                                   Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44D0849 (Table: message, chat; Size:
                                                                                                   590159872 bytes)




                                                                                                                                                                                      6
         Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 236 of 358 PAGEID #:7 12384
                                                                                        of 9
                                                                                                     From: +16145815826 Juan Cespedes (owner)

                                                                                                     I’ll let u know when it gets scheduled
                                                                                                     Status: Sent
                                                                                                     Delivered: 6/26/2019 11:10:29 AM(UTC-4)

                                                                                                                                                   6/26/2019 11:10:28 AM(UTC-4)


                                                                                                   Source Extraction:
                                                                                                   1B10
                                                                                                   Source Info:
                                                                                                   Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44DD3A6 (Table: message, chat; Size:
                                                                                                   590159872 bytes)




                                                                                                     From: +16145815826 Juan Cespedes (owner)

                                                                                                     Can u be available at 12:15 for call
                                                                                                     Status: Sent
                                                                                                     Delivered: 6/26/2019 11:48:39 AM(UTC-4)

                                                                                                                                                   6/26/2019 11:48:35 AM(UTC-4)


                                                                                                   Source Extraction:
                                                                                                   1B10
                                                                                                   Source Info:
                                                                                                   Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44DADAF (Table: message, chat; Size:
                                                                                                   590159872 bytes)




  From: +16142041050 Matthew Borges

  Fuuuuck. I’d have to cancel the lunch meeting I’m on my way to right now.
  Status: Read
  Read: 6/26/2019 11:50:57 AM(UTC-4)

                                                                              6/26/2019 11:50:08 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44CCFA0 (Table: message, handle, chat; Size: 590159872 bytes)




  From: +16142041050 Matthew Borges

  Any chance 1pm would work??
  Status: Read
  Read: 6/26/2019 11:50:57 AM(UTC-4)

                                                6/26/2019 11:50:45 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44D9BE2 (Table: message, handle, chat; Size:
590159872 bytes)




                                                                                                     From: +16145815826 Juan Cespedes (owner)

                                                                                                     Don’t cancel.
                                                                                                     Status: Sent
                                                                                                     Delivered: 6/26/2019 11:51:17 AM(UTC-4)

                                                                                                                                                   6/26/2019 11:51:16 AM(UTC-4)


                                                                                                   Source Extraction:
                                                                                                   1B10
                                                                                                   Source Info:
                                                                                                   Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44E58AC (Table: message, chat; Size:
                                                                                                   590159872 bytes)




                                                                                                                                                                                      7
         Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 237 of 358 PAGEID #:8 12385
                                                                                        of 9
                                                                                             From: +16145815826 Juan Cespedes (owner)

                                                                                             I’ll try to get u on a separate call
                                                                                             Status: Sent
                                                                                             Delivered: 6/26/2019 11:51:35 AM(UTC-4)

                                                                                                                                           6/26/2019 11:51:35 AM(UTC-4)


                                                                                           Source Extraction:
                                                                                           1B10
                                                                                           Source Info:
                                                                                           Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44CBDA1 (Table: message, chat; Size:
                                                                                           590159872 bytes)




  From: +16142041050 Matthew Borges

  Sorry
  Status: Read
  Read: 6/26/2019 11:52:10 AM(UTC-4)

                                                6/26/2019 11:52:07 AM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44C41C0 (Table: message, handle, chat; Size:
590159872 bytes)




                                                                                             From: +16145815826 Juan Cespedes (owner)

                                                                                             Who is lawyer I need to engage? Zigler?
                                                                                             Status: Sent
                                                                                             Delivered: 6/26/2019 12:34:24 PM(UTC-4)

                                                                                                                                           6/26/2019 12:34:22 PM(UTC-4)


                                                                                           Source Extraction:
                                                                                           1B10
                                                                                           Source Info:
                                                                                           Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44BF999 (Table: message, chat; Size:
                                                                                           590159872 bytes)




  From: +16142041050 Matthew Borges

  John Zeiger
  Status: Read
  Read: 6/26/2019 1:00:05 PM(UTC-4)

                                                6/26/2019 12:57:27 PM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44BC37C (Table: message, handle, chat; Size:
590159872 bytes)




                                                                                             From: +16145815826 Juan Cespedes (owner)

                                                                                             If u get a break between mtgs call me
                                                                                             Status: Sent
                                                                                             Delivered: 6/26/2019 1:02:15 PM(UTC-4)

                                                                                                                                             6/26/2019 1:02:15 PM(UTC-4)


                                                                                           Source Extraction:
                                                                                           1B10
                                                                                           Source Info:
                                                                                           Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44B8FA0 (Table: message, chat; Size:
                                                                                           590159872 bytes)




                                                                                                                                                                              8
         Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 238 of 358 PAGEID #:9 12386
                                                                                        of 9
                                                                                             From: +16145815826 Juan Cespedes (owner)

                                                                                             Can u join quick call now
                                                                                             Status: Sent
                                                                                             Delivered: 6/26/2019 1:45:09 PM(UTC-4)

                                                                                                                                            6/26/2019 1:45:08 PM(UTC-4)


                                                                                           Source Extraction:
                                                                                           1B10
                                                                                           Source Info:
                                                                                           Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44C7FA0 (Table: message, chat; Size:
                                                                                           590159872 bytes)




  From: +16142041050 Matthew Borges

  Yes
  Status: Read
  Read: 6/26/2019 1:48:11 PM(UTC-4)

                                                  6/26/2019 1:48:07 PM(UTC-4)


Source Extraction:
1B10
Source Info:
Juan’s iPhone/mobile/Library/SMS/sms.db : 0x44C32BC (Table: message, handle, chat; Size:
590159872 bytes)




                                                                                                                                                                              9
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 239 of 358 PAGEID #: 12387
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 240 of 358 PAGEID #:2 12388
                                                                               of 4




                                                                       TIER 3 - 393874
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 241 of 358 PAGEID #:3 12389
                                                                               of 4




                                                                       TIER 3 - 393875
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 242 of 358 PAGEID #:4 12390
                                                                               of 4




                                                                       TIER 3 - 393876
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 243 of 358 PAGEID #: 12391
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 244 of 358 PAGEID #:2 12392
                                                                               of 3




                                                                       TIER 3 - 393871
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 245 of 358 PAGEID #:3 12393
                                                                               of 3




                                                                       TIER 3 - 393872
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 246 of 358 PAGEID #: 12394
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 247 of 358 PAGEID #: 12395
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 248 of 358 PAGEID #: 12396
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 249 of 358 PAGEID #: 12397
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 250 of 358 PAGEID #: 12398
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 251 of 358 PAGEID #: 12399
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 252 of 358 PAGEID #: 12400
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 253 of 358 PAGEID #: 12401
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 254 of 358 PAGEID #: 12402
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 255 of 358 PAGEID #: 12403
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 256 of 358 PAGEID #: 12404
  Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 257 of 358 PAGEID 2
                                                                             #:of12405
                                                                                  11

                                                   Mike Dowling - iPad - DLXYMOZ3KC51



                                            From dowlingm@firstenergycorp.com Michael Dowling (owner)

                                            For what it's worth, Sammy says John Judge is with him and does a nice job with legislators.
                                            I tell you that because John Kiani doesn't think John Judge is effective with legislators. I
                                            think he's wrong. I'll tell Kiani the same now.
                                            Status: Sent
                                                                                                                        7/23/2019 9:20:46 AM(UTC-4)




                                            From dowlingm@firstenergycorp com Michael Dowling (owner)

                                            Justin Blitz and I are at NARUC and have a planned meeting with BPU President Joe
                                            Fiordaliso in 20 mins. We are on the phone with Jim Fakult now. A lot of customers still out.
                                            Hard hitting storm.
                                            Status: Sent
                                                                                                                        7/23/2019 9:23:26 AM(UTC-4)




  From +13304726068 Charles Jones
  To Dowling, Mike (owner)

  I'm hearing the Judge/Kiani marriage isn't going that well. Creditors need to ship Kiani back
  to Houston and let Judge be CEO. Matt Kimble from Avenue not high on Judge either but
  I'm afraid he's forming opinions based on what Kiani is saying too.

     Participant                Delivered              Read                       Played
     Dowling, Mike


  Status: Read
                                                                              7/23/2019 9:24:11 AM(UTC-4)




  From +13304726068 Charles Jones
  To Dowling, Mike (owner)

  Pass on your thoughts on Judges help in \NV and Ohio to Benz when you get the
  chance.

     Participant              Delivered            Read                  Played
     Dowling, Mike


  Status: Read
  Delivered: 7/23/2019 9:25:00 AM(UTC-4)
  Read: 7/23/2019 9:25:00 AM(UTC-4)
                                                                   7/23/2019 9:24:45 AM(UTC-4)




                                                                                    From: dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                                                    Ok
                                                                                   Status: Sent
                                                                                                                        7/23/2019 9:25:12 AM(UTC-4)




                                                               From dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                               Boom! Congrats. This doesn't happen without ceo leadership.
                                                               Attachments:




                                                                Size: 395318
                                                                File name: Image-1.jpeg
                                                                I mage-1.jpeg

                                                               Status: Sent
                                                                                                                       7/23/2019 11:39:47 AM(UTC-4)




FOIA CONFIDENTIAL TREATMENT REQUESTED                                                                                                   FE_00069655
                                                                                                                               TIER 3 - 454069
  Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 258 of 358 PAGEID 3
                                                                             #:of12406
                                                                                  11

                                                         Mike Dowling - iPad - DLXYMOZ3KC51



  From +13304726068 Charles Jones
  To Dowling, Mike (owner)

  We made a bbiiiiiiig bet and it paid off. Actually, 2 big bets. Congrats to you and the entire
  team! See if Matt has any Pappy and we'll all head to Columbus tonight.

     Participant                  Delivered                 Read                       Played
     Dowling, Mike


  Status: Read
                                                                                    7/23/2019 11:42:38 AM(UTC-4)




                                                         From dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                         Huge bet and we played it all right on the budget and HB 6 - so we can go back for
                                                         more!
                                                        Status: Sent
                                                                                                                            7/23/2019 11:49:13 AM(UTC-4)




                                                                       From dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                                       No party tonight. We are going to plan one with the Speaker later.
                                                                       Status: Sent
                                                                                                                            7/23/2019 11:49:28 AM(UTC-4)




                                                                                         From: dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                                                         You should call the Speaker today.
                                                                                         Status: Sent
                                                                                                                            7/23/2019 11:50:03 AM(UTC-4)




  From: +13304726068 Charles Jones
  To: Dowling, Mike (owner)

  Already texted him:

     Participant      Delivered         Read             Played
     Dowling, Mike


  Status: Read
  Delivered: 7/23/2019 11:58:43 AM(UTC-4)
  Read: 7/23/2019 11:58:43 AM(UTC-4)
                                              7/23/2019 11:58:40 AM(UTC-4)




  From +13304726068 Charles Jones
  To Dowling, Mike (owner)

  Thank you for your leadership! Bob and Betty are better off under your watch than they
  have been in a long time! Let me know when you have time for a quick chat.

     Participant                  Delivered                 Read                       Played
     Dowling, Mike


  Status: Read
                                                                                    7/23/2019 11:58:50 AM(UTC-4)




                                                                                         From: dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                                                         Great! Thanks.
                                                                                         Status: Sent
                                                                                                                            7/23/2019 11:59:07 AM(UTC-4)




FOIA CONFIDENTIAL TREATMENT REQUESTED                                                                                                        FE_00069656
                                                                                                                                    TIER 3 - 454070
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 259 of 358 PAGEID #: 12407
  Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 260 of 358 PAGEID 5
                                                                             #:of12408
                                                                                  11

                                                     Mike Dowling - iPad - DLXYMOZ3KC51



  From: +13304726068 Charles Jones
  To: Dowling, Mike (owner)

  Pleasants or HB6?

     Participant      Delivered        Read           Played
     Dowling, Mike


  Status: Read
                                           7/23/2019 2:16:43 PM(UTC-4)




                                                                                  From: dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                                                  DeWine.
                                                                                 Status: Sent
                                                                                                                      7/23/2019 2:17:20 PM(UTC-4)




                                                                                  From: dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                                                 Good question
                                                                                 Status: Sent
                                                                                                                      7/23/2019 2:17:35 PM(UTC-4)




  From: +13304726068 Charles Jones
  To: Dowling, Mike (owner)

   Is Justice on board with the \NV change?

     Participant      Delivered        Read           Played
     Dowling, Mike


  Status: Read
  Delivered: 7/23/2019 2:18:20 PM(UTC-4)
  Read: 7/23/2019 2:18:20 PM(UTC-4)
                                           7/23/2019 2:18:10 PM(UTC-4)




                                                                                  From: dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                                                  100^
                                                                                 Status: Sent
                                                                                                                      7/23/2019 2:18:29 PM(UTC-4)




                                                                                  From: dowlingm@firstenergycorp.com Michael Dowling (owner)
                                                                                  cyo

                                                                                 Status: Sent
                                                                                                                      7/23/2019 2:18:32 PM(UTC-4)




                                               From dowlingm@firstenergycorp.com Michael Dowling (owner)

                                               I think you should call Governor Dewine and President Obhof. DeWine for sure. Just thank
                                               them and touch on importance to Ohio and Akron. Quick calls if that's possible.
                                              Status: Sent
                                                                                                                      7/23/2019 2:44:33 PM(UTC-4)




FOIA CONFIDENTIAL TREATMENT REQUESTED                                                                                                 FE_00069658
                                                                                                                             TIER 3 - 454072
  Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 261 of 358 PAGEID 6
                                                                             #:of12409
                                                                                  11

                                                   Mike Dowling - iPad - DLXYMOZ3KC51



  From: +13304726068 Charles Jones
  To: Dowling, Mike (owner)

  Get me the numbers I should call them on. I have Goys cell, not Obhof

     Participant            Delivered           Read                   Played
     Dowling, Mike


  Status: Read
  Delivered: 7/23/2019 3:02:31 PM(UTC-4)
  Read: 7/23/2019 3:02:31 PM(UTC-4)
                                                                 7/23/2019 2:45:58 PM(UTC-4)




                                            From: dowlingm@firstenergycorp.com Michael Dowling (owner)

                                            https://www.cleveland.com/open/2019/07/nuclear-subsidy-opponents-already-working-to-
                                            hold-referendum-on-ohio-house-bill-6.html
                                            Attachments:




                                             Size. 11530
                                             File name. A96AC056-6691-4FC5-98D6-487CC00B30EF.pluginPayloadAttachment
                                             A96AC056-6691-4FC5-98D6-487CCO0B3OEF.pluginPayloadAttachment




                                             Size. 1736415
                                             File name. 69950CFB-E73E-4F8D-BB6A-B418EB0A4469.pluginPayloadAttachment
                                             69950CFB-E73E-4F8D-BB6A-B418EBOA4469.pluginPayloadAttachment

                                            Status: Sent
                                                                                                                         7/23/2019 5:51:09 PM(UTC-4)




                                                                                  From: dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                                                  I think Frank LaRose is going to call you.
                                                                                  Status: Sent
                                                                                                                         7/23/2019 8:14:41 PM(UTC-4)




  From +13304726068 Charles Jones
  To Dowling, Mike (owner)

  Talked to Frank. Talked to Eklund, Gov, Lt Gov, texts with Sam and LH. Talked to Anthony 5
  minutes ago. Told him next time we really need something I hope we can actually get his
  vote

     Participant                Delivered              Read                        Played
     Dowling, Mike


  Status: Read
  Delivered: 7/23/2019 8:30:59 PM(UTC-4)
  Read: 7/23/2019 8:30:59 PM(UTC-4)
                                                                                7/23/2019 8:30:57 PM(UTC-4)




                                            From dowlingm@firstenergycorp.com Michael Dowling (owner)

                                            That had to sting him a bit. Ha. Check out the Energy Daily I just sent to your email. Articles
                                            on our decommissioning of TMI and HB6. As you know, the street reads the Energy Daily.
                                            Status: Sent
                                                                                                                         7/23/2019 8:32:38 PM(UTC-4)




FOIA CONFIDENTIAL TREATMENT REQUESTED                                                                                                    FE_00069659
                                                                                                                                TIER 3 - 454073
  Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 262 of 358 PAGEID 7
                                                                             #:of12410
                                                                                  11

                                                    Mike Dowling - iPad - DLXYMOZ3KC51



  From: +13304726068 Charles Jones
  To: Dowling, Mike (owner)

  We had a good talk. I'll be ready tomorrow. Just spent 3 hours with Tony George.
  Perspective!

     Participant              Delivered              Read                 Played
     Dowling, Mike


  Status: Read
  Delivered: 7/23/2019 8:40:16 PM(UTC-4)
  Read: 7/23/2019 8:40:16 PM(UTC-4)
                                                                       7/23/2019 8:36:07 PM(UTC-4)




                                                                                   From: dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                                                Yep
                                                                               Status: Sent
                                                                                                                       7/23/2019 8:40:25 PM(UTC-4)




                                                                         From: dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                                         I talked to Sonny Nardi today. We said the same.
                                                                         Status: Sent
                                                                                                                       7/23/2019 8:40:42 PM(UTC-4)




                                            From dowlingm@firstenergycorp.com Michael Dowling (owner)

                                            I'll leave you alone but there's a lot going on. Governor Murphy will be at our staging site
                                            tomorrow morning 8 am - which will create news. He's being very helpful as is Joe
                                            Fiordaliso- so far.
                                            Attachments:




                                             Size. 290867
                                             File name. Image-1.jpeg
                                             I mage-1.jpeg

                                            Status: Sent
                                                                                                                       7/23/2019 8:42:20 PM(UTC-4)




  From: +13304726068 Charles Jones
  To: Dowling, Mike (owner)

   If I need to call him after the earnings call, let me know. Or if I need to go there, we'll figure
   it out.

     Participant                Delivered               Read                 Played
     Dowling, Mike


  Status: Read
                                                                           7/23/2019 8:43:21 PM(UTC-4)




                                                                                   From: dowlingm@firstenergycorp.com Michael Dowling (owner)

                                                                                Okay. Hope not, but okay.
                                                                               Status: Sent
                                                                                                                       7/23/2019 8:43:39 PM(UTC-4)




FOIA CONFIDENTIAL TREATMENT REQUESTED                                                                                                  FE_00069660
                                                                                                                              TIER 3 - 454074
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 263 of 358 PAGEID #: 12411
   Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 264 of 358 PAGEID #:912412
                                                                                  of 11

                               Mike Dowling - iPad - DLXYMOZ3KC51




FOIA CONFIDENTIAL TREATMENT REQUESTED                                             FE_00069663
                                                                           TIER 3 - 454077
                 Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 265 of 358 PAGEID #: 12413       10 of 11

                                             Mike Dowling - iPad - DLXYMOZ3KC51




FOIA CONFIDENTIAL TREATMENT REQUESTED                                                                     FE_00069664
                                                                                                       TIER 3 - 454078
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 266 of 358 PAGEID #: 12414
                                                                              1 of 3
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 267 of 358 PAGEID #: 12415
Session TIER3‐8452


                             UNITED STATES DEPARTMENT OF JUSTICE                  522B
                              FEDERAL BUREAU OF INVESTIGATION
                                     2012 Ronald Regan Drive
                                      Cincinnati, Ohio 45236

                                           Session TIER3‐8452

        File Number:                       194A‐CI‐3126966
        Date:                              5/1/2019
        Time Recording Starts:             1:03:50
        Time Recording Ends:               1:05:35
        Agent:                             SA Blane J. Wetzel


Participants:
        Neil Clark
        UC Brian



Abbreviations:
       Unintelligible                      UI
       Inaudible                           IA
       Phonetic                            PH
       Overlapping Voices                  OV




                                                                                           1


                                                                        TIER 3 - 1729596
                                                                              2 of 3
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 268 of 358 PAGEID #: 12416
Session TIER3‐8452




1:03:50 [Start of transcript]


UC Brian:    I do, I do. But you see why we do it. I don’t, I don’t give a campaign donation ever.

Clark:       (OV) I, I told you not to ever give, uh (UI).

UC Brian:    Never. (UI) Well, yeah, you did, but when I first met you I said, I you, and you…

Clark:       (OV) I told you not to give.

UC Brian:    …can go look in that track record, no matter what state I’ve been in, never ever give
             campaign (UI).

Clark:       (OV) Don’t ever give. Don’t ever give. Never.

UC Brian:    Because our name’s attached.

Clark:       Giving, giving money is like putting a fucking bullseye on your forehead and saying kill me,
             kill me. I’d say to you.

UC Brian:    (OV) I don’t mind giving money, I just don’t want to do it with campaign contributions.

Clark:       (OV) No look, I said (c)4s, I said (c)4s.

UC Brian:    That’s what you did.

Clark:       I, I said (c)4s.

UC Brian:    How’s that work here differently than anywhere else, how do they benefit from it?

Clark:       It’s secret, a (c)4 is secret, nobody knows. The money goes to the Speaker’s account. It is
             uh, controlled by his people, I’m one of his people.

UC Brian:    Yeah.

Clark:       And, and nobody, it’s not recorded. A (c)4 is a non‐recorded.

UC Brian:    So when we first met, like when you thought we were somebody else. We told you we had
             X amount of money set aside for, and we said X. Then we said, then we…

Clark:       (OV) And I said don’t do it.

UC Brian:    …then we started talking, you said, no, make sure you have enough, and we said we did.
             When, when do we need to play that card?


                                                                                                            2


                                                                                             TIER 3 - 1729597
                                                                              3 of 3
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 269 of 358 PAGEID #: 12417
Session TIER3‐8452


Clark:       I don’t think we, right now I think, I think this is actually going better than I thought it
             would. I actually thought, when I was down in Cincinnati, I told you I need to register pretty
             soon. I didn’t need to.

UC Brian:    Yeah.

Clark:       It’s actually flowing in a different way. You may not need to put a fucking penny into this
             place. You may get what you want by just waiting to manipulate the system.

UC Brian:    Yeah.

Clark:       I, if, if you do put money in.

UC Brian:    (OV) Well I hope you’re right. This would be the first time that’s ever happened in the
             history of any deal I’ve made, but I hope we’re right.

Clark:       If, if you do do it, it’ll be in a (c)4 that’ll never be reported.

UC Brian:    Okay.

1:05:35 [End of transcript]




                                                                                                           3


                                                                                             TIER 3 - 1729598
                                                                              1 of 8
Case: 1:20-cr-00077-TSB Doc #: 302 Filed: 05/22/24 Page: 270 of 358 PAGEID #: 12418
Session TIER3‐8458


                             UNITED STATES DEPARTMENT OF JUSTICE                   525B
                              FEDERAL BUREAU OF INVESTIGATION
                                     2012 Ronald Regan Drive
                                      Cincinnati, Ohio 45236

                                       Session TIER3‐8458

        File Number:                       194A‐CI‐3126966
        Date:                              6/6/2019
        Time Recording Starts:             0:06:50
        Time Recording Ends:               0:14:24
        Agent:                             SA Blane J. Wetzel


Participants:
        Neil Clark
        UC Brian
        Waitress


Abbreviations:
       Unintelligible                      UI
       Inaudible                           IA
       Phonetic                            PH
       Overlapping Voices                  OV




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0:06:50 [Start of Transcript]

UC Brian:    I don’t really need the subsidies to be honest with you.

Clark:       (IA, OV) Let’s do it this, well, they’re actually, what’s going to happen if this bill doesn’t come
             out of the Senate, I’m going to strip part of this bill out. Move the subsidies and the mandates
             out, um. Don’t talk to Bill Seitz about, don’t do anything with Bill Seitz yet.

UC Brian:    With what, green energy?

Clark:       (IA) About, yeah, don’t, don’t say anything to Bill. Focus on‐‐

UC Brian:    About green energy?

Clark:       Yeah.

UC Brian:    Right.

Clark:       Focus only on, focus only on…

UC Brian:    (OV) Sports.

Clark:       …sports and in about a week, text me. Text me the following words, what about, what about
             energy?

UC Brian:    Green energy.

Clark:       No, don’t (UI).

UC Brian:    Energy.

Clark:       Just do, what about energy? I’ll know what the fuck you’re talking about. Okay, I don’t need
             you to, just what about energy. You know, and that, then I’ll, I will have by then, get a pretty
             good idea where this (IA).

UC Brian:    But that’s going to cost me money, soft dollars, more than this fucking sports shit. (IA)

Clark:       (IA, OV)

UC Brian:    Yes it will. Bullshit. It’s every, no.

Clark:       (OV) Oh you’re talking about, because the get, it’s a get.

UC Brian:    Uh, I’m, absolutely.

Clark:       (IA, OV)

UC Brian:    If you tell me it’s not going to happen here, I’m going to tell you the same last thing I said last

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             time I met you.

Clark:       No, no, no.

UC Brian:    It’ll be the first time in history…

Clark:       (OV) No, no, no. (IA)

UC Brian:    …that I have not had to push soft dollars.

Clark:       Yeah no, you’re, you’re probably right about that one.

UC Brian:    Alright.

Clark:       You, you are right about that. I think that’s a legitimate statement, that it will cost you more
             than sports. You, you could be right.

UC Brian:    (OV) Yes.

Clark:       You, you, you’re probably right, you’re probably right. But at least, at least, again, a week
             from Tuesday, not this Tuesday, a week from Tuesday, text me that, that message and I’ll tell
             you where we’re at.

UC Brian:    But who do we, who do we focus on there?

Clark:       On that one?

UC Brian:    On green energy?

Clark:       Um‐‐

UC Brian:    If I’m going to have to spend money, where’s that going to go?

Clark:       It will, it’ll all be, no, we’re done. (IA)

Waitress:    Do you want dessert?

UC Brian:    I’m good.

Clark:       No, I’m good. (IA)

UC Brian:    Shit no.

Waitress:    No? Okay.

Clark:       I’m ready to go home.

UC Brian:    Thank you.

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Clark:       Um. The people that are going to carry green energy would be the Governor and the Senate.
             It won’t be Larry, Larry is not a green energy guy.

UC Brian:    Right. Nor should he be.

Clark:       Um‐‐

UC Brian:    He’s conservative.

Clark:       Right. He, he, you.

UC Brian:    And, and guess what I am too, but I know where my money’s going.

Clark:       Yeah. He, he, but, see the Governor doesn’t want to give away, doesn’t want to give away
             these things. So what I’ve been trying to do, is that I don’t want to do the mandates anymore.
             Larry doesn’t want the mandates. What I’m trying to say is that we’ll give you a substantial
             subsidy. I mean, huge subsidy.

UC Brian:    Yeah.

Clark:       Um‐‐

UC Brian:    The Governor will?

Clark:       Yeah. I mean huge. Um, you share in a pot of $200,000,000 a year.

UC Brian:    (OV) Sure. Yeah, oh yeah.

Clark:       Yeah. (IA) And you don’t need, that way nobody, nobody’s bitching about a mandate.

UC Brian:    Right.

Clark:       (IA)

UC Brian:    Thank you dear.

Waitress:    Uh‐huh you’re welcome.

Clark:       Um‐‐

UC Brian:    Appreciate it.

Clark:       So that’s what I’m saying. And Bill Seitz isn’t in that discussion. The, the, the, the, the Speaker
             is in that discussion. I have said to the Speaker, if we can’t move this bill a different way, we
             are actually going to have to put some of the stuff back in. And by putting the stuff back in,
             may mean, may mean very well, that energy efficiencies…


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UC Brian:    Mm‐hmm.

Clark:       …solar, and wind have to have a win. A win. He said, I don’t want that. I said, uh. You know,
             no offense.

UC Brian:    (OV) I don’t need a big win. I don’t need a big win.

Clark:       I know, I, I‐‐

UC Brian:    (OV) You know. You know.

Clark:       Okay. Alright, I know. One of the reasons I turned down the other company is that they
             wanted to go through a law firm. And the law firm wanted to regulate how I did my work.

UC Brian:    Oh, buddy, I understand. It’s what I did in Maryland.

Clark:       And I said to these guys, you know, the reason that they want to regulate that they want to
             know what my contacts are with the Speaker. And I just‐‐

UC Brian:    Every time I farted, he’d, he’d bill me $650.

Clark:       (OV) I just. Yeah I’m not doing that shit.

UC Brian:    And I’m okay with some of that…

Clark:       (IA, OV) I’m not giving you any fucking (IA).

UC Brian:    …but I get so fucking pissed.

Clark:       I’m not giving you any fucking, yeah. (Laughter)

UC Brian:    This motherfucker. God, oh my, I’m the best environmentalist, uh, lawyer in the, in the
             northeast. (Laughter) He got, uh, fuck, I could tell you stories until I turn blue in the face. He
             got me meetings with the Lieutenant Governor, the Governor, we were at Belmont together.
             We, it was awesome. At the end of the day, fucking got zero.

Clark:       (IA)

UC Brian:    Hundreds of thousands of soft money.

Clark:       (IA, OV) This is, this (IA), that’s the thing, this is why.

UC Brian:    (OV) Hundreds of soft money. Soft money, not hard money (OV).

Clark:       (OV) Okay. I know, I know. And, and‐‐

UC Brian:    Fucking livid.


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Clark:       (OV, IA) It’s, that’s why I told you I didn’t want to do it. I’ve been here too many times.

UC Brian:    But here’s the thing buddy, here’s the thing. I don’t know that you, Neil, I don’t give a shit. It
             takes that to make money.

Clark:       Sometimes. It‐‐

UC Brian:    Bullshit.

Clark:       No.

UC Brian:    Okay.

Clark:       No. Here, you know when, when a politician’s heart is right, that is, that you know that
             someone’s going to be a champion…

UC Brian:    Mm‐hmm.

Clark:       …then you go all out. But you, here, I have to tell you that on HB6 the Governor took that,
             about $3,000,000 from FirstEnergy.

UC Brian:    For what?

Clark:       $3,000,000 from the utility company for his soft dollar (c)4.

UC Brian:    Did he?

Clark:       Yeah, and when they needed him, you know what he did?

UC Brian:    Turned his back.

Clark:       Now he wants to come in, now that it’s passed the House, he wants to help in the Senate. And
             I’m going, fuck you, what are you going to do? Are you actually going to help or are you
             actually going to be a pussy?

UC Brian:    Right.

Clark:       And so my, my problem with the whole thing is that when people say they’re going to do
             something, and you give that kind of money, and when you’re talking about that kind of
             money…

UC Brian:    Yeah.

Clark:       …$3,000,000. Larry, the, the Senate, the, the Speaker took a million and a half, two. But he
             went to war for them.

UC Brian:    Sure.


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Clark:       He even went and beat them to death.

UC Brian:    Right. He took, two, two point five million of soft money?

Clark:       Yeah.

UC Brian:    But he went, but he went head charging on. Right?

Clark:       Yeah. The Governor, when he knew that Larry didn’t have his votes, ran away from him. Now
             he wants to come back because now it’s all of a sudden going to pass the House, and so the
             Speaker’s trying, the, the Governor is trying to reclaim himself.

UC Brian:    Mm‐hmm.

Clark:       Those are not the people I want to be around.

Waitress:    I’ll be right back.

UC Brian:    Oh, you’re good.

Waitress:    Oh, thank you so much. Have a good evening.

Clark:       Those are the people I don’t want to be around. Because those kind of people are the ones
             that, they weren’t there for you, they were there to take your fucking money.

UC Brian:    Right.

Clark:       And when, when it’s easy to get it done, they’ll get it done for you.

UC Brian:    Yeah.

Clark:       That’s how it happens in Ohio. When it’s easy, they’ll do it. When it’s hard, they won’t.

UC Brian:    Yeah.

Clark:       Only a few, who go to the wall.

UC Brian:    Yeah.

Clark:       Those guys that go to the wall can only do it once a year because if they do it all the time,
             everybody knows they’re pay to play.

UC Brian:    Well.

Clark:       And, and it kills you.

UC Brian:    Sure.


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Clark:       It kills you politically and then each time that that happens, they have less power every time
             out.

UC Brian:    But here’s my problem. How, how, how do they get exposed with the pay to play? It’s
             stupidity?

Clark:       They, they, it’s stupidity.

UC Brian:    Who talks about it? It’s, it’s, it’s‐‐

Clark:       (IA, OV) Here…

UC Brian:    (OV) That’s my problem. Here’s what I don’t fucking.

Clark:       (IA, OV) The people that get aggrieved. The people that are aggrieved, leak it.

UC Brian:    How are they aggrieved? If I, if I, if I give‐‐

Clark:       If I give you $3,000,000 and you don’t help me, somebody that’s‐‐

UC Brian:    Don’t do three million, do three hundred thousand.

Clark:       I know but, but these guys‐‐

UC Brian:    I know, I know, I know.

Clark:       These are huge. This, this Governor, this Governor was not doing well with polls, (IA) he was
             not a sure winner. Everybody, you know. It, it, it, it wasn’t a guaranteed win, and so all that
             soft money was really necessary to victory.

0:14:24 [End of transcript]




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                            UNITED STATES DEPARTMENT OF JUSTICE                  527B
                             FEDERAL BUREAU OF INVESTIGATION
                                    2012 Ronald Regan Drive
                                     Cincinnati, Ohio 45236

                                      Session TIER3‐8472

        File Number:                       194A‐CI‐3126966
        Date:                              7/23/2019
        Time Recording Starts:             Multiple Segments
        Time Recording Ends:               Multiple Segments
        Agent:                             SA Blane J. Wetzel


Participants:
        Neil Clark
        UC Brian
        UC Vinny
        CHS


Abbreviations:
       Unintelligible                      UI
       Inaudible                           IA
       Phonetic                            PH
       Overlapping Voices                  OV




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0:00:00

UC Brian:    Alright, UCE seventy‐six, seventy‐seven sixty, wait.

CHS:         Mm‐hmm.

UC Brian:    Yeah, we’re good now. UCE seventy‐seven sixty, UCE.

UC Vinny:    Thirty‐one twenty‐nine.

UC Brian:    And Tango One. Time is approximately 6:08 on July 23rd, 2019. Recorded conversation in
             Nashville with Neil Clark.

(UI)

UC Brian:    Hey, Chris, you can grab him one of these. He’ll drink, that’s what he wants.

Clark:       How you doing?

UC Brian:    What’s up brother? How are you?

Clark:       Good. How are you doing?

UC Brian:    You walk all the way here?

Clark:       (UI)

UC Brian:    What?

Clark:       (UI)

UC Brian:    Are you serious? (Laughter)

(UI)

UC Brian:    Rob is, uh, Rob is sick, horribly sick.

Clark:       Is he really?

UC Brian:    Yeah, so I told him to keep his ass home. Hit the up button if you don’t mind? Um, it’s not a
             bad walk, it’s not far.

Clark:       Oh no, exactly, you know.

UC Brian:    You came down Fifth and…

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Clark:       Yeah.

UC Brian:    …cut over on Broad.

Clark:       Yeah, it’s no big deal. No, it’s (UI).

UC Brian:    (UI)

Clark:       What?

UC Brian:    (UI)

Clark:       Yeah, sorry. Thank you.

UC Brian:    Good.

Clark:       Excellent.

UC Brian:    It’s got to be cooler up there. It’s hot as shit right here, don’t know why. It’s weird (UI).

Clark:       So what is this street? What is all this? This is?

UC Brian:    So this is Broad that you walked down with all the bars on it and this is Second.

Clark:       This is where the music and stuff is?

UC Brian:    Yes. Live music, yeah.

Clark:       This whole area is like the entertainment area for Nashville?

UC Brian:    (OV) Yeah. Mm‐hmm. Music Row is right here. This is where all the bars, this is where
             everybody tries to start to become somebody.

Clark:       (OV) Oh really? That’s cool.

UC Brian:    Yeah, so everybody if you, when we go out tonight, you’ll see everybody who sings is pretty
             damn good.

Clark:       Yeah.

UC Brian:    I mean, they got to be right?

Clark:       Yeah.

UC Brian:    They’re trying to be here.

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Clark:       Right.

UC Brian:    But, yeah, so drive’s pretty easy isn’t it?

Clark:       It’s too fucking easy.

UC Brian:    I know.

Clark:       (UI)

UC Brian:    I rather do that then fly.

(UI)

UC Brian:    There’s the boy, you remember Chris, don’t you?

(UI)

UC Brian:    Oh yeah, just watch yourself on these carpets. They fucking, I had some people put some
             stuff down and the, the‐‐

(UI)

Clark:       …downloaded it to myself.

UC Brian:    Alright.

CHS:         You want, you want me to, uh, yeah hold on.

UC Brian:    You want a vodka tonic or, uh, vodka cranberry?

Clark:       Yes please.

UC Brian:    You want tonic in it?

Clark:       No, thank you.

UC Brian:    (UI) send it to B. Bennett, uh, Solutions and he’ll be able to pick it up.

CHS:         Do you want any cranberry in that?

UC Brian:    Yeah.

Clark:       No, thank you. Cranberry juice.

CHS:         (OV) You just want a straight vodka tonic?
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Clark:       No, no, no, no. Just vodka, vodka.

UC Brian:    (OV) No tonic, just vodka cranberry.

CHS:         Vodka cranberry.

Clark:       Bennett?

UC Brian:    Yeah.

Clark:       Okay.

UC Brian:    B. Bennett…

CHS:         (UI)

UC Brian:    B. Bennett Solutions.

Clark:       Okay, B. Oh B. Bennett.

UC Brian:    B. Bennett, yes.

Clark:       Right?

UC Brian:    Yeah, yeah, E‐T. B‐E‐N‐N‐E‐T‐T. Solutions, plural. You got an R in there. Now you got an O in
             there. Give me that thing.

Clark:       Here, you do that. And the, those are all the documents.

CHS:         Now what were you saying?

Clark:       I’m sending all this stuff on energy efficiency that, that, that passed today and became law.

CHS:         Oh, wow. Was it this, it was today?

Clark:       Yeah, it happened today. He, he, he flew everybody in. You’re going to have three
             documents.

(UI)

Clark:       Make sure, okay, maybe four. It’s got everything you need on, on the energy efficiency that
             they, they continued it until 2021.

CHS:         Okay.

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Clark:       And then they, and then they moved it, instead of the caps that you had before they moved
             it to a (UI) 17.5%. You’re going to have to look at it and tell me what’s going on because I
             (UI) I really most of this happened so quickly. (UI) The House took it all out. The Senate put
             it back in. Then by the time it went through, uh, the last (UI) committee they stripped out.
             They, they condensed what energy efficiency could do. They lowered all the standards for…

UC Brian:    Hold on (UI).

Clark:       …for wind and solar. Okay, so they took all those mandates in Ohio, and they cut them in
             like half.

CHS:         So are you thinking most of this stuff and I’ll get him to send it to me. But, but, um, you
             thinking this stuff is mostly like um, are they basing it on how much energy you’re using or‐‐

Clark:       That’s why you got to look.

CHS:         Okay, no I’ll look at it.

Clark:       They, they did it as a total combined at 17.5% of something.

CHS:         Okay.

Clark:       So.

CHS:         Yeah, I'll know it once I look at it.

Clark:       Because they, they were, they were, the Republicans really didn’t want any energy
             efficiency at all.

CHS:         Okay, okay.

Clark:       So they took it all out in the House.

CHS:         Okay.

Clark:       Stripped it out and then in the Senate, they put it back in…

UC Brian:    Hand me my phone.

Clark:       …and then as it was getting closer (UI) legislation was going to pass and they didn’t want to
             do a conference committee they started making changes.

Clark:       How you doing?

UC Vinny:    How are you?

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Clark:       Good.

UC Brian:    You remember Vinny.

Clark:       Yes, I do.

UC Vinny:    Good to see you again.

Clark:       It’s good to see you. (UI) They started making changes in that they (UI) this is what you see
             now. Alright? This is‐‐

CHS:         Alright.

Clark:       Now the other thing to it, is that they’re trying to, um, a group of people who do, do what’s
             called a referendum. They’ll take the bill and they have ninety days to collect signatures to
             put it on the ballot. But because the ballot can’t be done until next year, it has to be a, in a,
             uh, general election, but they already missed the date for this November which was July 3rd.
             It goes to 2020. So if they spend the five, six million dollars to collect the signatures, they…

UC Vinny:    Salud.

Clark:       …will stay the bill. Salud. They will stay the bill until 2020 which will effectively put
             FirstEnergy out of business.

CHS:         Okay.

Clark:       But, you know, it’s a highly, I’m working on that campaign to make sure (UI).

UC Brian:    And FirstEnergy is what?

CHS:         (OV) Um, yeah that’s what I was going to ask. Who’s FirstEnergy? I’m naïve.

Clark:       Nuclear power plant. Two nuclear power plants. This is, this is the same subsidy but it’s the
             same, it’s a similar subsidy that was given to Michigan and, not Michigan, New York,
             Indiana.

CHS:         Okay.

Clark:       Who would have nuclear power plants and they gave them. There’s, there’s three states
             that have nuclear power plants and they, they (IA)…

UC Brian:    (OV) Uh, South Carolina has one.

Clark:       …sub, substantial subsidies. I’m talking three hundred million a year for ten years. You
             know, some were even longer than that. So you’re talking about three billion dollars, kind
             of routine. In Ohio, the subsidy’s about one point two billion to effectively bailout the
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             nuclear power plants.

CHS:         Okay.

Clark:       But in order to make sure that the consumer’s bill was kept to a minimum, that the, the
             consumers weren’t going to be paying these additional rates, they got rid of all the
             mandates in the House. Okay, all those mandates that were the RPS, uh, energy efficiency
             mandates that were…

UC Vinny:    Right.

Clark:       …in Ohio that were really high and they’re about to go up next year, they got rid of all
             those. And then when they went in the Senate, they started putting them back in. So, what
             you see in this bill is the best that could be done to put back in for energy efficiency.

CHS:         Okay.

Clark:       Alright.

CHS:         What, um, does, does Ohio have any nuclear energy?

Clark:       Mm‐hmm.

CHS:         You guys do?

Clark:       Yeah, two plants that produce, uh, 90% of all the clean energy in the state of Ohio.

CHS:         No kidding. Where are they located?

Clark:       Right on, uh, Lake Erie.

CHS:         Yeah, they’d have to be on a lake.

Clark:       One’s, one’s close to Sandusky and the other is closer to, uh, Lordstown.

CHS:         Sandusky, that’s a bad word.

UC Brian:    Yeah.

CHS:         Yeah.

UC Brian:    Jerry.

Clark:       So, um. You know, so there, there are, FirstEnergy is a, deep pockets.

CHS:         Yeah.
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Clark:       I mean just, you can’t‐‐

UC Brian:    So do they throw a lot of money at everybody?

Clark:       I did this campaign.

UC Brian:    (OV) Oh, you did.

Clark:       I did this, I did this, I did this campaign, um…

UC Brian:    (OV) Between.

Clark:       …all we cared about was getting the subsidy. I mean, it was the Speaker who didn’t want
             the mandates. And they said‐‐

UC Brian:    So you worked between FirstEnergy and Householder?

Clark:       I was his, actually I was his proxy.

UC Brian:    Really?

Clark:       Yeah, I mean it was, it was really strange because I didn’t get paid. Okay, understand, I
             didn’t, it was, um‐‐

UC Brian:    No, I don’t understand. (Laughter)

Clark:       (UI) It was really kind of fucked up, but he calls me up and he says, I need I’m too busy, you
             need to be my proxy. So you get to make all the decisions, hire everybody...

UC Brian:    For FirstEnergy?

Clark:       …but you can’t get paid.

UC Brian:    Okay.

Clark:       Because he didn’t want people to, to think that I was doing it based on what I was getting
             paid.

CHS:         Mm‐hmm.

UC Brian:    Okay.

Clark:       So when, when I said this is what we’re going to do, nobody said well that’s not how the
             Speaker told me. So they announced in this room that I was his proxy, so I didn’t have to‐‐

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UC Brian:    You didn’t have to go back and say hey, here’s what we do, you just spoke for him?

Clark:       Yeah.

UC Brian:    Yeah.

Clark:       And so, every decision was made so I didn’t have to contact him. Um, matter of fact, this
             Friday is going to be the first time that we actually sit down to talk about this issue with a
             group of other people.

UC Brian:    Now is that what you were telling me before with that Greenspan guy? Is that where that
             got involved?

Clark:       That’s correct.

UC Brian:    Okay.

Clark:       Greenspan was a sponsor of our sports betting bill.

UC Brian:    Right.

Clark:       He had everything done, ready to go, and he votes no on the Speaker’s number one
             priority.

UC Brian:    Right.

CHS:         Hmm.

UC Brian:    Which pissed the Speaker off.

Clark:       (OV) HB, which pissed him off.

CHS:         (OV) Wow. I would say it probably would.

Clark:       So he held, he held the bill. But in the meantime, the casinos are getting stronger. I mean,
             they’re clearly getting stronger. The Governor comes out with his position that he wants it
             to be only at casinos and racinos.

UC Brian:    (OV) Casinos.

Clark:       So the Speaker says to‐‐

UC Brian:    (OV) He’s since pulled back on that.

Clark:       What?

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UC Brian:    He’s since pulled back on that.

Clark:       Well, the Speaker calls him and says you aren’t getting any fucking bill. I’m getting it my
             way or you are not getting anything. I mean he just made it very clear. I’m putting these in
             other places and that’s the way it’s going to be.

UC Brian:    Yeah.

Clark:       So now we’re, now it’ll come back, probably in September, we’ll start, you know, trying to
             move it through. We still have a real problem with the Senate, with the Senate President
             Larry Obhof.

UC Brian:    Yeah.

0:11:27 [End of transcript]

0:22:30 [Start of transcript]

Clark:       Yeah, sorry. That was, that’s the Speaker. I just need to get something done. Um. Yeah, it’s
             been pretty interesting. Right now, I think the Governor, um, is clearly a Governor that
             plays to special interest. Particularly people that he’s had long relationships with. He’s
             clearly influenced by, he’s clearly influenced and I’ve know this guy since I started in the
             Statehouse in 1980. You know, um, he was a, he was a prosecutor, state Senator,
             Congressman, um, Lt. Governor, U.S. Senator, on and on. And I think he’s very much can be
             influenced by money. And I’m very, I was (UI) I was stunned at it because a lot of these
             decisions he is making don’t, I don’t want to say he’s a pay to play guy. Okay, but he’s
             clearly influenced by his friends who have money.

UC Brian:    Mm‐hmm.

Clark:       And his friends don’t like to ask him for stuff because they don’t want to make it look like.
             So they work around it in such a way that, um, they get what they want without interfering
             with their relationship but it’s, it’s kind of fucked up.

UC Brian:    (UI)

UC Vinny:    He’s so willing it looks fucked up.

Clark:       (OV) It looks, it looks fucked up.

UC Brian:    Well, is that where you were telling me those (c)4s come into play?

Clark:       Right. I mean those (c)4s, this (c)4 that I’m doing, doing this work on has, has done just in
             these last ten weeks, $17,000,000.

UC Brian:    Well, where do they attribute that to? Some sort of, do they name it something, like some
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             sort of charitable donation or what do they name it?

Clark:       No, no it’s not. It’s a, it’s a, it’s a, a, it’s a non‐deductible business expense.

UC Brian:    Right. But they don’t have to call it anything?

Clark:       And they don’t have to, but you don’t have to call it anything and you don’t have to, oh,
             God great. The CEO wants to call the Speaker and he goes, so what time do you want him
             to call, and I said, I don’t care.

CHS:         (UI)

UC Brian:    I don’t give a fuck.

CHS:         (UI) decision all night.

Clark:       What, what time? I don’t care, any time. Okay.

UC Vinny:    I feel bad you’re standing.

CHS:         What were you guys saying, (c)4?

UC Brian:    He was.

CHS:         About 501?

UC Brian:    Yeah.

Clark:       No, no uh 501(c)4. 501(c)4 is a, the (c)4 is a political entity that can take nondisclosed
             corporate contributions and they can spend it on both campaigns and issues. The only
             federal.

CHS:         Is that what all this tax shit was like years ago where there was a big fight over? (IA)

Clark:       No.

CHS:         That’s something different? That’s something different?

Clark:       That’s something different. That was, um, um you’re taxing my brain now, but it’s, um, it’s,
             uh, Citizens United.

CHS:         Oh yeah, yeah, yeah.

Clark:       Okay, so this is, this is an absolute, um, based on Supreme Court decision. Businesses can
             do this and they can’t, nobody can do anything about it. Uh, until the federal law changes,
             which I don’t think will ever happen, these (c)4s are perfect for, um, getting issues done.
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             The problem with (c)4 is, is that members can deny that they ever knew about it. Because
             they’re not supposed to have any coordinated event with it. So they can get a bunch of
             money and act like, I never took any money from you.

UC Brian:    (OV) I didn’t know that.

Clark:       I never took any money. So there’s that, that tie and, and being able to make them feel
             guilty that they fucked you isn’t there.

CHS:         Right.

Clark:       But, you know, if it is, if it’s somebody that’s got long term, you know, a big utility company,
             somebody that’s got a lot of money that’s going to be around forever‐‐ (UI)

UC Brian:    (OV) Like that First, whatever the fuck FirstEnergy.

Clark:       Yeah, FirstEnergy. We call FirstEnergy the bank. Because they can do, they can do, they can
             fund these things for twenty years if they wanted to.

UC Brian:    (OV) Yeah.

CHS:         Nobody wants to blow them off.

Clark:       Nobody is going to blow them off because they, they, they got too much money and too
             much power.

CHS:         (UI, OV)

UC Vinny:    Congress ain’t going to change that.

Clark:       Mm‐hmm.

UC Brian:    Why would they?

UC Vinny:    They’re fucking eating.

Clark:       Yeah, they need it.

UC Brian:    They’re fucking eating.

UC Vinny:    They’re eating.

CHS:         But you got to put it through somebody big like that, right? You got to have somebody…

Clark:       No, you’ve got‐‐

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CHS:         …who’s got some clout.

Clark:       You have to have somebody that can put the money into the (c)4 then the, what do you,
             the question is what do you do with the (c)4. Do you help people get elected or do you do it
             for your own issues? Under federal law, it has to be, it has to be at least fifty‐fifty. Fifty for
             campaigns, fifty for issues. So like all this money that we had just spent for FirstEnergy’s
             behalf now goes on the equation of education. So all now they can give $17,000,000 in
             political contributions and now it’s, under federal law standards, they’re equal.

CHS:         Ah.

Clark:       Okay? And so that’s why Karl Rove spends all of his money and he does, he does very little
             education but he says, well, here’s my attitude when the day comes I’m going to shut it
             down, I have to show you that I did 50%. The (c)4s I work for we do it every two years.
             Because there’s, there’s if, if you get an audit, you want to be, who wants to be screwing
             around with trying to explain this shit to the IRS.

CHS:         You don’t want to.

Clark:       You just, you don’t want to do it. You just want to say here’s the calculations here we do
             and so they audit you one or two times, they do it every two years and they won’t bother
             you for a while.

UC Brian:    And that’s what you do, every two years?

CHS:         Vinny you should have told me I would have (UI). You need another one?

UC Brian:    Um, you going to have one? Yeah.

CHS:         Yeah, I’m having one.

UC Brian:    You’re over there being the bartender, man, I appreciate it.

0:27:35 [End of Transcript]

0:30:51 [Start of Transcript]

UC Brian:    You said it has to be.

Clark:       November, December, yeah, December’s always good. It has to be done by the time
             Christmas hits, gets here, it has to be done. Has to be done.

UC Brian:    So, what do you need from us?

Clark:       Nothing yet. Um.

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UC Brian:    Fuck it’s, it’s July. It’s fucking, it’s August already.

Clark:       I understand, but, um. I had it we were in a great, great shape until he fucked. Uh, some
             people want to go out and just introduce another bill. Um, I’ve talked to the Speaker a
             couple times about, you know, when is he going to forgive the guy. Um, the guy, David
             Greenspan thinks he’s going to, that he has forgiven him. Um.

UC Brian:    But he hasn’t.

Clark:       He may have, he just gave him another bill to pass. I haven’t, I didn’t want to bother him
             during the (UI) saying when you going to take him off the, off the, uh.

UC Brian:    Shitlist?

Clark:       Shitlist.

UC Vinny:    Should you have dinner with the Speaker?

Clark:       Can you?

UC Vinny:    Should you?

Clark:       I have, uh, uh‐‐

UC Vinny:    Not can you ‘cause (UI) probably. I know you can.

Clark:       (OV) Oh no I do. Oh no I.

UC Vinny:    But should we?

Clark:       If you guys want to have dinner, it would be fine. Now that he’s not busy. I mean it, it
             wouldn’t be a problem. I, I talk to him two or three times a day. Okay, I’m texting him right
             now.

UC Brian:    They’re, they’re pretty close.

Clark:       I’m texting him right now. Um, his, this is where he stands on, on the issue. He’s for having
             sports betting everywhere. Okay that’s, keep in mind that there are currently 9,538 lottery
             machines...

UC Brian:    Vets and‐‐

Clark:       …sites, sites in Ohio. Okay. Not all these places can have the capacity to do this.

UC Vinny:    We’ll have the buy in.

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Clark:       Well, but see the Governor also is involved in this and he won’t allow that. Okay?

UC Brian:    Won’t allow what?

CHS:         Won’t allow the buy in?

Clark:       (OV) Won’t allow, won’t allow all these places.

UC Brian:    Okay, good.

CHS:         Oh, good.

UC Brian:    Good.

Clark:       Okay. He’s not going to, he’s just not going to, it’s, it’s too frightening for him, okay.

CHS:         Oh, hell yeah.

Clark:       So, the, the best thing that’s going to happen is going to be destination locations.

UC Vinny:    Okay.

Clark:       Destination locations, a hotel, uh.

UC Brian:    Like us.

Clark:       You know, the things that we want to do, that can have a little bit of volume going in there,
             to do this, and keep it so that you can control, uh, a bar, um, a, uh, um, a BW3. Uh, name a,
             name a place in.

UC Brian:    Yeah.

Clark:       A bar that has food that has these machines all over the place, okay. Um, that’s where it’s
             going to end up. The Speaker wants to put these machines in these seventeen hundred vets
             and fraternals, vets and fraternals in Ohio. When you think about, we have eight urban
             areas, but when you get into the rural areas, you’re talking about population of one
             thousand. So it doesn’t matter about these vets and fraternals. Um.

UC Vinny:    But it’s like Billy‐Bob’s fucking rod and gun?

Clark:       Right. So, so what it will, what will happen is that it’s going to have to be in places, so we
             could probably get about two thousand to three thousand additional sites. Okay, that
             would fit into that category as the large (UI). There are thirteen thousand bars and
             restaurants in Ohio, thirteen thousand.

CHS:         Damn.
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UC Brian:    Hmm.

UC Vinny:    Why you‐‐

CHS:         (IA)

(UI)

Clark:       So that’s why I am saying.

CHS:         That, that seems like a lot.

UC Vinny:    Yeah, for those concentration centers (UI).

Clark:       The issue isn’t, isn’t my relationship with the Speaker. That, my, our issue is going to be
             with, the Governor’s going, taking this out the hands, making sure that the Governor
             doesn’t want to just give this to the casinos or racinos. And then the biggest obstacle is that
             fat fuck over in the Senate, by the name of Larry Obhof, who is not for any of this.

CHS:         What’s his, uh, problem, he just doesn’t like gambling period?

Clark:       He’s connected to a group that’s called, uh, Citizens for Concerned Values.

CHS:         Hmm.

Clark:       So they’re for no gambling, no drinking, no drugs.

CHS:         Hmm.

Clark:       Now what’s hilarious is that he’s the Senate President and he’s also a Yale lawyer. He works
             for a very large firm in Cleveland.

UC Vinny:    And they defend all these fucks.

Clark:       No, Squires, it’s the Squires law firm, Squires Patton Boggs, and they represent, who do you
             think they represent? MGM.

UC Vinny:    (Laughter) Wow.

CHS:         A little hypocritical.

Clark:       So a Senator introduces a bill‐‐

UC Vinny:    (IA)

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Clark:       The Senator introduces a bill, who his firm represents Jack, while they’re selling to Caesar.
             Senate President didn’t even, he let the bill get introduced, didn’t even refer it to a
             committee and it’s been five months.

CHS:         Wow, wow. That’s fucking crazy.

Clark:       So that’s why we came to, we came to a concession. So we said to the casinos. The
             Speaker’s going say to the casinos. Casinos, you can have what you want, but you have to
             pay us a fee to the state of Ohio. You can do whatever the fuck you want, whatever skins,
             whatever you want. It’s not our problem. You guys don’t count, whatever. Um, the racinos,
             which are controlled by the lottery, will have, they’ll have their stuff and they’ll continue
             paying us a fee. Um, and then we will have all other sites regulated by lottery. So, it’ll be
             one, one entity regulating the games and the machines.

UC Brian:    (OV) Sorry, I had some stuff going on.

0:36:23 [End of Transcript]


0:45:25 [Start of Transcript]

Clark:       So he’s you know, he’s just, he’s just smarter than, he’s not, he’s not. He went to the same
             college that I went to, and this year we were on the phone, it’s like in February. Now
             remember, he was the Speaker for, for like six years the last time. And, um, he went to OU
             and they have this alumni award, this prestigious alumni award. Um, I was the second one
             to get it thirty years ago. So we’re on the phone, he goes, uh, you know I’ve, I’ve never
             gotten that award from them. And I said what do you mean? You never gotten the alumni
             award? No. Really? So I get on the phone with OU and I said, the award goes to him this
             year. Well, we haven’t processed you know. I said, don’t worry I’ll be at the meeting.

UC Brian:    Yeah.

Clark:       I go to the meeting. I don’t socialize. I go like there’s all these people are here talking
             around, getting ready to have lunch at a big table like that and I sit right over there. And
             these are my people that I went to school with, they know I’m there for a fucking purpose.
             Everybody shoots their shit and talks and talks. Comes time now to the nominations. I
             nominate him. This one guy says, oh, we can’t do that, you know, we don’t ever elect
             anybody from that’s current elected official. And I said really? He’s been out of office now
             for twelve years and you never once gave it to him after being Speaker for six years. So how
             about you go fuck yourself.

(Laughter)

UC Vinny:    Beautiful, beautiful.

UC Brian:    That’s a crowd, that’s a crowd pleaser.
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Clark:       Bill Clinton’s, Bill Clinton’s campaign manager, David Wilhelm, says I agree with Neil and
             seconds it. Everybody just shuts the fuck up.

UC Brian:    And it happened?

Clark:       Oh yeah. He got it.

UC Brian:    And he got the award?

Clark:       He got the award.

CHS:         So he had been Speaker before?

Clark:       (UI, OV) Yeah.

CHS:         Oh, wow.

Clark:       He’s, he’s a, he’s a double. He, and so he goes up, at this event, and he announces to all the
             people at OU that he appreciates the award and says as Speaker, I’m going to make sure
             that I give you $6,000,000 in the budget for your various projects.

CHS:         Wow.

Clark:       So he does. Fucking Senate cuts it out.

CHS:         Oh, no.

UC Brian:    Really?

Clark:       He gets on the phone with me and goes those motherfuckers. I said I’ve already called
             them. I’ve already, I’ve already (UI).

UC Brian:    I’m on it.

Clark:       I’ve already taken care of it. He goes in the conference committee, and they keep pressing
             him on it. You know, that’s too much money. He goes fuck you. He doesn’t say fuck you, he
             has me call and say fuck you. But rather than fight with them, you know what he says? He
             goes in the conference, he goes, your appropriations, whatever you guys put in for your
             line items and what I put in for my line items, that’s, we both get our stuff. No more
             discussion. So, they all agree.

CHS:         (OV) They all immediately say, absolutely.

Clark:       (OV) So they all agreed and so they’re all happy and, but he said those motherfuckers the
             next time, the next time I get an opportunity. He actually said to that, the staffer who’s
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             over there will never get a job in the state of Ohio. So the minute he leaves, Neil, just fuck
             him until he’s dead.

UC Brian:    He trusts you because he also told you, you were the spokesperson between him and
             Greenspan on the other shit too.

Clark:       (OV) Yeah, oh, yeah. The, the hardest part you know, and I, I can, I can already see this
             happening is that you know it’s, it’s trying to tone down what I do.

UC Brian:    Yeah.

Clark:       You know, because I can see repeating what happened before.

CHS:         Yeah.

Clark:       You know, because the more people find out, the more he, you know. We, we talk
             generally every morning 7:15, 7:30, talk once at night usually. I told him I was going to be
             out of town with you guys and we talk one time at night, maybe 11:00. Uh, last week, he
             called me at 12:05 and we talked until 2:00.

CHS:         Jesus.

Clark:       Okay, um, but I can see what’s going to happen. You know is people become aware…

CHS:         (OV) Social media and all the bullshit, yeah.

Clark:       …they’re going to get, they’re going to get jealous and everything else and he’s going, you
             know so, I really try to just shut the fuck up.

UC Brian:    Yeah.

UC Vinny:    And people don’t want to be told to shut the fuck up or fuck you and they know you’ll,
             they’ll get that.

UC Brian:    That’s right.

UC Vinny:    And they don’t want it.

UC Brian:    Right.

UC Vinny:    They don’t want to touch that fire.

UC Brian:    No. I mean, who does? Right?

UC Vinny:    Have we given to those other folks? That he was talking about?

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Clark:       Every politician has got to have somebody that is the hitman.

UC Vinny:    Yeah.

Clark:       Everybody, everybody has got to have that person…

UC Brian:    So.

Clark:       …(UI) that will go out there and do the dirty shit.

UC Brian:    So, Neil and I had that conversation the last time I was in Columbus about the soft money.
             And, uh, he said hold it, keep it, it will be used, but not yet. And…

UC Vinny:    To one of those (c)4s?

UC Brian:    …um, maybe you want to explain why?

Clark:       Yeah, I will explain why. Until I feel like we’re going to win, we’re not taking the money.

UC Vinny:    Don’t give a fucking nickel.

Clark:       I’m not going, there is no fucking way‐‐

UC Vinny:    Don’t piss money out the window.

Clark:       It could be really easy for me to tell you give me fifty thousand right now and I’ll go put it in
             a (c)4 and I’ll look like a hero. And then when something goes wrong, you’re going to go
             what the fuck did you do with my money?

UC Brian:    Right.

Clark:       So until I say that I feel good, okay, then we will. Uh, it makes no sense.

UC Vinny:    Is there one that makes sense if it doesn’t matter? If we said a number and it didn’t matter?

Clark:       Yeah. There‐‐

UC Vinny:    Is there one that makes sense?

Clark:       And that’s when you, you can make two choices. When numbers that don’t matter…

UC Vinny:    Mm‐hmm.

Clark:       …are dollars that you can give in hard dollars, so political contributions to a person, be
             identified, give the money.

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UC Brian:    Out.

Clark:       Okay. Or you can do a (c)4. Any contribution to a (c)4 is fine. It’s the question is, is who sees
             the check before it goes into the account? The Speaker or the Senate President have to see
             it. And in this particular case we wouldn’t want to give money to the Senate, this Senate
             President.

UC Brian:    Right.

Clark:       We want to give it to the next one, um. A check that would be okay for you to give because
             you wanted to give, you know ten, fifteen thousand to a (c)4, that’s fine, but. I don’t‐‐

UC Vinny:    We had a number that didn’t matter.

UC Brian:    What’s that noise?

CHS:         (UI)

UC Brian:    Oh okay. That’s fine.

UC Vinny:    We had a number that didn’t matter just to get in somebody’s visibility.

UC Brian:    Right.

UC Vinny:    And just fuck (UI).

UC Brian:    It doesn’t matter to me.

UC Vinny:    It just gets your name out there.

UC Brian:    That’s right.

Clark:       It’s your, as long as it’s not a big number.

UC Vinny:    No, yeah.

Clark:       I, ‘cause I just‐‐

UC Brian:    It has to be a noticeable number but.

UC Vinny:    A number that wouldn’t matter.

Clark:       Okay.

(UI, OV)

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CHS:         But how would they know?

Clark:       A noticeable, a noticeable number…

UC Vinny:    (UI, OV) a check.

Clark:       …a noticeable number is fifteen, twenty, twenty‐five thousand dollars. Okay, that’s, that’s,
             that’s a noticeable number.

UC Vinny:    And where does that go?

Clark:       It goes into a (c)4.

UC Vinny:    But, how? To who?

Clark:       Well, you would write a check to GenNow and you would hand‐deliver the check to the
             Speaker.

UC Brian:    (OV) What, what, what’s GenNow?

Clark:       Generation Now. It’s the, it’s the Speaker’s (c)4.

UC Vinny:    Okay.

UC Brian:    Okay.

Clark:       That’s the one I work for. That’s the one I work for.

UC Vinny:    (UI, OV) We who deliver the check? When you say we?

Clark:       Well, (UI) I would prefer we as in you guys deliver the check, not me.

UC Brian:    So I want to be very clear with this. One of the first times that we met, me and Rob, he was
             very clear on that. He said, listen, I want, I want to help you guys, you guys hire me do
             whatever, but I’m not in it for the glory. When it comes time to issue that soft money, you
             will be the one to say…

Clark:       (OV) It’s your money.

UC Brian:    (OV)…thank you mister fill in the blank. (UI)

Clark:       (OV) You’re the one that’s supposed to shake his hand. You’re the one that shakes his hand.
             You’re the one that goes there at, at maybe a dinner in Columbus since you now dress up
             pretty nice.

UC Vinny:    Not me. It won’t be me.
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UC Brian:    (Laughter)

Clark:       Yeah, but, we, we, we can get, start a relationship with hunting. And just, and you know,
             never talk about energy efficiency, he’ll, he’ll rip your fucking head off. Um, but, you know,
             (UI) you’ll walk in with your check and he’ll be respectful and, and they’ll remember it as
             that number. Remember he gets, he gets checks from the bank. Remember, I told you the
             bank is you know, one and a half million dollars, two million dollars.

UC Brian:    Right.

Clark:       Um, but it’s also the respect. The respect is saying that we care.

UC Vinny:    Well, that’s why I’m saying at this point, looking at the timeline.

UC Brian:    Right, August, November.

UC Vinny:    That would be the time to do it.

UC Brian:    I agree.

Clark:       I know.

0:53:47 [End of Transcript]




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                             UNITED STATES DEPARTMENT OF JUSTICE                   528B
                              FEDERAL BUREAU OF INVESTIGATION
                                     2012 Ronald Regan Drive
                                      Cincinnati, Ohio 45236

                                       Session TIER3‐8478

        File Number:                       194A‐CI‐3126966
        Date:                              7/24/2019
        Time Recording Starts:             Multiple Segments
        Time Recording Ends:               Multiple Segments
        Agent:                             SA Blane J. Wetzel


Participants:
        Neil Clark
        UC Brian
        UC Rob
        UC Vinny
        Waiter
        Waitress


Abbreviations:
       Unintelligible                      UI
       Inaudible                           IA
       Phonetic                            PH
       Overlapping Voices                  OV




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0:03:21 [Start of transcript]

UC Rob:      I heard you were so upset I wasn’t here last night.

Clark:       I know! You know, I said (UI) and I said where’s Mikey?

(Laughter)

UC Rob:      (UI)

Clark:       Do you feel better?

UC Rob:      Yeah, a lot better.

Clark:       How’d you like, uh, (UI)?

UC Rob:      (UI) I’ve had a couple of bottles.

Clark:       Yeah (UI).

(UI)

Clark:       (UI) No, I like it so much. (Laughter)

UC Rob:      Fuck damn, you like it?

Clark:       Fuck damn, I like it.

UC Rob:      What’s been going on man?

Clark:       Nothing, just working. You know.

UC Rob:      How’d Nash‐Vegas treat you last night?

Clark:       It was good.

UC Rob:      Yeah.

Clark:       It was fun.

UC Rob:      Cool.

Clark:       Like, you know with the music and everything else was good. So they…

UC Brian:    So.

Clark:       So they just, they, so you declare…


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UC Brian:    (OV) Alright, so you declare a board…

Clark:       (OV) And you, you…

UC Brian:    …but you’re not on board?

Clark:       …you declare your expenditures, okay?

UC Brian:    I get that, but how are you able to fucking do that with no oversight? Like if you’re not on it,
             not that you’d do anything wrong, but my point is, how do you guys audit, like, your
             spending? Do you have to report it?

Clark:       I’m the, I’m the, that’s why I’m the overseer. I’m the guy that, that oversees how the
             expenditures go.

UC Brian:    So the fox takes care of the henhouse.

Clark:       Well, the, the, the.

UC Brian:    (OV) Not that you’re doing anything wrong, but…

Clark:       (OV) No but, but…

UC Brian:    ...but you’ve got.

Clark:       I’m the Speaker’s appointed guy to do that, okay? So it’s like having him in the room. Alright?
             So like we have a meeting on Friday, he’s going to be in the room, so I will be just like
             everybody else. I’ll be, I’ll be another fucking staffer.

UC Brian:    Sure.

Clark:       When he is out of the room, I’m the guy. Okay?

UC Brian:    Yeah.

Clark:       And so I express‐‐

UC Brian:    (OV) Talking about Gen Now, that’s the, that’s the‐‐

Clark:       All he expects me to do is make sure that nobody steals money, you know, and we, I don’t…

UC Brian:    Yeah.

Clark:       …overpay people for…

UC Brian:    Right.

Clark:       …you know, ridiculous, uh, fees. Um, we have a lot of (UI).

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UC Brian:    So Gen Now is the (c)4 that…

Clark:       (OV) It’s the Speaker’s (c)4, yeah.

UC Rob:      (OV) Okay.

UC Brian:    …Householder created for himself and that’s what we’re talking about.

Clark:       (OV) That’s correct.

UC Brian:    ‘Cause you spent $250,000…

Clark:       (OV) 450,000. I spent pretty close to.

UC Brian:    …$450,000 today out of that money.

Clark:       I, I spent close to twenty million dollars in the last eight weeks. Twenty million.

UC Brian:    How fucking much money is in there?

Clark:       (OV) It’s unlimited.

UC Brian:    Obviously more than twenty million. Huh?

Clark:       It’s unlimited.

UC Brian:    That’s incredible. That’s fucking incredible.

Clark:       (OV) It’s, it’s unlimited. The (UI).

UC Brian:    Well, our little money, our little money to him is going to be like giving a Tic Tac to a whale.

Clark:       Yeah, but it’s still, it’s still, everything, everything counts. When you do it in a, in a way of, I
             bought a poll, you know, $25,000 is like buying a poll.

UC Brian:    Right.

Clark:       Where you know, you, there’s it, it pays for phone banks for two weeks.

UC Brian:    Right.

Clark:       You can’t compete with these other people who have, you’re talking about corporations that
             have billions of dollars.

UC Brian:    Right.

Clark:       You, you can’t compete with something like that. And those guys are only doing it because

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             they get, you know, on that HB6, the FirstEnergy got $1.3 billion in subsidies, free payments.

UC Brian:    Right.

Clark:       One point three billion. Billion.

UC Brian:    First, first…

Clark:       For six years.

UC Brian:    …energy, FirstEnergy?

Clark:       For six years.

UC Brian:    Right.

Clark:       One point three billion.

UC Brian:    Right.

UC Rob:      Yeah. Yeah.

UC Brian:    That’s a lot of money.

Clark:       Fuck me. You know. (UI)

UC Rob:      (OV) Yeah, so a couple hundred grand is a drop in the bucket?

Clark:       So yeah, so what do they care about putting in $20,000,000 a year for this thing.

(Laughter)

UC Rob:      Yeah.

Clark:       They don’t give a shit. It’s, you know, and $20,000,000 you know if you spend it right can do a
             lot of, can do. And so the Speaker’s position is always been to try to pick issues that do, that
             would, that are going to be right, you know helping people have health care or that kind of
             crap.

UC Brian:    Yeah.

Clark:       I’m out in the field right now with a poll that is essentially going to show that Republicans are
             wrong on the issues. That Republicans are wrong on heartbeat bills. That kind…

UC Brian:    Yeah.

Clark:       …that they’re wrong on the gun issues and that it’s not the mainstream. The public isn’t, isn’t
             in this position to want to go do this all the fucking time. So they want him to have, they want

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             to have more, they want to have more Joe Lunchbucket kind of issues, you know. How much
             they’re going to save in their health care or how much they’re going to, you know, be able to
             put aside for their own, their own life and not pay big taxes. You see what I’m saying?

UC Brian:    Yeah.

Clark:       So that’s, that’s the whole purpose, that’s the whole purpose of why he called it Generation
             Now. It’s not, it’s not.

UC Brian:    It’s Generation Now.

Clark:       Yeah it’s, you know, it’s not, it’s not old‐timers club.

0:07:32 [End of transcript]

0:49:08 [Start of transcript]

Clark:       I was telling Brian I spent about $450,000 today hiring and actually wired them the money,
             hired, hired these signature collection firms, people to not work. I hired them to not work.
             Okay? So, I hired fifteen companies nationwide, nine of the biggest ones, and sent them all
             checks ranging from seventy‐five, ranging fifty thousand to a hundred thousand dollars to not
             to work.

UC Vinny:    To leave somebody alone?

Clark:       Can you imagine that shit? And then a bunch of smaller checks for $10,000, though it was just
             like, son of a bitch. You know, it was just, just amazing of, of, in talking to these people on the
             phone, they’re all so full of shit.

UC Brian:    Mm‐hmm.

Clark:       And I, and I tried to stress to them that you know, Neil Clark, been a lobbyist for thirty‐nine
             years, been around a long time, you know. Check my website, you’ll at least get an
             understanding.

Waitress:    Hello, how are y’all?

(UI)

Clark:       And it, it always...

Waitress:    ...doing good.

Clark:       ...it always goes circular to somebody going, well, we’ll pay, we’ll give you a kickback.
             (Laughter) Okay.

UC Brian:    Good?


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UC Vinny:    Yes.

Waitress:    Can I start you guys off with an appetizer . . .


0:50:18 [End of transcript]

0:58:25 [Start of transcript]


UC Brian:    Collard greens and no. So yeah, my man spent four hundred fifty, nearly a half a million
             dollars on that.

Clark:       It’s, it was most amazing...

UC Brian:    That...

Clark:       ...most, most of these people.

UC Brian:    ...fucking what do you call it, Gen, what’s it called, Gen Pro?

Clark:       Gen, Gen Now.

UC Brian:    Yeah.

Clark:       Most of the people that, that called clearly saw a major payday, you know.

UC Brian:    Yeah.

Clark:       And this one motherfucker sends me, I, I offer him $40,000 based on what I, how I, big I think
             his firm is, this that and the other. And he sends me back an email and he goes, well, we’re
             pretty close to the other side and, you know if you want us, it’s going to be a $125,000. And
             I’m going, it’s‐‐

UC Brian:    He went from forty to one twenty‐five?

Clark:       Yeah, yeah. And I’m going, you know, go fuck yourself.

UC Brian:    Yeah.

Clark:       (Laughter) So, I do all this, get this all done today, the other side issues a release going,
             they’re probably not going to hire any firms and just do it internally.

Waiter:      I got some cheese bites and fried pickles.

UC Rob:      Yes, sir.

UC Brian:    Alright, throw them out there, brother.

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Waiter:      Yes, sir.

UC Brian:    Thank you.

Waiter:      Y’all enjoy.

Clark:       Thank you. Uh. Thank you, sir.

UC Vinny:    I’ve eaten my fill of pickles today. These are supposed to be pretty good.

Clark:       You get a real, going to, what my point is, you get a real, I get a real eyeful because I, I don’t
             hire, you know, I don’t usually don’t, I don’t hire lobbyists or providers, and so it was, it was
             really strange for me to hear the bullshit.

UC Vinny:    You were on the other end for a change.

Clark:       Uh‐huh.

UC Brian:    Yeah, you’re here.

1:00:00 [End of transcript]




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